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    EXHIBIT A
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 1                  IN THE UNITED STATES DISTRICT COURT

 2                  IN AND FOR THE DISTRICT OF DELAWARE

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 4
      ALLERGAN USA, INC. and             :     CIVIL ACTION
 5    ALLERGAN INDUSTRIES SAS,           :
                                         :
 6                       Plaintiffs,     :
                                         :
 7         vs.                           :
                                         :
 8    PROLLENIUM US INC. AND             :
      PROLLENIUM MEDICAL                 :
 9    TECHNOLOGIES INC.,                 :
                                         :
10                       Defendants.     :     NO. 20-104-CFC

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                                       - - -
12
                                      Wilmington, Delaware
13                                    Wednesday, May 20, 2020
                                      2:32 o'clock, p.m.
14                                    ***Telephone conference

15                                     - - -

16   BEFORE:   HONORABLE COLM F. CONNOLLY, U.S.D.C.J.

17                                     - - -

18   APPEARANCES:

19
                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
20                  BY: JEREMY A. TIGAN, ESQ.

21
                              -and-
22

23
                                                 Valerie J. Gunning
24                                               Official Court Reporter

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 1   APPEARANCES (Continued):

 2
                 POLSINELLI PC
 3               BY: GARY E. HOOD, ESQ. and
                      MARK T. DEMING, ESQ.
 4                    (Chicago, Illinois)

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                      Counsel for Plaintiffs
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                ASHBY & GEDDES
 8              BY: ANDREW C. MAYO, ESQ.

 9
                           -and-
10

11               MEUNIER CARLIN & CURFMAN LLP
                 BY: JOHN W. HARBIN, ESQ. and
12                    WARREN THOMAS, ESQ.
                      (Atlanta, Georgia)
13

14                    Counsel for Defendants

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 1                       P R O C E E D I N G S

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 3               (The following telephone conference was held

 4   beginning at 2:33 p.m.)

 5

 6               THE COURT:    Okay.   Good afternoon, counsel.

 7   Let's start with the plaintiffs first.

 8               MR. TIGAN:     Good afternoon, Your Honor.    This is

 9   Jeremy Tigan with Morris Nichols on behalf of the

10   plaintiffs, and I'm joined by two of my colleagues from

11   Polsinelli today.   I have Mark Deming and Gary Hood on the

12   line.

13               THE COURT:    Okay.

14               MR. DEMING:    Good afternoon, Your Honor.

15               THE COURT:    Good afternoon.   Let's hear from the

16   defense, please.

17               MR. MAYO:     Good afternoon, Your Honor.    This is

18   Andrew Mayo from Ashby & Geddes on behalf of the Prollenium

19   defendants, and I am joined on the telephone today by my

20   co-counsel from Meunier Carlin & Curfman.    You have John

21   Harbin and Warren Thomas on the line.

22               MR. HARBIN:    Good afternoon, Your Honor.

23               THE COURT:    All right.   Good afternoon.

24               All right.    So I've read the papers.   I guess

25   it's the defense's motion, so if you want to start.
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 1                 MR. MAYO:    Your Honor, this is Andrew Mayo.

 2   I believe we were scheduled today for a scheduling

 3   conference.

 4                 THE COURT:     Oh, okay.   Well, we were, but I've

 5   decided I want to address your motion to stay.

 6                 MR. MAYO:    Okay.

 7                 THE COURT:     So fair enough.   But let's hear.

 8   What I'm wondering is why I should schedule the case and I

 9   shouldn't just stay this case.

10                 MR. HARBIN:     Your Honor, this is John Harbin

11   again for the defendants.

12                 I will be brief because I wasn't anticipating

13   argument, but I will be happy to address it.

14                 We believe --

15                 THE COURT:     You don't have to address it.    I can

16   just rule.    That's fine.    Do you want to address it?

17                 MR. HARBIN:     We can address it, Your Honor.     We

18   think it is a case that definitely warrants a stay.

19                 We have filed, as the papers state, IPRs on all

20   six of the initial patents that were asserted in the initial

21   case and one thing that has changed since we, I think we

22   address it in our reply brief, but one thing that has

23   changed since the initial brief was filed is that we stated

24   in the initial brief that the majority of the claims

25   asserted were at issue.
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 1               We're challenging the IPRs, and as the Court is

 2   aware, the Patent Trial and Appeal Board has instituted

 3   trial on all grounds asserted on all of those six patents.

 4               Now with the plaintiffs' narrowing of the

 5   claims, all of the asserted claims in the initial six

 6   patents are at issue in the -- are being reviewed in the

 7   IPR, and they've, of course, asserted two additional

 8   patents.

 9               In the second case, those arise out of the same

10   claimed inventions, same, or very similar specification.

11   The issues will be the same.   We expect to file IPRs on

12   those two in the near future on all claims and anticipate,

13   since the rationale would be the same, that the trial will

14   be instituted on those two patents as well.   Even if it were

15   not, we believe the claim would be, or the case would be

16   substantially simplified if the IPRs, once the IPRs are

17   decide one way or the other, and we think it would save, you

18   know, the major expenses in the case, fact discovery,

19   Markman hearing, expert reports and testimony, of course,

20   pretrial prep remain to me taken.

21               So we think judicial economy both for the Court

22   and the parties were certainly be served.   We do not think

23   Allergan would be prejudiced at all.   Allergan has not

24   sought a preliminary injunction.    We are a minor player in

25   this case and Allergan has already entered into a few
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 1   licenses of one or more of the patents at issue, so they're

 2   not --

 3                  THE COURT:    So here is one thing.   You've got a

 4   stay, but it seems to me the argument is much stronger for

 5   the first case, not the second case.       Why should I stay the

 6   second case?

 7                  MR. HARBIN:    Well, you know, that case even more

 8   so, Your Honor.    It's just getting going, and there are

 9   overlapping issues, but we don't --

10                  THE COURT:    You have not filed for review yet.

11   Correct?

12                  MR. HARBIN:    Correct, but we will certainly

13   within the next 30 days.      Hopefully, before that.

14                  THE COURT:    Right.   But you --

15                  MR. HARBIN:    And we'll have a decision.   Sorry,

16   Your Honor.    Go ahead.

17                  THE COURT:    I was going to say, but you haven't.

18   So you've had some time and you haven't, so I'm just

19   wondering why I should stay that case.

20                  MR. HARBIN:    Well, I think, you know, again,

21   Your Honor, I think, you know, it has only been a few months

22   since the case was filed.      We will be filing it in the

23   future.

24                  We would be addressing very similar issues as to

25   claims that will be decided in the IPR, so we would lose the
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 1   benefit of staying the case, at least partially, if the

 2   Court were to stay the existing case and not stay the case

 3   that's just getting started.

 4                Again, these --

 5                THE COURT:    See, here's my problem.

 6                MR. HARBIN:    Go ahead.

 7                THE COURT:    My problem is, and I mean it's hard

 8   to figure out which of you is, you know, the bad actor in

 9   terms of delay.   Right?   It always is from where you sit in

10   my seat.   But if you are saying that the grounds are the

11   same, and they filed their lawsuit when?       When did they file

12   the second action?    It was in January.   Right?

13                MR. HARBIN:    Yes, Your Honor.

14                THE COURT:    So it's five months.     You are going

15   to file, you say, the same -- you are going to seek review

16   for the same basis.    Why didn't you file right away?      It

17   would have made my decision a lot easier.      Right?    Then I

18   would think you're the good actor here.     You are not

19   delaying, but now it's five months and you are telling me

20   you want to stay the second case and you've done nothing.

21   You've not filed it.    You say you will file it.       Now you're

22   telling me you're going to file it within 30 days and you're

23   basically telling me, yes, but they are one and the same.

24   Why didn't you file it right away?

25                MR. HARBIN:    Your Honor, the multiple -- the
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 1   grounds for invalidity are, one of three grounds are the

 2   same, but we have multiple claims to deal with in those two

 3   patents.   I believe it's over -- I don't have the exact

 4   number in front of me, but I think it's over 30 claims.      We

 5   were dealing at the time with over a hundred claims asserted

 6   in the initial case, which have only been recently reduce by

 7   the plaintiff after some contention.

 8                They just two weeks ago gave us their

 9   infringement contentions on the two new patents that are

10   asserted, so under the case law, we did not view this under

11   a lot of Delaware cases as delay, and we also wanted to wait

12   until the initial set of IPRs were decided because that

13   affects -- you know, you're not going to rehash something

14   necessarily if it's decided one way or the other.    You may

15   not address it at all.

16                So we felt like it was more efficient to wait

17   until the IPR decisions came down and we felt like given we

18   have just now gotten the infringement contentions, that this

19   was sufficiently timely in the second case, which again is,

20   you know, just getting started.

21                THE COURT:    Okay.   Anything else?

22                MR. HARBIN:   No, Your Honor.   Again, I think I

23   was saying we don't believe Allergan will suffer any

24   prejudice, any, you know, any remedy if they are -- you

25   know, if we are found to infringed valid, remedy with money
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 1   damages.

 2                  They did not seek an injunction.      We are a

 3   relatively small competitor and they've already shown an

 4   inclination to license.      They are not averse to other

 5   competitors out there.

 6                  So that's basically the points.    Thank you, Your

 7   Honor.

 8                  THE COURT:   Okay.   Thank you.   Let's hear from

 9   the plaintiff.

10                  MR. HOOD:    Thank you, Your Honor.    Gary Hood for

11   the plaintiff, Allergan.

12                  We do see this differently.   I recognize that

13   there's some attraction to the idea that we put this case on

14   ice and let the PTAB take care of those IPRs, but it's a lot

15   more nuanced than that in this case.

16                  I will start first with the prejudice.      There is

17   prejudice here.    These are two competitors, Allergan and

18   Prollenium.    As I think counsel just acknowledged,

19   Prollenium is selling product, they have been selling

20   product.

21                  The claim is that while they're a minor player,

22   as we understand it, they are selling -- I think the sales

23   are continuing and will continue throughout the period of

24   any stay.     And the issue with that and the undue prejudice

25   and on the flip side of that, the benefit to Prollenium by
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 1   obtaining a stay and continuing to be able to sell product,

 2   infringing product, willfully infringing in our view

 3   throughout the course of any stay is not only is that

 4   damaging with respect to any kind of patent infringement

 5   damages, but what they are also doing is they're taking away

 6   market share at this point in this time frame and going

 7   forward for any stay from not only Allergan, but those

 8   licensees that you just heard about who are paying licensing

 9   fees, royalties, to Allergan for sales that are now being

10   taken away, and the concern is that they will continue to be

11   taken away during the course of any stay that this Court

12   might enter.

13                  The concern there is complicated as well, Judge,

14   by the fact that a stay here is not going to be a simple

15   stay for the next nine months or whatever it would be until

16   a final written decision by the Patent Office, which is due

17   in March of next year.    The expectation, of course, is,

18   that's not final and binding until the appeal time frame

19   runs.   Those appeals right now with the Patent Office to the

20   Federal Court of appeals are taking 15 months.

21                  So we're talking about we're out into June of

22   2022, two years from now, over two years from now before we

23   have anything along the lines of finality that might be

24   binding on the parties here.

25                  And the other point that counsel mentioned here
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 1   that we simply take issue with, Judge.    The IPRs may

 2   address, and as he put it, simplify some issues that are

 3   pending in this case, but it will not simplify a number of

 4   issues that are pending that will need to be addressed no

 5   matter how those IPRs come out.

 6                Number one, infringement, not addressed at all

 7   at the PTAB in any way, shape or form.    Invalidity

 8   determinations I recognize might influence that.   But we

 9   simply don't know what is going to happen at the PTAB.

10   Infringement is going to have to be litigated and, in fact,

11   we've been litigating that.

12                We're looking forward to noninfringement

13   contentions to finally understand from Prollenium why they

14   don't infringe that we expect to get this month based on the

15   proposed joint schedule.

16                The other issue is the counterclaim that was

17   recently added to the case by Prollenium for inequitable

18   conduct.   We intend to aggressively address that, including

19   through motions practice and discovery.    That will not be

20   addressed at all or simplified in any way, shape or form by

21   what happens at the PTAB.

22                So we're look at putting a case on ice based on

23   IPRs that even for the first case to your point, Judge, were

24   not filed for a number of months after we instituted the

25   case despite the fact as we know now from documents that we
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 1   have, and this is in our papers, Prollenium has lined up

 2   counsel for the IPRs, has lined up an expert.    They were

 3   ready to go.    I don't know why they waited.

 4                  And we've been waiting, we've been told for

 5   quite awhile now, weeks, if not months, that we're going to

 6   see PTAB filings, IPRs on the two patents that we asserted

 7   in the second case filed in January, and now we're hearing

 8   it's going to be another 30 days.

 9                  I don't -- I don't understand why the delay.     I

10   do think, and I disagree with counsel that the issues in any

11   IPR filings for those are going to be different because the

12   claims are different in those particular patents, a product

13   by process rather than a composition, but we're talking

14   about some complexities here.

15                  Prollenium has continued to litigate

16   aggressively.    We just got done negotiating this joint

17   proposed schedule to get the second case caught up and on

18   the same track to get tried in June of next year with the

19   first case.

20                  We think a stay simply in this case is not the

21   right way to go.    Allow the parties to litigate, for that

22   PTAB proceeding to proceed, and to the extent that that

23   somehow is resolved before trial, and I don't think it will,

24   but to the extent there's some clarity there, the parties

25   will take account of that and obviously inform the Court.
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 1   But we oppose a stay for those and other reasons stated in

 2   our papers.

 3                  MR. HARBIN:    Your Honor, may I respond to a few

 4   of those points?

 5                  THE COURT:    Yes, but I want you to hold for one

 6   second.

 7                  (Pause.)

 8                  THE COURT:    Okay.   Go ahead.

 9                  MR. HARBIN:    Your Honor, a few points.   Again,

10   we believe we have moved expeditiously given the schedule of

11   the case.

12                  I would --

13                  THE COURT:    So let me ask you about that.

14                  MR. HARBIN:    Go ahead.

15                  THE COURT:    It's hard with the phone.    Excuse

16   me.   Sorry.

17                  The thing is, you know what bothers me here is,

18   I already expressed with respect to the second lawsuit what

19   bothers me is, but let me express the concern I have with

20   the first.     It's hard to figure out who is the player, you

21   know, that's responsible for delay or whether or not, you

22   know, it's the plaintiff often who, you know, its timing of

23   the filing of the complaint or bringing a subsequent

24   complaint arguably bears responsibility for shaping the

25   calendar.
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 1               But, you know, in this case we've got a

 2   January 2019 e-mail and your CEO talks about taking action a

 3   few days before filing the IPR, but then you don't file it

 4   until August.    So that's my problem, and that's why, because

 5   part of me really wants to stay this case, but it looks to

 6   me like you delayed and you played games and that's not

 7   fair, and that's why I'm inclined to deny the stay.     But if

 8   you want to take one more shot, I will listen to you.

 9               MR. HARBIN:    Sure, Your Honor.   It certainly was

10   no intent to delay or bad faith or gamesmanship and I would

11   like to address the willfulness.

12               Prollenium is a small company, was very upfront

13   with Allergan.    It tried to work it out -- even though it

14   had the view these patents were invalid, it tried to work

15   out a business solution and was very upfront about it.

16   Allergan tried to turn that into saying Prollenium was

17   admitting infringement or acting in bad faith.    That's not

18   the case.

19               And in regard to the IPRs, all they did was

20   state the plan.   I mean, Your Honor, it's a lot different to

21   say this is what we're going to and it takes some time to do

22   it.

23               Number one, we were -- Allergan filed suit on

24   125 claims across six patents on one accused product, Your

25   Honor, one accused product.   It's not like they are dealing
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 1   with five, ten, twenty different products with different

 2   configurations that Prollenium sells.

 3                 They carpet bombed a small company with 125

 4   claims and only agreed to reduce that very recently to 105

 5   claims, still an incredibly unreasonable number and only

 6   recently agreed to reduce it to a reasonable number, again

 7   now that they're all dealt with and all at risk in the

 8   pending IPRs.

 9                 So it was not an easy matter putting together

10   effective IPRs on six different patents that have well over

11   125 claims and we had to choose which ones to focus on and

12   we were hoping to get meaningful infringement contentions

13   from the plaintiff.

14                 Initially, again, we did not get meaningful

15   infringement contentions because they were claiming again

16   125 and then 105, but we view this as timely and we're

17   trying to do it timely and effectively, but also

18   efficiently, and only address the claims we need to address.

19   And we felt like we were still saving the Court and the

20   parties a lot of expense by doing it, so there was no intent

21   by us to delay.

22                 We were trying -- we were addressing a complex

23   situation and trying to do it effectively.    We believe we

24   have again.     All grounds have been instituted.   All grounds

25   asserted have been instituted.
                                                               16


 1                We agreed and the plaintiff agreed, it makes

 2   sense to combine the cases and proceed in one case.    It's

 3   not a matter of catching up the second case.   We're

 4   expediting -- we've agreed to expedite the schedule in the

 5   second case to be efficient, but there is a lot of work that

 6   remains to be done.

 7                They brought up the issue of motions practice on

 8   an inequitable conduct counterclaim.   Your Honor, we think

 9   that's a very well founded counterclaim.   We think the

10   Patent Office -- you know, the inventor misrepresented the

11   facts to the Patent Office to get these patents and

12   Magistrate Judge Fallon found that in the initial case, our

13   amended pleading was sufficient to stay the inequitable

14   conduct adequately pleaded and the plaintiff did not object

15   to that finding, so I presume they're talking about a

16   summary judgment motion.

17                All of that would be avoided by, potentially by

18   staying the cases whereas if we stayed the older cases but

19   somehow don't stay the new case, we're going to be incurring

20   a lot of these expenses anyway.

21                So to us, again -- and in regard to prejudice,

22   Your Honor, market share, it's a small market that we're

23   selling in, small share.   Allergan has not put on any

24   evidence.   They've only made attorney argument.   They've put

25   on no evidence of actual undue harm that's not compensable
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 1   in damages.   They put on no evidence of, you know, mandated

 2   price reduction or loss of goodwill, anything like that,

 3   anything that can't be compensable.

 4                 They remain the 900-pound gorilla in this market

 5   and they have been very aggressive in dealing with

 6   Prollenium.   Prollenium is trying to defend itself and

 7   trying to invalidate what it believes are invalid patents,

 8   and we believe the most efficient way to do that is to stay

 9   the case and let these IPRs proceed.

10                 THE COURT:   All right.   Anything else from the

11   plaintiffs?

12                 MR. HOOD:    Your Honor, just briefly.   The delay

13   has resulted in hundreds of thousands of dollars certainly

14   from my client litigating this case to get it to a point

15   where we are relatively advanced.

16                 Certainly, the second case was more recently

17   filed, but we had a schedule.     As counsel has acknowledged,

18   it's going to get it caught up and enjoined for a trial in a

19   little bit over a year from now.     This is not a situation

20   where we've been sitting around doing nothing.     It's ready

21   to continue to proceed.

22                 And then one final point, Judge.   The IPRs, to

23   the extent they're going to resolve and simplify anything,

24   are going to simplify at best prior art based invalidity,

25   not inequitable conduct, not infringement or any of the
                                                                   18


 1   other issues.

 2                This is not a case where with two competitors

 3   out there competing in a $500 million-plus a year market,

 4   these IPRs are going to resolve this case.       Thank you.

 5                THE COURT:    Well, let me ask you this.    Let me

 6   ask you this.     Actually, let me ask the defendants this.        If

 7   I stayed it, would you drop your inequitable conduct

 8   counterclaim?

 9                MR. HARBIN:    Could we discuss that with our

10   client, Your Honor?

11                THE COURT:    Well, yes.

12                MR. HARBIN:    Can I also respond briefly to the

13   points just made, Your Honor?

14                THE COURT:    Well, no, not yet.

15                MR. HARBIN:    Okay.

16                THE COURT:    Plaintiff, go ahead.    So it's not

17   going to get rid of the inequitable conduct, but let's say

18   it did.   Okay.    Then what?

19                MR. HOOD:     Your Honor, that would resolve the

20   counterclaim for sure, of course, if we were able to reach

21   some kind of an agreement that that went out.       Infringement

22   would remain and we still don't have two IPRs filed, I guess

23   they're going to be filed, or an institution decision be

24   done.

25                THE COURT:    Let's be honest.     Let me kind of
                                                                19


 1   beat you up the way I beat your --

 2                MR. HOOD:    Sure.

 3                THE COURT:   -- friend across the aisle.

 4                MR. HOOD:    Sure.

 5                THE COURT:   I mean, you know, you guys filed a

 6   suit in January '19 and then you wait a year and you filed a

 7   second lawsuit.   You are the big gorilla.     This is a smaller

 8   company.   To my recollection, they have nine percent market

 9   share.   Is that right?

10                MR. HOOD:    That sounds about right, Judge, based

11   on what I've seen.

12                THE COURT:   All right.   And you're making what?

13   500 million bucks a year off of this product, your products

14   in this market?   Is that right?

15                MR. HOOD:    That's correct.   Yes.   Gross revenue,

16   Judge.

17                THE COURT:   Yes.    It sounds to me like you're

18   pretty well positioned to be compensated sufficiently

19   through monetary damages.

20                Did you bring a preliminary injunction?

21                MR. HOOD:    We did not, Judge.

22                THE COURT:   So I guess you didn't think it was

23   really important to enjoin the sales from the defendant.

24   Right?   I mean, you thought you would get compensated by

25   damages when you filed the lawsuit.     Right?
                                                                      20


 1                  MR. HOOD:     Well, we certainly hoped so, Judge.

 2   A lot of reasons, as I know you know, why a company would

 3   not seek preliminary injunctive relief at the start of a

 4   suit.

 5                  You know, I will say that with respect to this

 6   recent suit, these patents were recently issued.          This

 7   wasn't some intentional holding back of patents to hold back

 8   for a later filing, just so the Court knows that.

 9                  THE COURT:    When were they issued?

10                  MR. HOOD:     Your Honor, I don't have those handy.

11   Mark, do you happen to have those?        Mr. Deming?

12                  MR. DEMING:    Your Honor, I think --

13                  THE COURT:    I'm sorry.   Did somebody say

14   something?

15                  MR. HOOD:     One was in November 2019, Your Honor,

16   and the other one was in August 2019.

17                  THE COURT:    All right.

18                  MR. HOOD:     November and August.

19                  THE COURT:    Okay.   I will put you on hold for a

20   second.

21                  (Pause.)

22                  THE COURT:    All right, gentlemen.      First of all,

23   I appreciate the arguments from counsel, and here's where I

24   am.     I just want to ask the plaintiff though, how many

25   claims that are asserted are before the PTAB in the IPRs
                                                                   21


 1   that have been instituted?

 2                  MR. HOOD:     Well, Your Honor, I will count those

 3   up real quick.    I believe we're down to 56 total, and of

 4   those, from the two that are not in the IPR yet --

 5                  THE COURT:    So you're down to 56 asserted claims

 6   is what you are saying?

 7                  MR. HARBIN:    That's correct, Your Honor, and I

 8   believe 20 of those come from the two patents that have not

 9   had an IPR petition filed yet.

10                  THE COURT:    All right.   What do the defendants

11   say to that?

12                  MR. HARBIN:    My understanding, Your Honor, is

13   there are 36 asserted claims, not 56, and that 20 are not --

14   are the in the two newer patents.

15                  MR. THOMAS:    Sorry.   Your Honor, this is Warren

16   Thomas for defendant Prollenium also.

17                  THE COURT:    Yes.

18                  MR. THOMAS:    It's 36 patents -- sorry, 36 claims

19   that are asserted are under trial by the PTAB right now.

20   Twenty claims have not been challenged at the PTAB yet.            The

21   20 claims are from the two patents asserted in the 2020

22   action.   The 36 challenged claims, currently challenged

23   claims, are all from the 2019 action.

24                  MR. HOOD:     And, Your Honor, Gary Hood for

25   plaintiff.
                                                                  22


 1               Yes, I agree with that.       That is a better way to

 2   put it.

 3               THE COURT:     All right.    So it's not the 96 that

 4   we started with.   We're down to where the PTAB has before it

 5   36 claims that are currently asserted in this case.      Is that

 6   right?

 7               MR. HARBIN:     Those are the remaining claims

 8   asserted in the initial case.       They're all subject to

 9   review.

10               THE COURT:     Well, there are 20, but you have not

11   instituted an IPR yet.    Right?

12               MR. HARBIN:     Correct.    And to be clear, Your

13   Honor, I want to be clear, the PTAB is reviewing a total

14   of 96 claims but only 36 of those are now asserted and

15   existing claims.   Then there are 20 more claims that

16   are currently asserted that will be the subject of the

17   new IPRs.

18               THE COURT:     So, in other words, it's fair to

19   say that all of the asserted claims in the first action

20   are before the PTAB.     Correct?   Do you both agree with

21   that?

22               MR. HARBIN:     Yes, Your Honor.

23               MR. HOOD:     Yes, Your Honor.

24               THE COURT:     Okay.

25               MR. HARBIN:     That is correct, Your Honor.
                                                                   23


 1                  THE COURT:    All right.    Yes.   Well, for

 2   that reason I'm going to stay the first action, the 19-126

 3   action.     It will inevitably in my mind and greatly simplify

 4   the issues in the case given the fact that all of the

 5   claims that are currently asserted in the case are before

 6   the PTAB.

 7                  You know, prejudice.       Is there some prejudice?

 8   In all likelihood, yes, but is it undue prejudice given

 9   Allergan's size, its market share, the fact that it didn't

10   seek an injunction?    I don't think it's unfairly prejudiced.

11   And it's true, the PTAB is not going to address

12   infringement, but it is going to address the validity of all

13   of these claims.    So I'm going to stay that case.

14                  I'm going to not stay the second case right now,

15   but if the defendant agrees to forego its inequitable

16   conduct counterclaims and defenses and it files for an IPR,

17   I will entertain at that point and immediately at that point

18   a motion for a stay of the second action.

19                  MR. HARBIN:    All right.

20                  THE COURT:    All right.    Now, it's clear from the

21   comments of counsel, and understandably, I guess, you didn't

22   anticipate that I was going to address the motion to stay at

23   this conference.

24                  Do you want to reconvene and look at the

25   scheduling order you put before me then and put together a
                                                                     24


 1   Rule 16 order for the second case?

 2                MR. HOOD:     Your Honor, Gary Hood for Allergan.

 3                I think that makes the most sense.       We can

 4   hopefully address with defense counsel their intentions with

 5   respect to the second case and what you just said about the

 6   possibility for a stay based on certain conditions.

 7                THE COURT:    Okay.

 8                MR. HARBIN:    Yes, Your Honor.     For the

 9   defendants, we agree we should do that for the second case.

10                THE COURT:    Okay.   Just one second.

11                All right.    So do you want a deadline to submit

12   something, status report or to submit a Rule 16 order?           How

13   do you want to do it?     Plaintiff?

14                MR. HOOD:     Yes, Your Honor.     Gary Hood for

15   plaintiff.

16                Yes, I would appreciate that.       I think that

17   would help keep us on track with respect to getting

18   something to the Court.     I defer to counsel with respect to

19   what he's going to have to do to talk to his client, but I

20   would hope something in the next week to two weeks we would

21   be able to get to the Court.

22                THE COURT:    All right.   How about we say two

23   weeks from today?   Does that work for the defendant?

24                MR. HARBIN:    Yes, Your Honor.

25                THE COURT:    Okay.   All right.    Then that's what
                                                                   25


 1   we'll do.   We will ask, or we'll require that you all submit

 2   no later than two weeks from today a proposed scheduling

 3   order in the second case or, alternatively, if the defense

 4   is willing to forego inequitable conduct counterclaims and

 5   unenforceability defenses and it has filed an IPR, I will

 6   consider at that point and forthwith a motion to stay the

 7   second action.     All right?

 8                MR. HOOD:    Thank you, Your Honor.

 9                THE COURT:       All right.   Thank you, all.   Take

10   care.   Bye-bye.

11                (Counsel respond, "Thank you, Your Honor.")

12                (Telephone conference concluded at 3:11 p.m.)

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    EXHIBIT B
                                                              Paper 1
                                                  Filed: June 2, 2020




       UNITED STATES PATENT AND TRADEMARK OFFICE

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        BEFORE THE PATENT TRIAL AND APPEAL BOARD

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                    PROLLENIUM US INC.,
                         Petitioner,

                              v.

                 ALLERGAN INDUSTRIE, SAS,
                       Patent Owner.

                      _________________

                      Case IPR2020-00901
                       Patent 10,485,896
                      _________________



PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 10,485,896
IPR2020-00901                                                           Petition for IPR of Patent 10,485,896

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                      PETITIONER’S EXHIBIT LIST

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  No.
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Exhibit                               Description
  No.
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        (priority document for challenged patent)
1014    Gary D. Monheit & Chad L. Prather, Juvéderm: A Hyaluronic Acid
        Dermal Filler, Journal of Drugs in Dermatology, Vol. 6, Issue 11,
        1091-1095 (Nov. 2007)
1015    Leslie S. Baumann, et al., Comparison of Smooth-Gel Hyaluronic Acid
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        Double-masked, Randomized, Within-Subject Study, Dermatologic
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1016    Deborah, S. Sarnoff, et al., Comparison of Filling Agents for Lip
        Augmentation, Aesthetic Surgery Journal, Vol. 28, Issue 5, 556-563
        (September/October 2008)
1017    Michael S. McCracken, et al., Hyaluronic Acid Gel (Restylane) Filler
        for Facial Rhytids: Lessons Learned From American Society of
        Ophthalmic Plastic and Reconstructive Surgery Member Treatment of
        286 Patients, Ophthalmic Plastic and Reconstructive Surgery, Vol. 22,
        Issue 3, 188-191 (May-Jun 2006)
1018    Barry L. Eppley & Babak Dadvand, Injectable Soft-Tissue Fillers:
        Clinical Overview, Plastic and Reconstructive Surgery, Vol. 118, Issue
        4, 98e-106e (Sept. 15, 2006)
1019    M.J.A. Sapijaszko, Dermal Fillers: Ever-Expanding Options for
        Esthetic Use, Skin Therapy Letter, Vol. 12, No. 8, 4–7 (Oct. 2007)
1020    Update on Drugs, Skin Therapy Letter, Vol. 13, No. 3, 8 (Apr. 2008)
1021     Carol A. Toth, et al., Preclinical evaluation of a novel hyaluronic acid
         28 mg/ml lidocaine 0.3% stable combination product, (abstract),
         Journal of the American Academy of Dermatology, Vol. 56, No. 2,
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         and

         C. William Hanke, et al., Effectiveness and durability of a hyaluronic
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         the American Academy of Dermatology, Vol. 56, No. 2, AB94 (Feb.
         2007), Abstract P1040


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        Facial Plastic Surgery Clinics, Vol. 15, No. 1, 77 (Feb. 2007)
1023    Excerpts from file history of U.S. Application 12/393,884 (filed
        2/26/2009)
1024    Lebreton Declaration
1025     Yu jia Cui, et al., The Comparison of Physicochemical Properties of
         Four Cross-Linked Sodium Hyaluronate Gels with Different Cross-
         Linking Agents, Advanced Materials Research, Vols. 396-398, 1506-
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1026     Excerpts from file history of U.S. Application 13/419,079 (filed
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1027     Claim Construction Order, Allergan USA, Inc. v. Medicis Aethetics,
         Inc., No. 8:13-cv-01436-AG-JPR, slip op. (Aug. 12, 2014), ECF No.
         79, also available at 2014 WL 5488895
1028     U.S. Provisional App. Serial No. 61/087,934 (filed Aug. 11, 2008)
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1029     U.S. Patent Publication No. 2006/0194758 to Lebreton (Lebreton),
         published Aug. 31, 2006
1030     U.S. Patent Publication No. 2005/0136122 to Sadozai et al. (Sadozai),
         published June 23, 2005
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         Regulation, Archives of Dermatology, Vol. 142, 225–228 (Feb. 2006)
1033     Excerpts from file history of U.S. Application 12/393,768 (filed
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        Hyaluronic Acid Dermal Fillers, 8th Anti-aging Medicine World
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1037    U.S. Patent Publication No. 2008/0188441 to Reinmuller et al.
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        2008)
1040    Excerpts from file history of U.S. Application 13/746,170 (filed
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1041    PCT Application Publication No. WO 2006/002365 A2, published Jan.
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1042    U.S. Patent Publication No. 2007/0184087 to Voigts et al., published
        Aug. 9, 2007 and filed on Jan. 8, 2007
1043    RESERVED
1044     U.S. Provisional App. Serial No. 61/096,278 (filed Sept. 11, 2008)
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1045     Ahmet Tezel & Glenn H. Fredrickson, The Science of Hyaluronic Acid
         Dermal Fillers, Journal of Cosmetic and Laser Therapy, Vol. 10, Issue
         1, 35-42 (Mar. 2008)
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1047     U.S. Patent Publication No. 2005/0271729 to Wang, published Dec. 8,
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1049     RESERVED
1050     CTA Summary of Safety and Effectiveness, December 20, 2006
1051     December 20, 2007 FDA Letter to Anika Therapeutics, Inc.


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1052    Prevelle Silk; PMA P030032, February 26, 2008
1053     Mentor Corp. Announces FDA Approval of Prevelle Silk,
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1054     Food and Drug Administration, Medical Devices; Availability of
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1057     J.W. Kuo, Practical Aspects of Hyaluronan Based Medical Products,
         CRC Press, Taylor & Francis Group, 2006, pp. 34-43, 79-93
1058     U.S. Patent Publication No. 2005/0250939 to Zhao (Zhao), published
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         (Balazs 691)
1063     U.S. Patent No. 4,713,448 to Balazs et al. (issued Dec. 15, 1987)
         (Balazs 448)
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1084     Joint Claim Construction Chart, Allergan USA, Inc. v. Prollenium US,
         Inc., No. 1:19-cv-00126 (Jan. 16, 2020), ECF No. 57


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  No.
1085    Allergan Industrie, SAS’s September 12, 2019 Response to European
        Patent Office Opposition Division Preliminary Opinion in proceeding
        against European Patent 2 323 617 B1, available at
        https://register.epo.org/application?number=EP09785852&lng=en&ta
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1086    Atoosa Maleki et al., Effect of pH on the Behavior of Hyaluronic Acid
        in Dilute and Semidilute Aqueous Solutions, Macromolecular
        Symposia, Vol. 274, 131-140 (Dec. 29, 2008)
1087    Iuliana Gatej et al., Role of the pH on Hyaluronan Behavior in
        Aqueous Solution, Biomacromolecules, Vol. 6, Issue 1 (Jan. 2005)
        (published on web Nov. 6, 2004), available at
        https://pubs.acs.org/doi/10.1021/bm040050m.
1088    Excerpts from file history of U.S. Application 16/186,448 (filed
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1090    Y. Tokita & A. Okamoto, Hydrolytic Degradation of Hyaluronic Acid,
        Polymer Degradation and Stability, Vol. 48, Issue 2, 269-273 (1995)




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I.    INTRODUCTION

      Petitioner Prollenium US Inc. (Prollenium) seeks inter partes review (IPR)

of claims 1-30 of U.S. Patent 10,485,896 (the ‫ތ‬patent, EX1001), owned by

Allergan Industrie, SAS (Allergan or the Patent Owner). This Petition establishes

a reasonable likelihood that the prior art renders the challenged claims

unpatentable.

      Allergan and Prollenium market dermal fillers, which are implantable

medical devices that can fill wrinkles or add volume to replace lost tissue. EX1002

¶ 70. The challenged patent is one of a family of patents directed to “injectable soft

tissue fillers and more specifically … hyaluronic acid-based dermal and subdermal

fillers including an anesthetic agent,” namely lidocaine. EX1001, 1:26-29.

      The Board has already instituted seven IPR trials on six patents in the same

family. See, e.g., IPR2019-01505, Paper 19 (institution on a “parent” of the

challenged patent). As shown in those related proceedings and below, the Office

allowed the claims based on an unsubstantiated inventor-declaration of unexpected

results that is contradicted by the prior art and testimony of Prollenium’s expert.

Petitioner therefore requests IPR on this patent and a finding that the claims are

unpatentable.




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II.    REQUIREMENTS FOR IPR UNDER 37 C.F.R. § 42.104

       A.     Grounds for Standing

       Prollenium certifies that the challenged patent is available for IPR and that it

is not barred or estopped from challenging the claims of the patent on the grounds

identified in this Petition.

       B.     Identification of Challenge and Prior Art

 Ground         Basis          Claims                      References
      1       § 103(a)    1-7, 9-23, 25-30 Lebreton in view of Sadozai
      2       § 103(a)         8, 24       Lebreton in view of Sadozai and
                                           Monheit
      3       § 103(a)    1-7, 9-23, 25-30 Kinney in view of Zhao and Narins
      4       § 103(a)         8, 24        Kinney in view of Zhao, Narins, and
                                            Monheit


       U.S. Patent Application Pub. No. 2006/0194758 to Lebreton (“Lebreton,”

EX1029) published August 31, 2006. U.S. Patent Publication No. 2005/0136122 to

Sadozai et al. (“Sadozai,” EX1030) published June 23, 2005. U.S. Publication

2005/0250939 to Zhao (“Zhao;” EX1058) published on November 10, 2005.

These references are prior art under § 102(b).

       “Monheit” (EX1022) is an article published in the February 2007 issue of

Facial Plastic Surgery Clinics. EX1022 includes a copy of the Table of Contents

and Index for that issue of the journal, which are facial indicia of Monheit’s

publication in February 2007. Monheit is therefore prior art under § 102(b).

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       “Narins” (EX1007) is a journal article published in the April 2005 issue of

the Clinics in Plastic Surgery Journal. EX1007 includes a copy of the Table of

Contents and Index for that issue of the journal, which are facial indicia of its

publication in April 2005. Narins is therefore prior art under § 102(b).

       “Kinney” (EX1012) is an article published in the “November/December

2006” issue of the Aesthetic Surgery Journal. EX1012 includes the journal’s cover

stamped with date of receipt at the British Library (the U.K. national library) on 25

January 2007, further showing it was publicly available and accessible to interested

persons around its publication date. Kinney is therefore prior art under § 102(b).

III.   STATE OF THE ART BEFORE THE EARLIEST CLAIMED
       PRIORITY DATE

       A.    Background of HA dermal fillers

       As a person ages, facial tissue loss and thinning skin contribute to signs of

aging. Soft-tissue or dermal “fillers have been developed to help fill in facial lines

and depressions and for restoring fat loss-related tissue volume loss. The soft tissue

fillers thereby temporarily restore a smoother, more youthful appearance.”

EX1001, 1:40-44.

       A variety of materials have been used in facial dermal fillers, including

autologous human fat, animal and human-derived collagen, and synthetic

polymers. See generally EX1004. By 2008, fillers derived from hyaluronic acid

(HA), a polymer composed of repeating ȕ-D-glucuronic acid and N-acetyl-ȕ-D-


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glucosamine disaccharide units, were among the most popular in the United States

and abroad. See EX1004, 13S-14S; EX1005, 125; EX1002 ¶¶ 72-47.

      Despite HA’s excellent biocompatibility, HA is rapidly degraded by enzymes

after injection, so it does not remain in the tissue long enough to function as a

filler. To delay the degradation, HA is chemically crosslinked into a water insoluble

gel network that prevents enzymes from accessing the polymer. EX1002 ¶¶ 73-74.

      No single HA filler is appropriate for every clinical application. EX1002

¶¶ 75-94 (explaining different applications require different fillers with different

characteristics). Consequently, a variety of HA fillers have been developed with

different performance characteristics, based on various chemical and physical

characteristics of the gel. EX1045, 41; see also EX1002 ¶¶ 75-94.

      B.     Four primary crosslinkers used for dermal fillers

      One of the chemical characteristics of a gel is the choice of crosslinker. By

2008, nearly all clinically used crosslinked HA fillers used one of four crosslinkers:

      x 1,4-divinylsulfone (“DVS”);
      x p-phenylene-bis(ethylcarbodiimide) (“PBCDI”);
      x diepoxyoctane (“DEO”); and
      x butanediol diglycidyl ether (“BDDE”)




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                     O                 N C N
                     S
                     O                                       N C N
                         DVS
                                                 PBCDI

           O                              O
                                                  O
                                                                O
                               O                                        O
                   DEO                                BDDE


EX1002 ¶¶ 76-79; see also EX1035, 630-631 (describing three of the crosslinkers

and indirectly referencing Anika’s PBCDI product). Each of these crosslinkers

includes two electrophilic functional groups that can react with the primary alcohol

and/or carboxylic acid groups in HA. EX1002 ¶ 77.

      By August 2008, several crosslinked HA dermal fillers had been approved

for sale in the U.S. and abroad, including Hylaform, Captique (HA crosslinked

with DVS), Puragen (HA crosslinked with DEO), Restylane and Perlane (HA

crosslinked with BDDE), and Juvéderm (another BDDE-crosslinked HA,

commercially available from Allergan). EX1002 ¶¶ 95-100. All of these fillers

were based on HA crosslinked with one of the four crosslinkers described above.

      C.       Lidocaine used in crosslinked HA fillers to mitigate pain

      Because dermal fillers are administered via injection, injection pain was a

common side effect. To reduce pain, many dermal fillers were co-formulated with

an anesthetic like lidocaine. E.g., EX1017, 188; EX1002 ¶ 107. Some crosslinked




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HA fillers did not contain lidocaine, but physicians sometimes concurrently

injected lidocaine to minimize pain. EX1017, 190-191; EX1002 ¶ 108.

      Unsurprisingly, similar efforts were made to incorporate lidocaine into

crosslinked HA fillers. As early as 1993, lidocaine was incorporated into a product

called Hylagel (HA crosslinked with DVS). EX1059, 7:1-17; EX1002 ¶¶ 115-116.

This composition was heat sterilized and stored before being injected to treat

keloids and scars. EX1059, 7:16-33. Lidocaine was later incorporated into other

DVS-crosslinked HA dermal fillers. For example, in spring 2008, FDA approved

Prevelle Silk, a DVS-crosslinked HA dermal filler containing 0.3% lidocaine.

EX1002 ¶ 112; EX1020, 8 (periodical announcing FDA approval).

      Lidocaine had also been incorporated in a PBCDI-crosslinked HA dermal

filler. Anika Therapeutics developed a product called Cosmetic Tissue

Augmentation Product (CTA), later renamed Elevess, which contained 28 mg/mL

PBCDI-crosslinked HA suspended in a buffer solution with 0.3% lidocaine.

EX1050, 1; EX1002 ¶¶ 109-110; see also EX1054, 15,886 (publishing approval of

CTA). CTA was approved for sale by FDA at the end of 2006, but its composition

was generally disclosed earlier in a 2005 publication. See EX1031, 8 (CTA product

label identifying the application number of EX1030); EX1002 ¶ 110.

      Lidocaine was also included in a DEO-crosslinked HA dermal filler. A 2006

journal article described the clinical trials and characteristics of “Puragen Plus,”


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which included DEO-crosslinked HA and 0.3% lidocaine. EX1012 (“Kinney”),

742; EX1002 ¶¶ 111, 125.

        In sum, by early 2007—more than a year before the earliest claimed priority

date of the Allergan patents—0.3% lidocaine had successfully been incorporated

into compositions containing HA crosslinked with three of the four conventional

crosslinking agents: DVS, PBCDI, and DEO. 1




1
    Other parties were developing BDDE-crosslinked HA fillers including lidocaine

around the same time as Allergan. EX1002 ¶ 113.


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IV.   THE CHALLENGED PATENT

      Against this backdrop, Allergan began filing applications generally directed

towards crosslinked HA (including BDDE-crosslinked) fillers containing lidocaine,

including the one leading to the challenged patent. In August and September 2008,

Allergan filed a trio of provisional applications to which the challenged patent

claims priority. Despite the prior art and commercially available products described

above, the patent contends that it had merely “been proposed to incorporate …

lidocaine[] into injectable HA-based compositions,” EX1001, 2:30-32, without

acknowledging this “proposal” had been successfully implemented into several

crosslinked HA fillers.

      Either disregarding or unaware of the prior art discussed above, the patent

alleges “HA-based injectable compositions which incorporate lidocaine during the

manufacturing process are prone to partial or almost complete degradation prior to

injection, particularly during high temperature sterilization steps and/or when

placed in storage for any significant length of time.” EX1001, 2:32-37. However,

the patent cites no document supporting this assertion.

      A.     The Challenged Claims

      The ‫ ތ‬patent issued with 30 claims, all of which are challenged in this

Petition. Each of the independent claims cover sterile filler compositions




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comprising BDDE-crosslinked HA and lidocaine, wherein the compositions are

made by certain processes. Claim 1 is representative and recites:

             1. A dermal filler comprising: [HA] crosslinked with [BDDE],
      and lidocaine;

             wherein the lidocaine is freely released in vivo;

             wherein the dermal filler is sterile; and

             wherein the dermal filler is made by a process comprising:

             crosslinking HA with BDDE to obtain a crosslinked HA
      composition;

             adding lidocaine to the crosslinked HA composition; and

             heat sterilizing the crosslinked HA composition with added
      lidocaine to obtain a sterile dermal filler.

      B.     The patent was granted based on proffered “unexpected results”

      On February 26, 2009, Allergan filed two similar applications claiming

priority to the same three provisional applications: Application 12/393,884 (the

’884 application), which issued as the ’795 patent, and Application 12,393,768 (the

’768 application), which issued as the ’475 patent. The ‫ ތ‬patent challenged here

is related via several continuation applications to the ’795 patent. The ’884

application included claims directed to, inter alia, BDDE-crosslinked HA

compositions containing lidocaine. The Examiner relied upon arguments and




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evidence submitted by Allergan in the ’884 application when allowing the ’896

patent. Thus, the ’884 application’s prosecution is described here.

      In the ’884 application, the Examiner rejected the claims as obvious over

prior art that taught BDDE-crosslinked HA dermal fillers in view of other

references disclosing the addition of lidocaine to other dermal fillers. Allergan

eventually argued, citing a declaration submitted by the inventor, that a POSITA

would not have expected a lidocaine-containing HA composition could be

sterilized by autoclave. EX1023, 25-28. Specifically, Allergan argued that “it was a

surprising and unexpected discovery … that certain [HA] gels … when mixed with

lidocaine, could be made to be heat stable and thus useful as dermal fillers.”

EX1023, 23. At the time of this response, some pending claims were directed to

BDDE-crosslinked HA, while others were directed to HA crosslinked with any

crosslinker. EX1023, 18-20 (claims 51-67). Allergan also argued that a POSITA

would have expected that autoclave sterilization would unacceptably reduce the

composition’s viscosity, thereby making it unsuitable for use as a filler. EX1023,

25.

      In support of its arguments, Allergan submitted an Inventor’s Declaration

under 37 C.F.R. § 1.132 stating, among other things, that:

      x    “It was believed that that adding lidocaine to [HA] gel compositions
           during manufacturing caused degradation of the [HA] prior to
           injection;”

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      x    “It was not known whether HA compositions comprising lidocaine were
           stable or not after high temperature sterilization when placed in storage
           for any significant length of time;” and
      x    “It was also believed that the instability of HA described above would
           have caused a viscosity reduction of the HA that would make it
           unsuitable for soft tissue filling applications.”

EX1024 ¶¶ 5, 7-8. The inventor did not identify any references or evidence

supporting his characterization of what POSITAs supposedly believed “shortly

prior to August 4, 2008.” EX1024, ¶ 4.

      Allergan also submitted a 2012 article (Cui) purportedly teaching that

BDDE-crosslinked HA was less heat stable than HA crosslinked with other

crosslinkers. EX1025. According to Allergan, Cui further showed that the

autoclave stability of the claimed compositions was unexpected. EX1023, 28. But

as explained below (Section VI.F.3, infra), none of the crosslinkers tested in the

2012 article were actually in use at the time of the patent’s filing.

      Allergan also cited Example 4 in the specification, arguing that Samples 1,

2, 3, which were described as “non-cohesive HA gels,” “showed a substantial

reduction in viscosity” after lidocaine was added and the samples were autoclaved.

Allergan claimed this viscosity reduction would have been expected by POSITAs.

Allergan contrasted those samples with Samples 4, 5, and 6, described as “cohesive




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gels,” alleging they “exhibited a much lower, or even insignificant change in

viscosity” after adding lidocaine and autoclaving. EX1023, 26-27.

      Relying on Allergan’s arguments, the Examiner allowed the claims of the

’884 application. The Examiner accepted Allergan’s characterization of the state of

the art and that Example 4 demonstrated unexpected results:

      Applicant argues that one of ordinary skill in the art would have
      expected degradation of the [HA] gel with addition of lidocaine
      during sterilization, as this was what was known in the prior art.
      Applicant unexpectedly found that a [HA] gel cross-linked, but not
      with a non-[HA] biopolymer, mixed with lidocaine and sterilized does
      not degrade.

EX1023, 9 (emphasis added).

      Allergan then filed U.S. 13/419,079 DVDFRQWLQXDWLRQRIWKH‫ތ‬

application. The Examiner, who also examined the SDUHQW‫ތ‬DSSOLFDWLRQissued

an obviousness rejection similar to that in the parent application. Allergan

overcame this rejection by arguing it was “believed that crosslinked HA

composition when combined with lidocaine were not capable of withstanding high

temperature sterilization without a significant reduction in viscosity [which] would

make these compositions unsuitable for soft tissue filling applications.” EX1026,

18. Allergan resubmitted the Cui reference but did not formally enter the Lebreton

declaration into the record. EX1026, 19. The Examiner subsequently allowed the



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claims, noting that Allergan “unexpectedly found that a hyaluronic acid gel cross-

linked, but not with a non-hyaluronic acid biopolymer, mixed with lidocaine and

sterilized does not degrade.” EX1026, 9.

         After a series of intermediate continuation applications, Allergan eventually

filed Application 16/186,448 with the same claims as eveQWXDOO\LVVXHGLQWKH‫ތ‬

patent. Apart from double patenting rejections, which were overcome by terminal

disclaimer, the Examiner did not issue any prior art rejections. In the Notice of

Allowance, the Examiner cited Allergan’s “unexpected results arguments in

copending application 12/393768.” EX1088, 3. 2

         C.    Person of Ordinary Skill in the Art

         The POSITA at and before the priority date is a scientist involved in the

development of dermal fillers, who would have an advanced degree, such as a

Ph.D., M.S., or M.D., and several years of experience developing dermal fillers for

cosmetic use, including HA-based dermal fillers. The POSITA would be aware of




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    As RIDOORZDQFHWKH‫ތ‬DSSOLFDWLRQZDVQRWSHQGLQJ; the unexpected results

argument had actually been made in WKH‫ތ‬DSSOLFDWLRQ



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commercially sold dermal fillers, in the United States and abroad, as well as those

products for which approvals were being publicly sought. EX1002 ¶¶ 63-66.3

V.      CLAIM CONSTRUCTION

        Claim terms are construed according to their ordinary and customary

meaning as understood by a POSITA and the patent’s prosecution history. 37

C.F.R. § 42.100(b). Terms not specifically construed below have their ordinary and

customary meaning. Petitioner makes the claim construction order from a civil

action involving the grandparent ’795 patent of record here. See EX1027.

Petitioner also provides a Joint Claim Construction Chart reflecting Petitioner and

Allergan’s agreed constructions in a civil action involving six patents in the same

family. See EX1084, 4-7. Petitioner’s proposed constructions are consistent with

those adopted by the district court and agreed-upon by Allergan.

        A.    sterile

        In both court proceedings, Allergan agreed sterile means a composition that

is “substantially free of detectable, viable microorganisms.” EX1027, 7; EX1084,



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    A POSITA would also be aware of the process by which FDA reviews dermal

fillers and how FDA publicly communicates the results of such reviews to the

public, including by posting the information about the filler on its webpage.

EX1002 ¶¶ 67-69; EX1032, 227.


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6. 7KLVLVFRQVLVWHQWZLWKWKHVSHFLILFDWLRQRIWKH‫ތ‬896 patent. See EX1001, 5:24-

31.

      B.     stable

      The Medicis court construed stable as “maintains at least one of the

following aspects: transparent appearance, pH, extrusion force and/or rheological

characteristics, [HA] concentration, sterility, osmolarity, and lidocaine

concentration.” EX1027, 11. Allergan agreed to the same construction in the

litigation against Petitioner Prollenium. EX1084, 5. The ‫ތ‬896 patent defines the

terms autoclave stable and stable to autoclaving in the same way. EX1001,5:24-31.

The Board should adopt the parties’ agreed construction. Petitioner also contends

trial should be instituted under the Board’s “more detailed definition” adopted in

prior institution decisions. See, e.g., IPR2019-01508, Paper 19, 13 (citing

IPR2017-01906, Paper 15, 9-10 (Mar. 9, 2018)). Allergan’s assent to this proposed

construction here was not part of the record in any prior proceeding.




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         C.     freely released in vivo

         The phrase “freely released in vivo” should have its ordinary meaning.4

Because the patent does not evaluate the in vivo performance of the claimed gels,

Petitioner provides a discussion of this limitation.

         The only support for the “freely released in vivo” limitation is presented in

an in vitro assay in Example 5, which is alleged to demonstrate the lidocaine “is

freely released from the gels when placed in the skin … and not retained in the gel

once implanted.” EX1001, 17:26-29 and 60-61. As explained by Dr. DeVore, such

in vitro assays are frequently used to model expected in vivo behavior. EX1002

¶ 130.

         In the Example, a lidocaine-containing gel is placed in water and, after about

48 hours, the lidocaine concentration has equilibrated between the gel and the

water. EX1001, 17:24-62; Figure 9. This in vitro test is said to be predictive of

whether a gel will freely release “once implanted” in the skin—i.e., in vivo: “The

concentration profile of lidocaine in Sample 5 from Example 4 (FIG. 9) shows that

over time it reaches an equilibrium that corresponds to the free release of

lidocaine.” EX1001, 17:58-60.



4
    In the litigation of the’795 patent, Allergan agreed that “lidocaine is freely

released in vivo” receives its plain meaning. EX1027, 7-8.


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      But in vitro modeling is not the only way to evaluate the term freely released

in vivo, as shown by the intrinsic evidence. 'XULQJWKHSURVHFXWLRQRIWKH‫ތ‬676

patent, Allegan contrasted the claimed compositions with those that did not freely

release: “If lidocaine is freely released in vivo, a composition cannot provide

sustained delivery because it would be released within a few hours rather than over

a period of weeks of months.” EX1026, 18. Allergan’s comments to the Examiner

are consistent with the in vitro assay. In contrast with the static system of the in

vitro test in the challenged patents, the environment around a gel actually placed in

vivo is dynamic, and equilibrium will never be achieved. Instead, as lidocaine

diffuses from the gel, it is removed by normal physiological processes, prompting

the additional release of lidocaine from the gel according to the laws of

thermodynamics. EX1002 ¶¶ 131-132. Thus, the release of lidocaine in an actual

in vivo system will be faster than the release of lidocaine from the static, in vitro

system described in the ‫ ތ‬and predecessor patents. EX1002 ¶ 132.

      D.     free HA gel

      “Free [HA]” should be construed to mean water soluble HA (i.e.,

uncrosslinked HA and/or lightly crosslinked HA), just as it was in the prior district

court litigation. EX1027, 21. This construction is consistent with the definition and

usage in the specification. EX1001, 3:22-25, 5:63-6:4. Thus, the term “free HA

gel” in claims 8 and 24 includes gels that contain “very lightly crosslinked” and



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“uncrosslinked HA.” 7KH‫ތ‬patent uses the term “gel” when referring to

aqueous compositions containing free HA as well as aqueous compositions

containing crosslinked HA. EX1001, 13:51, 14:24-30.

      E.     wherein the dermal filler is made be process comprising

      Every claim is in the form of a product-by-process claim, i.e., a product

prepared by a certain process. When considering patentability of a product-by-

process claim, the focus is on the product—not the process of making it. Amgen,

Inc. v. Hoffman-La Roche Ltd., 580 F.3d 1340, 1369 (Fed. Cir. 2009). “If the

product in a product-by-process claim is the same as or obvious from a product of

the prior art, the claim is unpatentable even though the prior product was made by

a different process.” In re Thorpe, 777 F.2d 695, 697 (Fed. Cir. 1985). A process

limitation only imparts patentable weight to the claim if the resulting (i.e. claimed)

product has “structural and functional differences” that distinguish the claimed

product from the prior art. Greenliant Sys., Inc. v. Xicor LLC, 692 F.3d 1261, 1268

(Fed. Cir. 2012).

             1.     adjusting the pH of the crosslinked HA composition
      Claims 2-5, 17, and 18 include process steps in which the pH of a BDDE-

crosslinked HA is adjusted to obtain an alkaline crosslinked HA composition,

including adjusting before adding lidocaine in claims 3 & 18 and adjusting to pH

above about 7.5 (claim 5) or between about 7.5-8 (claim 4). However, the process



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steps should not be afforded any patentable weight because WKH‫ތ‬SDWHQWYHU\

clearly states that the claimed pH adjustment does not impart functional or

structural differences to the fillers.

         Example 4 describes comparative experiments in which six crosslinked gels

are combined with lidocaine HCl either with pH adjustment (Test 2) or without pH

DGMXVWPHQW 7HVW $OWKRXJKWKH‫ތ‬patent does not describe the particular

crosslinkers present in the gels, all three of the provisional applications indicate

that Samples 4, 5, and 6 were each Juvéderm products. EX1013, 26; EX1028, 19;

EX1044, 30. Each of these products includes HA crosslinked with BDDE.

EX1002 ¶ 171; EX1014, 27KH‫ތ‬896 patent states that for at least Samples 5 and

6, no meaningful differences were imparted by the claimed pH adjusting step:

         When Sample 5 was prepared with lidocaine and no pH adjustment,
         the viscous and elastic properties changed an insubstantial amount
         (FIG. 6). FIGS. 7 and 8 illustrate that Sample 6 was stable and had
         similar visFRXVDQGHODVWLFSURSHUWLHV *Ǝ*ƍ ZKHQSUHSDred with
         lidocaine, both with and without pH control.

EX1001, 16:61-17:2. Given Allergan’s statement that pH adjustment produced

“insubstantial” difference in two of the fillers5 relative to the same filler which was



5
    Allergan stated that the viscosity of unadjusted Sample 4 did not decrease “to any

appreciable extent” compared with pH-adjusted Sample 4. EX1001, 17:9-12.


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not pH-adjusted, the claimed process steps cannot be said to impart meaningful

functional or structural difference sufficient to give patentable weight to the

process steps.

             2.     homogenizing the crosslinked HA composition before
                    adding lidocaine

      While claim 12 is directed to a process where a gel is homogenized before

adding lidocaine, the ’896 patent actually describes a different sequence: “After the

addition of the lidocaine HCl, or alternatively, during the addition of the lidocaine

HCl, the HA/lidocaine … compositions[] are homogenized ….” EX1001, 11:33-35

(emphasis added); see also EX1001, 14:15-22. Thus, as described in the patent, the

specifically claimed sequence does not lead to structural or functional differences

compared to fillers which are homogenized after or during the addition of

lidocaine.

      F.     adjusting the pH of the crosslinked HA component to obtain an
             alkaline crosslinked HA

      The plain meaning of “adjusting” is to “modify” or “alter.” There is no

“starting” pH required by any claim, so there is no limitation in which direction the

pH is adjusted (up or down). The patent includes an Example where the pH of the

HA component is increased from a “substantially neutral pH” (about 7.2) to

between about 7.5 and about 8. EX1001, 14:7-15. But a preference in an example

is not a clear and unmistakable disclaimer of processes in which the pH is



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decreased. Cont’l Circuits LLC v. Intel Corp., 915 F.3d 788, 797-799 (Fed. Cir.

2019). So, according to the plain meaning of adjusting, the claims embrace

processes where the HA component has a starting pH that is adjusted downwards

to some value.

VI.   CLAIMS 1-30 ARE UNPATENTABLE

      The ‫ތ‬896 patent claims sterile dermal fillers containing BDDE-crosslinked

HA and lidocaine. Before the relevant filing date, POSITAs had already combined

lidocaine with each of the other clinically used crosslinked HA fillers (i.e., DVS,

DEO, and PBCDI-crosslinked HA compositions). Adding lidocaine to a BDDE-

crosslinked HA filler represented the most natural and obvious next step. The

claimed process steps are not afforded any patentable weight, and are obvious over

the prior art. As explained in the Grounds below, the purported inventive concept

of the ‫ތ‬896 patent—the addition of lidocaine to crosslinked HA gels—was made

obvious by either of the combinations of primary references Lebreton and Sadozai

or Kinney and Zhao.

      A.     References Relied Upon

             1.    Lebreton
      Lebreton shares the same inventor as the challenged patent and discloses

BDDE-crosslinked HA dermal filler compositions. The challenged patent cites

Lebreton when explaining how selection of various HA components in dermal



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fillers was known to affect characteristics such as extrusion force, elastic modulus,

and viscous modulus, among others. EX1001, 9:42-52.

      Lebreton discloses dermal fillers obtained by crosslinking a mixture of low

and high molecular weight HA starting materials and claims they have improved

properties (including “remanence,” i.e., stability) relative to prior fillers. EX1029

¶¶ [0021-0024]. Lebreton teaches that the fillers can be formulated at pH between

6.5-7.5, preferably between 7-7.4, and even more preferably between 7.1-7.3, and

that the pH can be controlled using the appropriate buffer solution. EX1029

¶ [0048].

      Lebreton discloses two examples in which a mixture of high and low

molecular weight HA is crosslinked with BDDE in 0.25N NaOH. The resulting

mixture is neutralized to pH 7.2 using a phosphate buffer and dialyzed. The

product is mechanically homogenized, loaded into a syringe, and sterilized in an

autoclave. EX1029 ¶¶ [0080-0092].

      1.     Sadozai

      Sadozai discloses PBCDI-crosslinked HA dermal fillers that include

lidocaine. EX1030 ¶¶ [0007, 0085]; EX1002 ¶ 122. Sadozai teaches that the

dermal fillers may include an anesthetic that can increase the stability of the dermal

filler relative to an equivalent filler without the anesthetic:

      [T]he storage modulus G’ is increased, e.g., the composition is
      stabilized, by the inclusion of a local anesthetic, e.g., lidocaine,

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      compared to a non-stabilized composition, e.g. an identical
      composition except that the local anesthetic is not included.

EX1030 ¶ [0068].

      Sadozai discloses examples in which a dried crosslinked HA is reconstituted

in a phosphate buffer containing 0.3% lidocaine hydrochloride (Buffer 4 or 5;

Examples 5, 12, 16-18). EX1030 ¶¶ [0084, 0090, 0096-104]; EX1002 ¶ 122.

Before reconstitution, several of the samples are sieved to fractionate by particle

size. EX1030, ¶ [0096, 0099-0100]. The resulting gels are loaded into a syringe

and autoclaved, after which the storage modulus (which relates to viscosity) of the

lidocaine-containing crosslinked HA was higher than an otherwise same

crosslinked HA without lidocaine. EX1030 ¶¶ [0090, 0107]; EX1002 ¶¶ 122-123

(relating storage modulus to viscosity).

             2.     Monheit
      Monheit details characteristics that can be routinely varied to give fillers the

desired physical properties for a particular application, including particle size and

ratio of soluble to insoluble HA. EX1022, 78. Monheit specifically notes that free

HA can be incorporated in crosslinked HA “as a lubricant for flow characteristics

….” EX1022, 78.

             3.     Kinney

      Kinney describes a clinical study comparing two dermal fillers: Restylane,

which had been on the market for several years, and Puragen Plus, which was

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undergoing FDA clinical trials. EX1012, 741-742. Kinney teaches Restylane is an

injectable dermal filler containing 20 mg/mL of BDDE-crosslinked HA particles

with a high concentration of “minimally modified HA molecules.” EX1012, 741-

742. Kinney notes that a “major disadvantage” of existing HA based fillers was

the pain that accompanied injection. EX1012, 741.

      Kinney also teaches Puragen Plus, a dermal filler containing 20 mg/mL of

double-DEO crosslinked HA particles, lidocaine hydrochloride (0.3%), and what a

POSITA would recognize as a pH buffer component, which was undergoing

clinical trials. EX1012, 742; EX1002 ¶¶ 124-125. Kinney teaches that injection

with Puragen Plus caused minimal or no pain for patients. EX1012, 746.

            4.     Zhao
      Zhao describes double-crosslinked HA dermal fillers with improved

biostability relative to single-crosslinked HA. See EX1058 ¶¶ [0014], [0067].

Zhao describes an example in which double-crosslinked HA was prepared by first

crosslinking HA with DEO under alkaline conditions, followed by crosslinking the

resultant product with DEO under acidic conditions. EX1058 ¶ [0032]. Zhao

teaches that a number of crosslinking agents—including both BDDE and DEO—

can be used to prepare double-crosslinked HA using the described methods.

EX1058 ¶ [0019-0021].




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             5.     Narins

      Narins is a 2005 journal article describing characteristics of several FDA-

approved dermal fillers. EX1007, 151, 153. Narins includes a description of the

same Restylane product disclosed by Kinney and teaches that Restylane is heat

sterilized in its final container and has a shelf life of 1.5 years from date of

manufacture. EX1007, 156.

      B.     Ground 1: Claims 1-7, 9-23, and 25-30 are obvious over Lebreton
             and Sadozai

      Lebreton describes a BDDE-crosslinked HA filler. By August 2008,

lidocaine (at 0.3 wt.%) had been incorporated in a range of dermal fillers to

mitigate injection pain. EX1002 ¶ 135. Merely adding lidocaine to a prior art

filler—which the provisional applications demonstrate is all that Allergan did—is

not inventive. Cf. EX1013, 16-20 (describing mixing Juvéderm Ultra Plus with

lidocaine, adjusting pH to 7.2, and observing the mixture can be autoclave

sterilized and that the lidocaine is freely released from the gel).

             1.     Motivation to Combine

      Lebreton discloses BDDE-crosslinked dermal fillers with improved

properties over earlier BDDE-crosslinked fillers. The POSITA would have been

aware that injection pain was a drawback for these products and would have been

motivated to apply the same solution that had been successfully used with other




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injectable fillers: adding lidocaine. EX1002 ¶ 135. Sadozai exemplifies such a

solution.

      As shown in Section III.C above, lidocaine had been successfully

incorporated into compositions containing HA crosslinked with the three other

conventional crosslinking agents: DVS, PBCDI, and DEO. Two products had

already received FDA approval by the patent’s earliest filing date. EX1020, 8;

EX1052 (Prevelle Silk); EX1019, 5 (Anika’s Elevess, an implementation of

Sadozai; EX1002 ¶¶ 109, 135-136). A third (Puragen Plus) was approved in

Europe and undergoing clinical trials in the U.S. See EX1012, 742; EX1002

¶¶ 111, 135-136. A composition containing BDDE-crosslinked HA and lidocaine

was a derivative and predictable next step in view of the success of the other three

clinically used crosslinkers. At minimum, adding lidocaine to Lebreton would

have been obvious to try.

      Moreover, the prior art suggests a reasonable expectation of success that

adding lidocaine to Lebreton would produce a lidocaine-containing dermal filler.

The repeated successful use of lidocaine across the remaining spectrum of

crosslinked HA dermal fillers would have prompted a POSITA to—at minimum—

attempt the combination. DVS, PBCDI, and DEO crosslinked HA gels share many

more similarities with BDDE-crosslinked gel than differences. EX1002 ¶¶ 77-78,

163, 232. Once crosslinked, all four crosslinkers are devoid of reactive or unstable


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functional groups which a POSITA might suspect would unfavorably react in the

presence of lidocaine. EX1002 ¶¶ 78, 232-233.

      Further, lidocaine had been successfully incorporated into dermal fillers

containing more significant chemical differences than the crosslinked-HA fillers

discussed above. In the cosmetic field alone, lidocaine had been successfully

incorporated into fillers based on synthetic polymers, bovine collagen, and human

collagen. EX1002 ¶¶ 107, 136. There is no credible reason why the POSITA

would have not expected success in incorporating lidocaine into a BDDE-

crosslinked HA too. Even if there had been some uncertainty whether lidocaine

could be added to BDDE-crosslinked HA (and there was not), absolute certainty is

not necessary for a proposed modification to be obvious. EX1002 ¶¶ 135-136,

140, 145-147. BTG Int’l Ltd. v. Amneal Pharm. LLC, 923 F.3d 1063, 1075 (Fed.

Cir. 2019) (affirming PTAB’s finding of reasonable expectation of success even

though the “effect in combination may have been uncertain at the time”); Pfizer,

Inc. v. Apotex, Inc., 480 F.3d 1348, 1364 (Fed. Cir. 2007) (“[T]he expectation of

success need only be reasonable, not absolute”). Nothing in the prior art suggested




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any difficulty combining lidocaine with a BDDE-crosslinked gel, such as taught by

Lebreton. 6

         The POSITA could have easily adapted the procedure disclosed in Lebreton

to incorporate lidocaine into the BDDE-crosslinked gels. In particular, Lebreton

teaches that after the crosslinking reaction, the resulting gel is dialyzed with a pH

7.2 phosphate buffer. EX1029 ¶ [0070]. The POSITA could have easily

incorporated lidocaine into the buffer solution at a concentration of 0.3% (such as

taught by Sadozai), thereby obtaining a BDDE-crosslinked gel containing

lidocaine. EX1002 ¶ 136.

         The POSITA would have then mechanically homogenized the gel into

particles, loaded the composition into a syringe, and sterilized it using an autoclave

to arrive at the claimed composition. EX1029 ¶ [0070]; EX1002 ¶¶ 138-140. The

resulting composition would meet all the elements of the claims as shown in the

detailed analysis below; the claims are obvious.

               2.    Detailed claim analysis

         Independent claim 25 includes many of the common features of the other

independent claims, and dependent 26-30 include features that are included in



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    As noted in Section VI.F.1, below, Allergan’s declaration during prosecution

proffering “unexpected results” cited no prior art to substantiate the claim.


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other challenged claims. Prollenium presents these claims first to illustrate how the

prior art teaches those limitations. Other claims are shown obvious by reference

(and hyperlinks) to the corresponding limitations in these claims and are obvious

for the same reasons.

                a.          Independent claim 25 and dependent claims 26-30
                     (i)      [25.pre] A dermal filler product comprising:
                              [25.1] a dermal filler composition comprising
      Lebreton and Sadozai both teach dermal fillers. EX1029 ¶ [0005]; EX1030

¶¶ [0007, 0012] (HA “effective for tissue augmentation”).

                     (ii)     [25.1.1] an [HA] crosslinked with [BDDE] … wherein
                              the HA is not crosslinked to a non-HA biopolymer

      Lebreton discloses BDDE-crosslinked HA, which is not crosslinked to a

non-HA biopolymer. EX1029 ¶¶ [0068-0076]; EX1002 ¶ 137.

                     (iii)    [25.1.2] between about 0.1% to about 5.0% lidocaine by
                              weight

      Sadozai teaches 0.3% lidocaine. EX1030 ¶ [0107]; EX1002 ¶ 136

(explaining this was a common concentration and effective to mitigate pain).




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                      (iv)    [25.1.3] wherein the composition is sterile and
                             [25.2] a syringe containing the sterile composition

         After preparation of the gel, both Lebreton and Sadozai teach loading the gel

into syringes and heat-sterilizing in an autoclave. EX1029 ¶ [0070]; EX1030

¶¶ [0054-0055, 0090]; EX1002 ¶ 138.7

                      (v)    [25.3] wherein the product is made by a process
                             comprising

         While process limitations are not taken into account in an obviousness

analysis, the claimed steps are nonetheless obvious. Claim 25 requires the steps of

(25.3.1) crosslinking HA with BDDE; (25.3.2) adding lidocaine to the crosslinked

product; (25.3.3) packaging said product into a syringe; and (25.3.4) autoclave

sterilizing. Lebreton explicitly teaches steps 25.3.1, 25.3.3, and 25.3.4 as shown in

elements [25.1.1], [25.1.2], and [25.1.3] above, and the POSITA would have been

motivated to add lidocaine to the crosslinked product before packing it into a

syringe and autoclaving. The POSITA would have known that once sterilized, no

further modifications of the filler should be carried out. EX1002 ¶¶ 138-140.




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    Notably, Sadozai teaches that lidocaine did not decrease filler viscosity after

autoclave sterilization. EX1030 ¶ [0107]; EX1002 ¶ 123, 139 (correlating viscosity

with storage modulus).


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Accordingly, the POSITA would have added lidocaine prior to the sterilization

process. EX1002 ¶¶ 138, 140.

                     (vi)   [claim 26] the syringe has a volume between about 0.8
                            mL and about 2.5 mL
         Sadozai discloses “loading the gel in a 1 mL glass syringe.” EX1030

¶ [0092]. 8 The POSITA could have selected the same syringe to deliver the

lidocaine-containing BDDE-crosslinked filler as well. EX1002 ¶ 141.

                     (vii) [claim 27] HA concentration of about 20 mg/mL to about
                           30 mg/mL
         Lebreton discloses a mixture of HA “at a concentration … advantageously of

between 20 and 30 mg/g,” which is the same concentration claimed. EX1029

¶ [0049].

                     (viii) [claim 28] stable at ambient temperature for at least
                            about 6 months

        “Stable” compositions include those that maintain sterility over a length of

time. See Section V.A. Lebreton teaches the BDDE-crosslinked gel is sterilized in

a syringe. EX1029 ¶ [0070. The POSITA would understand that the product would

remain sterile so long as the syringe was not opened, including for at least six

months. EX1002 ¶ 143.



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    The ’896 patent disclaims any inventiveness of the recited syringe by admitting

that “any syringe known in the art” can be used with its filler. EX1001, 11:49-53.


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       As explained by Dr. DeVore, the POSITA also would have had a reasonable

expectation that the hypothetical composition would also remain shelf-stable like

other lidocaine-containing HA dermal fillers known to be approved by FDA and/or

undergoing clinical trials by the time of the claimed priority date (including those

with lidocaine). See EX1002 ¶¶ 144-147. The POSITA would have expected those

other gels would be stable at ambient temperature for at least six months because a

company would not undertake a costly clinical trial with a product that would not

be competitive in the marketplace. Given that lidocaine-containing fillers based on

the PBCDI, DVS, and DEO crosslinkers were all expected to possess the claimed

stability, the POSITA would expect a lidocaine containing BDDE-based crosslinker

would be stable as well. EX1002 ¶ 144-146. As explained elsewhere in this

petition, Allergan did not provide any corroborating evidence supporting its

allegation that the POSITA would not have expected a lidocaine-containing HA gel

(BDDE-crosslinked or otherwise) could be successfully heat sterilized. EX1002 ¶

147.

                   (ix)   [claims 29-30] particle size of greater or less than “about
                          ȝm”

       Sadozai teaches the filler product can have an average particle size between

about 20 ȝm and 1,000 ȝm, and more specifically in the range between 25-250 ȝm,

(EX1030 ¶ [0049]), which is consistent with clinically available filler products.

EX1002 ¶ 149-150. The POSITA would have been motivated to explore various


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particle size for different filler indications. EX1002 ¶ 149-151. Allergan has not

alleged or demonstrated any criticality or unexpected results associated with any of

the claimed particle sizes.

                    b.         Independent claim 1 and dependent claims 2-15

                         (i)     Claims 1 and 6
         Claim 1 recites many of the same basic features of independent claim 25.

                                            Claim 1
    [1.pre] A dermal filler comprising:                        See [25.1]9
    [1.1] [HA] crosslinked with [BDDE], and                     See [25.1.1]
    [1.2] lidocaine … wherein the lidocaine is freely          See [25.1.2] + “freely
    released in vivo                                           released” discussion
                                                               below
    [1.3] wherein the dermal filler is sterile; and             See [25.1.3]
    [1.4] wherein the dermal filler is made by a process
    comprising:                                                 See generally [25.3]
    [1.4.1] crosslinking HA with BDDE to obtain a
    crosslinked HA composition;                                See [25.3.1]
    [1.4.2] adding lidocaine to the crosslinked HA             See [25.3.2]
    composition; and

    [claim 6] “adding a solution containing lidocaine          Sadozai teaches the
    HCl.”                                                      solutions containing
                                                               lidocaine HCl. EX1030
                                                               ¶ [0084]. The POSITA
                                                               would have used a


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    Each bracketed limitation or claim reference (such as in this table) is a clickable-

hyperlink to the cited discussion in the PDF version of this paper.



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                                        Claim 1
                                                           solution containing
                                                           lidocaine HCl, 10 as that
                                                           salt was commonly used
                                                           when preparing lidocaine-
                                                           containing dermal fillers.
                                                           EX1002 ¶ 115, 122, 125;
                                                           EX1012, 742; EX1059
                                                           7:5-10.
 [1.4.3] heat sterilizing the crosslinked HA
 composition with added lidocaine to obtain a sterile
 dermal filler.                                             See [25.3.4]


         As to the freely released portion of element [1.2], the POSITA,

understanding that lidocaine was loaded into the crosslinked gel of Sadozai by a

diffusion process, would recognize that combining BDDE-crosslinked HA with a

lidocaine-containing buffer would load lidocaine into that gel by diffusion as well.

EX1002 ¶¶ 154-156. The POSITA would understand that no covalent bonds were

formed during the loading process. EX1002 ¶ 156. Although Sadozai includes

language suggesting that PBCDI-crosslinked HA may be used for controlled

release, the POSITA would not have considered this language relevant to the

release of lidocaine. Sadozai is not limited to lidocaine, but instead teaches

essentially any drug can be combined with PBCDI-crosslinked, including water


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     A “solution containing lidocaine” includes solutions containing lidocaine HCl.

EX1001, 7:20-21.


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insoluble (i.e., fat-soluble EX1030 ¶ [0057]) drugs like steroids. Id. In the case of

water-insoluble drugs, the drug cannot freely diffuse from the gel in vivo, and

instead is released as the gel is degraded. EX1030 ¶ [0061]; EX1002 ¶¶ 74, 159

(explaining that only water-soluble drugs, like lidocaine, can freely diffuse in an in

vivo setting). Moreover, Sadozai compares a 0.3% lidocaine-containing PBCDI-

crosslinked dermal filler with Zyderm II, a collagen filler containing 0.3%

lidocaine, in a guinea pig assay. EX1030 ¶¶ [0108-0116]. The POSITA would have

known that the lidocaine was included in Zyderm II to mitigate pain, and would

have reasonably expected that it served the same purpose in the PBCDI-

crosslinked gel. EX1002 ¶ 160. The POSITA would have recognized that if

lidocaine did not freely diffuse from the gel, it could not function as an anesthetic.

EX1002 ¶ 160.

      The POSITA’s expectation that lidocaine was freely released from the

PBCDI-crosslinked gels in Sadozai would have been reinforced by the CTA

Summary. The corresponding package insert for CTA cites Sadozai (by

Application Serial No.). EX1031, 8. The POSITA would understand that the

disclosure in Sadozai was directly related to the product described in CTA

Summary, and teaches that over 90% of the lidocaine is eluted within 2 minutes in

an in vitro assay. EX1002 ¶ 161; EX1050, 6. The POSITA would have expected




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similar release characteristics for the lidocaine-containing PBCDI-crosslinked gels

taught by Sadozai. EX1002 ¶ 161.

      Based on the teachings of Sadozai and CTA Summary, the POSITA would

have expected that lidocaine would diffuse from a BDDE-crosslinked gel in a

similar fashion to the PBCDI-crosslinked gels. EX1002 ¶¶ 153, 155-156, 161-164.

The POSITA would have recognized that there were no functional groups in

BDDE-crosslinked HA that would have interacted with lidocaine differently that

those present in PBCDI-crosslinked HA. EX1002 ¶¶ 156, 163. As such, the

POSITA would have reasonably expected that diffusion would not be inhibited

from a BDDE-crosslinked gel. EX1002 ¶ 156. The POSITA would have expected

that lidocaine would diffuse from the BDDE-crosslinked gel, both to mitigate pain

in vivo and to reach equilibrium in an in vitro DVVD\OLNH([DPSOHRIWKH‫ތ‬

patent. EX1002 ¶¶ 155-156, 160. In other words, the POSITA would reasonably

expect the lidocaine would be “freely released in vivo.”

                    (ii)   Claims 2-5: “adjusting the pH” process steps

      As the claimed process steps do not impart special functional or structural

characteristics to the fillers, the process steps do not impart patentability, and

claims 2-5 are obvious for the same reasons set forth for claim 1. Nevertheless, the

process steps are also obvious.




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      The POSITA would have been motivated to prepare a composition having

the same pre-sterilization pH as the compositions described by Lebreton, e.g., 7.2.

EX1029 ¶¶ [0048, 0070, 0076]; EX1002 ¶¶ 177-179. When incorporating

lidocaine, the POSITA would have used lidocaine HCl as it was commonly used

when preparing lidocaine-containing dermal fillers. EX1002 ¶ 179; EX1030 ¶

[0084]; see also, e.g., EX1012, 742; EX1059 7:5-10. The POSITA would have

known that lidocaine HCl was weakly acidic, and that adding it directly to

Lebreton’s gel would lower the pH below the desired 7.2. EX1002 ¶ 179.

      With a target pH of 7.2 in mind, the POSITA would have known to account

for the reduction in pH caused by introducing acidic lidocaine HCl in the

composition. EX1002 ¶ 179. A POSITA would have known that a limited number

of simple strategies could be used account for the effect of lidocaine HCl on the pH

of the composition so as to arrive at a composition having a target pH of 7.2:

             (a) adding lidocaine HCl (thereby lowering the pH below the target

      pH of 7.2) then adding a base to increase the pH back to the target pH of 7.2;

             (b) raising the pH above the target pH of 7.2 and then adding

      lidocaine HCl to lower the pH to the target pH of 7.2; or

             (c) buffering the lidocaine HCl at the target pH of 7.2 and then adding

      the buffered lidocaine composition to the crosslinked HA composition (such




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         that the pH remains at the target pH of 7.2 throughout the course of the

         lidocaine addition).

         Sadozai expressly teaches the third option (EX1030 ¶ [0090]), and POSITAs

could have easily explored the other two. EX1002 ¶ 179-180. The POSITA knew

that HA was stable at the relevant pH levels (EX1002 ¶ 181), and would have

reasonably expected that all three options would be successful. As there are only a

finite number of possibilities for combining lidocaine HCl with the BDDE-

crosslinked composition taught by Lebreton, the POSITA would have been

motivated to explore them all. 11 EX1002 ¶¶ 180-181. Claims 2 and 3 are therefore

obvious.

         The specific pH levels recited in claims 4 and 5 are the result of routine

optimization. The ‫ތ‬896 patent indicates that adding lidocaine HCl to a BDDE

composition at pH 7.5 to 8 results in a final pH of about 7. EX1001, 14:15-19.

Lebreton teaches the fillers are preferably formulated at pH 7-7.4 (EX1029 ¶

[0048]), and the POSITA knew that Restylane was formulated at pH 7. EX1006,

362; EX1002 ¶ 97. The POSITA could have selected either pH = 7 or 7.4 for the

lidocaine-containing BDDE-crosslinked fillers as well. The patent states adding



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     While there are numerous specific processes that could be used, the claims are

extremely broad, only requiring a pH adjustment.


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0.3% lidocaine to a filler at pH between 7.5-8 results in a final pH of about 7. If

the POSITA was targeting a higher pH for the pre-sterilization filler, e.g., 7.4, the

POSITA would have been led to a pH adjustment above about 7.5. EX1002 ¶ 182.

As such, claims 4 and 5 are obvious.

                    (iii)   Claims 7 and 9-11: “passing the crosslinked HA
                            composition through a sieve” and particle size ranges

      For claim 7, Sadozai teaches a sieving method that can be used to obtain

particles of varying fractions, including particles having average diameter from

125-ȝm, and 180-250 ȝm. After sieving, the particles are rehydrated in the

lidocaine-containing buffer solution. EX1030 ¶ [0052, 0099, 0102]. Instead of

purifying the BDDE-crosslinked HA using dialysis (as taught in Lebreton), the

POSITA could have instead precipitated the product by alcohol addition, as taught

by Sadozai. EX1002 ¶ 183; EX1001, 11:6-8 (admitting both dialysis and alcohol

precipitation conventional methods for purifying crosslinked gels). The POSITA

could have sieved the crosslinked product, and then reconstituted it using a buffer

solution containing lidocaine. EX1002 ¶ 183; EX1030 ¶¶ [0096, 0099].

      When sieving the composition, it would have been obvious to select the

particle size ranges recited in claims 9-11, as shown in [claims 29-30] above. See

also EX1002 ¶ 183.




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                     (iv)    Claim 12: homogenizing the crosslinked HA composition
                             before adding the lidocaine

      The process step of claim 12 is not entitled to patentable weight, see

Sections V.E.2 and VI.B.2.b(ii) above. But even if it did, Lebreton and Sadozai

also disclose homogenizing crosslinked compositions. EX1002 ¶ 184; EX1029

¶¶ [0068-0070]; EX1030 ¶ [0090].

                     (v)     Claims 13-15
      Lebreton discloses a mixture of HA “at a concentration … advantageously of

between 20 and 30 mg/g,” EX1029 ¶ [0049], which is the same concentration in

claims 14 and 15. EX1002 ¶ 185. Sadozai teaches 0.3% lidocaine, within the range

recited in claim 13 and specified in claim 15. EX1030 ¶ [0107]. See also element

[25.1.2] and [claim 27].

                c.         Independent claim 16 and dependent claims 17-23
      Independent claim 16 contains similar limitations as claim 25 (and claim 1)

and is obvious for the same reasons, as shown in the table below referring to the

argument for corresponding limitations.

                                       Claim 16
[16.pre] A dermal filler composition comprising:          See [25.1]
[16.1] a composition comprising [HA] crosslinked
with [BDDE], wherein the HA is not crosslinked to a
non-HA biopolymer, and                              See [25.1.1]
[16.2] lidocaine;                                         See [25.1.2]
[16.3] wherein the dermal filler is made by a process     See [25.3]
comprising:

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                                   Claim 16
   crosslinking HA with BDDE to obtain a
   crosslinked HA;
   adding lidocaine to the crosslinked HA; and
heat sterilizing the crosslinked HA with added
   lidocaine to obtain a sterile dermal filler.


                                 Claims 17-23
[Claim 17] wherein the process further comprises
adjusting the pH of the crosslinked HA to obtain an
alkaline crosslinked HA.                              Same limitations as
                                                      claims 2 and 3, and
[Claim 18] wherein the adjusting the pH is            obvious for the same
performed before adding the lidocaine.                reasons. See Section b(ii).
[Claim 19] wherein adding the lidocaine comprises
adding a solution containing lidocaine HCl.            See [claim 6]
[Claim 20] wherein the crosslinked HA comprises
particles of crosslinked HA having an average
particle size of at least about 200 ȝm.                See [claim 29]
[Claim 21] wherein the crosslinked HA comprises
particles of crosslinked HA having an average
particle size of less than about 200 ȝm.              See [claim 30]
[Claim 22] wherein the dermal filler has a lidocaine
concentration of between about 0.1% and about 5.0%
w/w.                                                 See [25.1.2]
[Claim 23] wherein the dermal filler has a HA
concentration of between about 20 mg/mL and about
30 mg/mL.                                         See [claim 27]




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         C.    Ground 2: Claims 8 and 24 are obvious over Lebreton, Sadozai,
               and Monheit

                  a.    Claim 8

         In Ground 1, the combination of Lebreton and Sadozai produces a soft tissue

filler meeting all the limitations of claim 1. Claim 8 depends from claim 7 and

includes the step of adding free HA gel to the filler after it has been passed through

the sieve. As described in Monheit, free HA was conventionally included in HA

fillers to optimize injection characteristics. EX1002 ¶ 106; EX1022, 78-79;

EX1008, 29S; EX1009, 67S. The POSITA would have been motivated to include

free HA to optimize the injection characteristics of the filler (EX1002 ¶ 191).

Claim 8 covers one sequence of steps (sieve, then add free HA), and there is only

one other sequence possible (add free HA, then sieve). The POSITA would have

explored both during routine optimization of the manufacturing process. EX1002

¶ 191.

                  b.    Claim 24

         Independent claim 24 contains a combination of limitations the other

independent claims, as well as the addition of free HA as in claim 8, though

without any recited order. Claim 24 is obvious in Ground 2 as shown in the table

below referring to the argument for corresponding limitations. EX1002 ¶ 192.

                                       Claim 24
[24.pre] A dermal filler composition comprising:          See [25.1]



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                                     Claim 24
[24.1] a [HA] crosslinked with [BDDE], and               See [25.1.1]
[24.2] about 0.3% lidocaine by weight, wherein the       See [1.2], Section
lidocaine is freely released in vivo and                 VI.B.2.b(i)
[24.3] wherein the composition is sterile;               See [25.1.3]
[24.4.1] crosslinking HA with BDDE to obtain a
crosslinked HA;                                          See [25.3]
[24.4.2] adding a free HA gel to the crosslinked HA;     See [claim 8]
[24.4.3] adding a solution of lidocaine HCl to the
crosslinked HA; and                                      See [claim 6]
[24.4.4] autoclaving the crosslinked HA having free
HA gel and lidocaine HCl added thereto, to obtain a
sterile dermal filler composition.                       See [25.3.2]


      D.     Ground 3: Claims 1-7, 9-23, and 25-30 are obvious over Kinney,
             Zhao, and Narins

      Kinney teaches a double-DEO crosslinked HA filler that includes 0.3 wt.%

lidocaine to afford “relatively pain-free injection.” EX1012, 742. Kinney states that

the double-crosslinking provides advantages including enhanced stability during

sterilization, as well as enhanced stability and slower degradation in vivo. EX1012,

742. Zhao teaches double-DEO crosslinked HA, and that BDDE crosslinks are

interchangeable with DEO. EX1058 ¶ [0019]. Given the market preference for

BDDE-crosslinked HA fillers (EX1002 ¶¶ 195-196), it would have been obvious to

simply substitute the DEO crosslinker in Kinney with BDDE (as taught by Zhao)

and sterilize the resulting composition using the conventional conditions taught by

Narins.

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              1.   Motivation to Combine

      Kinney and Narins teach that Restylane, which contained particles of single-

BDDE crosslinked HA, was an established dermal filler, but its injections were

painful due to lack of lidocaine. EX1012, 741; EX1007, 156. Kinney also

discloses Puragen Plus, which included particles of double-DEO crosslinked HA,

and that patients preferred it over Restylane because it contained lidocaine.

EX1012, 746. The POSITA would have been motivated to exchange the DEO

crosslinker in Puragen Plus with a BDDE crosslinker, as BDDE-crosslinked fillers

were already established in the marketplace and approved by FDA. EX1002

¶¶ 195-196.

      A POSITA could have easily made particles of double-BDDE crosslinked

HA based on the teachings of Zhao. Zhao discloses processes to prepare double

crosslinked HA (EX1058 ¶¶ [0083-0093]), including double-BDDE crosslinked

HA. EX1058 ¶ [0019]. Because BDDE and DEO are each bis-epoxide

crosslinkers, the POSITA would have reasonably expected that Zhao’s process

could be adapted to use BDDE instead of DEO. EX1002 ¶ 196. As BDDE and

DEO are chemically similar, a POSITA would reasonably expect that lidocaine

would function analogously in both of the crosslinked gels. EX1002 ¶ 197;

Hoffmann La Roche, Inc. v. Apotex Inc., 748 F.3d 1326, 1331 (Fed. Cir. 2014)




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(“Conclusive proof of efficacy is not necessary to show obviousness. All that is

required is a reasonable expectation of success.”).

               2.        Detailed claim analysis

                    a.          Independent claim 25 and dependent claims 26-30

                         (i)      [25.pre] A dermal filler product comprising:
                                  [25.1] a dermal filler composition comprising
         Kinney, Zhao, and Narins are all directed to dermal fillers. EX1012, 741-

742; EX1058 ¶ [0067] (teaching “soft tissue augmentation); EX1007, 156.

                         (ii)     [25.1.1] [HA] crosslinked with [BDDE] … wherein the
                                  HA is not crosslinked to a non-HA biopolymer

         Kinney discloses a BDDE-crosslinked HA filler (Restylane) and a lidocaine-

containing, DEO-double crosslinked HA filler (Puragen Plus). EX1012, 741-742.

As discussed above, a POSITA would have been motivated to exchange the DEO

crosslinker in Puragen Plus with a BDDE crosslinker. EX1002 ¶ 195. The HA in

Restylane and Puragen Plus is not crosslinked to a non-HA biopolymer. EX1002

¶ 200.

                         (iii)    [25.1.2] between about 0.1% to about 5.0% lidocaine by
                                  weight

         “Puragen Plus contains … lidocaine HCl 0.3% ….” EX1012, 742; EX1002 ¶

224 (explaining this was a common concentration and effective to mitigate pain).




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                    (iv)   [25.1.3] wherein the composition is sterile and
                           [25.2] a syringe containing the sterile composition

      Kinney discloses Puragen Plus is sterilized and administered by a syringe.

EX1012, 742, 748. Narins discloses Restylane is “heat-sterilized in its final

container,” i.e., a syringe. EX1007, 156; EX1002 ¶ 105. The POSITA would have

been motivated to sterilize the double BDDE-crosslinked dermal filler in a syringe

that could be sold to clinicians as well. EX1002 ¶¶ 201-202.

                    (v)    [25.3] wherein the product is made by a process
                           comprising
      While process limitations are not considered in an obviousness analysis,

Section V.E, the steps are nonetheless obvious. Claim 25 requires steps of (25.3.1)

crosslinking HA with BDDE; (25.3.2) adding lidocaine to the crosslinked product;

(25.3.3) packaging said product into a syringe; and (25.3.4) autoclave sterilizing.

Double crosslinking HA with BDDE provides step 25.3.1, and the POSITA would

have been motivated to add lidocaine to the crosslinked product before packaging

it into a syringe and autoclave sterilizing. The POSITA would have known that

once sterilized, no further modifications of the filler should be carried out.

EX1002 ¶¶ 203-205. Accordingly, the POSITA would have added lidocaine before

sterilization. EX1002 ¶ 205.




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                    (vi)   [claim 26] the syringe has a volume between about 0.8
                           mL and about 2.5 mL

      As noted in Ground 1, the patent admits that “any syringe known in the art”

is useful for the claimed filler. EX1001, 11:49-53. As explained by Dr. DeVore, 1

mL syringes were very common in 2008, and used in many commercial fillers.

EX1002 ¶ 206. The POSITA could have selected a 1 mL for the double-

crosslinked, lidocaine-containing filler as well.

                    (vii) [claim 27] HA concentration of about 20 mg/mL to about
                          30 mg/mL
      Kinney discloses that multiple Restylane formulations “contain a

concentration of 20 mg/mL” of HA and that “[e]ach milliliter of Puragen Plus

contains 20 mg” of HA. EX1012, 741-742. The POSITA could have selected this

concentration for the as-modified composition as well. EX1002 ¶ 207.

                    (viii) [claim 28] stable at ambient temperature for at least
                           about 6 months
      “Stable” compositions include those that maintain sterility over a length of

time (See Section V.A). Given the as-modified composition is sterilized in the final

container, see Section VI.D.2.a(iv) above, the POSITA would understand that the

product would remain sterile for at least the claimed 6 months so long as the final

container was not opened. EX1002 ¶¶ 128, 208. Moreover, the POSITA would

have reasonably expected that the resulting composition would be shelf-stable for

at least the claimed 6 months because all other dermal fillers (including lidocaine-


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containing HA fillers) were explicitly taught or expected to have the same stability.

The POSITA would expect the same stability for lidocaine-containing, BDDE-

double crosslinked compositions. EX1002 ¶¶ 208-210.

                     (ix)    [claims 29-30] particle size of greater or less than “about
                             ȝm”

      Both Restylane and Puragen Plus are in the form of particles—the average

particle size in Puragen Plus is 220 ȝm; the average particle size of Restylane is

300-650 ȝm. EX1012, 741-742. Narins teaches that several different Restylane

products were available, differing the particle size and intended tissue application.

EX1007, 156-157. The POSITA would have known that particle size affected

permanence, hardness, and injectability (EX1002 ¶ 212) and that a desired particle

size could be obtained using a sieve method. EX1045, 39; EX1030 ¶ [0096]

EX1002 ¶¶ 183, 39. The POSITA could have easily prepared particles falling with

the scope of any of claims 29-30 using a sieve based on the intended clinical

application. EX1002 ¶ 211-212. Allergan has not alleged or demonstrated any

criticality or unexpected results associated with the claimed particle size.

                b.         Independent claim 1 and dependent claims 2-15
                     (i)     Claims 1 and 6

      Claim 1 recites many of the same basic features of independent claim 25.

                                         Claim 1
[1.pre] A dermal filler comprising:                         See [25.1]



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                                       Claim 1
[1.1] [HA] crosslinked with [BDDE], and                     See [25.1.1]
[1.2] lidocaine … wherein the lidocaine is freely          See [25.1.2] + “freely
released in vivo                                           released” discussion
                                                           below
[1.3] wherein the dermal filler is sterile; and             See [25.1.3]
[1.4] wherein the dermal filler is made by a process
comprising:                                                See generally [25.3]
[1.4.1] crosslinking HA with BDDE to obtain a
crosslinked HA composition;                                See [25.3.1]
[1.4.2] adding lidocaine to the crosslinked HA             See [25.3.2]
composition; and

[claim 6] “adding a solution containing lidocaine          Puragen Plus contains
HCl.”                                                      lidocaine hydrochloride.
                                                           EX1012, 742. The
                                                           POSITA would have used
                                                           a solution containing
                                                           lidocaine HCl, which was
                                                           commonly used when
                                                           preparing lidocaine-
                                                           containing dermal fillers.
                                                           EX1002 ¶ 219; EX1030 ¶
                                                           [0084]; EX1059 7:5-10.

[1.4.3] heat sterilizing the crosslinked HA
composition with added lidocaine to obtain a sterile
dermal filler.                                              See [25.3.4]


      As to the freely released portion of element [1.2], Kinney discloses that the

inclusion of lidocaine in crosslinked HA filler results in “a relatively pain-free

injection.” EX1012, 742; see also EX1012, 748 (“Injection is minimally painful

due to the presence of lidocaine.”). The POSITA would have therefore understood

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Kinney to teach that the lidocaine in Puragen Plus was “freely released” because it

diffused out of the gel quickly enough to produce the pain-minimizing effect upon

injection (not hours or days later). See EX1002 ¶¶ 215-217; see also Section V.C,

supra (discussing intrinsic evidence of plain meaning of the term).

         The POSITA would consequently understand the lidocaine was not

covalently bound to the DEO-double crosslinked HA described by Kinney.

EX1002 ¶ 215-216 (explaining that a chemical modification to the lidocaine

molecule itself would be needed to covalently attach lidocaine to the crosslinked

HA, and such a modified compound would no longer be called “lidocaine

hydrochloride.”). The POSITA would understand that at least a portion (i.e., an

effective amount) of lidocaine diffused from Puragen Plus during injection as it

was effective to mitigate pain. EX1002 ¶ 216 (explaining that lidocaine cannot

exert is biological effect when entrapped within gel). The POSITA would therefore

reasonably expect that when Puragen Plus was placed in water, over time the

lidocaine concentration would equilibrate between the gel and the water. EX1002

¶ 217.

         The POSITA would understand that there were no functional groups present

in BDDE-double crosslinked HA that were not also present in DEO-double

crosslinked HA. EX1002 ¶ 77, 217. Accordingly, the POSITA would reasonably

expect that lidocaine would diffuse from the BDDE-double crosslinked gel in


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similar fashion to a DEO-double crosslinked gel. EX1002 ¶ 217. As such, the

POSITA would have reasonably expected that lidocaine would be freely released in

vivo from a BDDE-double crosslinked gel.

                   (ii)    Claims 2-5, “adjusting the pH” process steps

      As discussed in Sections V.E and VI.B.2.b(ii) (Ground 1), the process steps

of the claims are not entitled to patentable weight. Nevertheless, the claimed steps

are also obvious. The POSITA could have made a BDDE-double crosslinked HA

composition according to Zhao. The POSITA would have known the filler should

be formulated at a physiologically acceptable pH, for instance 7 as exemplified in

Restylane. EX1002 ¶ 220.

      As explained in Ground 1, there are a limited number of methods for

combining lidocaine hydrochloride with a crosslinked gel buffered to a

physiologically pH. See Section B.2.b(ii). The POSITA would have been motivated

to explore them all, including methods in which the pH of the double-BDDE

crosslinked gel was adjusted to a pH between about 7.5 and 8, as well as above

about 7.5 prior to addition of lidocaine hydrochloride. See also EX1002 ¶ 182.

                   (iii)   Claims 7: passing the…composition through a sieve
                           before adding lidocaine

      The POSITA knew that crosslinked HA could be fractionated using a sieve.

EX1030 ¶ [0052]; EX1045, 39. Claim 7 covers one sequence of steps (sieve, then

add lidocaine), and there is only one other sequence possible (add lidocaine, then


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sieve). The POSITA would have explored both during routine optimization of the

manufacturing process. EX1002 ¶ 221.

                   (iv)   Claims 9-11

      The claimed particle sizes are obvious for the reasons explained for claims

29 and 30. The POSITA would have been motivated to prepare particles of various

sizes. See [claims 29-30]; EX1002 ¶ 221.

                   (v)    Claim 12: homogenizing the crosslinked HA composition
                          before adding the lidocaine

      The process step of claim 12 is not entitled to patentable weight, as

explained in Ground 1. See Section VI.B.2.b(iv). Nevertheless, the POSITA would

have been motivated to homogenize the crosslinked HA to ensure the final filler

was uniform both in concentration and injection characteristics. The POSITA

could have identified the best stage at which to homogenize the crosslinked HA

through routine optimization. EX1002 ¶ 222.

                   (vi)   Claims 13-15

      These claims are obvious for the reasons explained above for Ground 3,

claim element [25.1.2] and [claim 27], namely that Kinney teaches the recited

lidocaine and HA concentrations.




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                c.    Independent claim 16 and dependent claims 17-23

      Independent claim 16 contains similar limitations as claim 25 (and claim 1)

and is obvious for the same reasons, as shown in the table below referring to the

argument for corresponding limitations.

                                     Claim 16
[16.P] A dermal filler composition comprising:          See [25.1]
[16.1] a composition comprising [HA] crosslinked
with [BDDE], wherein the HA is not crosslinked to a
non-HA biopolymer, and                              See [25.1.1]
[16.2] lidocaine;                                       See [25.1.2]
[16.3] wherein the dermal filler is made by a process
comprising:
   crosslinking HA with BDDE to obtain a
   crosslinked HA;
   adding lidocaine to the crosslinked HA; and
   heat sterilizing the crosslinked HA with added
   lidocaine to obtain a sterile dermal filler.         See generally [25.3]


                                   Claims 17-23
[Claim 17] wherein the process further comprises
adjusting the pH of the crosslinked HA to obtain an     Same limitations as
alkaline crosslinked HA.                                claims 2 and 3, and
                                                        obvious for the same
[Claim 18] wherein the adjusting the pH is              reasons. See Section
performed before adding the lidocaine.                  B.2.b(ii).
[Claim 19] wherein adding the lidocaine comprises
adding a solution containing lidocaine HCl.              See [claim 6]
[Claim 20] wherein the crosslinked HA comprises
particles of crosslinked HA having an average
particle size of at least about 200 ȝm.                  See [claim 29]




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                                    Claims 17-23
[Claim 21] wherein the crosslinked HA comprises
particles of crosslinked HA having an average
particle size of less than about 200 ȝm.                  See [claim 30]
[Claim 22] wherein the dermal filler has a lidocaine
concentration of between about 0.1% and about 5.0%
w/w.                                                 See [25.1.2]
[Claim 23] wherein the dermal filler has a HA
concentration of between about 20 mg/mL and about
30 mg/mL.                                         See [claim 27]


      E.     Ground 4: Claim 8 and 24 are obvious over Kinney, Zhao, Narins,
             and Monheit

                a.     Claim 8
      In Ground 3, the combination of Kinney, Zhao, and Narins produces a soft

tissue filler meeting all the limitations of claim 1. Claim 8 depends from claim 7

and includes the step of adding free HA to the filler after it has been passed

through the sieve. Free (i.e., soluble or uncrosslinked) HA was conventionally

included in HA fillers to optimize injection characteristics. EX1002 ¶ 106;

EX1022, 78; EX1008, 29S; EX1009, 67S. The POSITA would have been

motivated to include free HA to optimize the injection characteristics of the filler

and could have done so through routine modification of the Zhao process. EX1002

¶ 229. Thus, claim 8 is unpatentable as obvious in further view of Monheit.




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                b.    Claim 24

      Independent claim 24 contains a combination of limitations the other

independent claims, as well as the addition of free HA as in claim 8—though

without any recited order other than adding it “to the crosslinked HA.” Claim 24 is

obvious in Ground 4 as shown in the table below referring to the argument for

corresponding limitations. See also EX1002 ¶ 230.

                                     Claim 24
[24.pre] A dermal filler composition comprising:        See [25.1]
[24.1] a [HA] crosslinked with [BDDE], and              See [25.1.1]
[24.2] about 0.3% lidocaine by weight, wherein the      See [1.2], Section
lidocaine is freely released in vivo and                VI.D.2.b(i)
[24.3] wherein the composition is sterile;              See [25.1.3]
[24.4.1] crosslinking HA with BDDE to obtain a
crosslinked HA;                                         See [25.3]
[24.4.2] adding a free HA gel to the crosslinked HA;    See [25.3.1]
[24.4.3] adding a solution of lidocaine HCl to the
crosslinked HA; and                                     See [claim 8]
[24.4.4] autoclaving the crosslinked HA having free
HA gel and lidocaine HCl added thereto, to obtain a
sterile dermal filler composition.                      See [25.3.2]


      F.    Allergan cannot rebut the prima facie case of obviousness
            established above

      As explained in Section IV.B, the Examiner allowed the claims of the

challenged patent (and its related applications) based on Allergan’s arguments and

proffered evidence pointing to supposed “unexpected results” of the invention. But


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the inventor’s three-page, unsubstantiated declaration is contradicted by the prior

art cited above. Moreover, the 2012 Cui reference does not support Allergan’s

argument, which the Examiner apparently accepted, that Allergan’s BDDE-

crosslinked composition was “especially sensitive” to heat sterilization “relative to

… non-BDDE crosslinkers.” EX1023, 28. Finally, even if evidence of unexpected

results was present (it is not), such evidence (or other secondary considerations)

must be balanced against the other evidence of obviousness. E.g., Allergan, Inc. v.

Sandoz Inc., 726 F.3d 1286, 1293 (Fed. Cir. 2013) (holding claims obvious despite

agreeing that results were unexpected). Allergan cannot rebut the prima facie case

of obviousness presented in the Grounds here based on the arguments and evidence

presented in prosecution.

             1.    The uncorroborated Inventor’s Declaration does not
                   accurately characterize the state of the art
      ,QWKHSDUHQW‫ތ‬DSSOLFDWLRQ$OOHUJan made several assertions, based on a

§ 1.132 Declaration from the inventor, regarding the POSITA’s knowledge of the

art and the expectations that would be drawn therefrom. Lebreton proffered several

assessments of the state of the art, purportedly from the perspective of a POSITA

“shortly prior to August 4, 2008”:

             It was believed that adding lidocaine to [HA] gel compositions
      during manufacturing caused degradation of the [HA] prior to
      injection of the HA as a dermal filler.



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             It was believed that lidocaine caused degradation of HA gel
      compositions during high temperature sterilization.

             It was not known whether HA compositions comprising
      lidocaine were stable or not after high temperature sterilization when
      placed in storage for any significant length of time.

             It was also believed that the instability of HA described above
      would have caused a viscosity reduction of the HA that would make it
      unsuitable for soft-tissue filling applications.

EX1024 ¶¶ 5-8. Lebreton’s statements were not limited to BDDE-crosslinked HA,

and Allergan’s accompanying Response at the time included pending claims

covering use of any crosslinker, not just BDDE. EX1023, 18-20 (claims 51-67).

Allergan and the inventor cited no prior art to support the inventor’s opinions.

EX1024 ¶¶ 5-8 (repeatedly stating what “was believed”); see also EX1023, 25-28.

      As shown here, contrary to Lebreton’s statements, the totality of the prior art

instead gave the POSITA the expectation lidocaine could be successfully combined

with various crosslinked HA dermal fillers, including a BDDE-crosslinked HA

dermal filler. See Sections III.C and Grounds, supra. The POSITA would have

been aware of commercial lidocaine-containing crosslinked HA dermal fillers

Elevess, Prevelle Silk and Puragen Plus, as well as the disclosures of the prior art

documents cited here, including Sadozai and Kinney. Each of these products and

references explicitly state, or at minimum suggest, that crosslinked HA lidocaine-



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containing fillers were sterilized, and were sufficiently stable to be approved by

FDA as a dermal filler. EX1002 ¶ 241.12

         There is simply no evidence suggesting that a POSITA would have expected

the addition of lidocaine would degrade crosslinked-HA compositions. See

EX1002 ¶ 239 (Dr. DeVore unaware of any prior art suggesting issues with

addition of lidocaine). In fact, a POSITA would have had the exact opposite

expectation. Although Puragen Plus and Prevelle Silk are not explicitly described

as sterile and stable, the POSITA would have known that these characteristics were

necessary for FDA approval. EX1002 ¶ 241. And Sadozai and Kinney disclose that

the lidocaine-containing crosslinked HA fillers had viscosities similar to, or even

greater than, other crosslinked HA fillers that did not include lidocaine. EX1030

¶ [0107]; EX1012, 746; see also EX1021, AB94 (P1039 poster abstract teaching

same). Each of these references supports the conclusion that the POSITA would

have reasonably expected that lidocaine could be incorporated into a BDDE-

crosslinked HA filler and heat sterilized without compromising the viscosity of the

final product. See EX1002 ¶ 242. And rather than expecting lidocaine to degrade



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     Abstracts of posters published in the February 2007 issue of the Journal of the

American Academy of Dermatology also describe Anika’s Elevess/CTA product

(an embodiment of Sadozai) as “stable.” EX1021, AB94 (P1039-P1040).


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HA during autoclave sterilization, the prior art suggested that it could increase the

stability. See EX1002 ¶ 242 (explaining teaching that lidocaine slowed the

viscosity reduction process).

      There is no evidence to support the inventor’s characterization of the prior

art. To the contrary, the evidence described herein clearly demonstrates that a

POSITA would have reasonably expected that adding lidocaine to a crosslinked

HA dermal filler—including the fillers disclosed by Lebreton—would result in a

stable dermal filler. The Board should give the Lebreton declaration no weight.

Velander v. Garner, 348 F.3d 1359, 1371 (Fed. Cir. 2003) (affirming Board’s

reliance on prior publications rather conclusory opinions).

             2.    Example 4 does not provide evidence of non-obviousness
      Lebreton also erroneously asserted the comparative data in the specification

supported his conclusions. Lebreton declared that his experiments showed that the

Samples 1-3 showed more of a decrease in viscosity after autoclave sterilization

than Samples 4-5 (the allegedly inventive compositions). EX1024 ¶¶ 13-14.

Lebreton declared that it was a “surprising and unexpected discovery” that the HA

gels of his application “could be made to be heat and shelf-stable.” EX1024 ¶ 15.

However, the cited evidence does not establish or suggest meaningful differences

between the claimed and the compared compositions.




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      For unexpected results to be probative of non-obviousness, the claimed

subject matter must be compared with the closest prior art, and the difference must

not have been expected by the POSITA at the time of the invention. Kao Corp. v.

Unilever U.S., Inc. 441 F.3d 963, 970 (Fed. Cir. 2006). Moreover, the differences

between the claimed invention and prior art must be significant and practical. Cf.

Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d 731, 739 (Fed. Cir. 2013)

(“Unexpected results that are probative of non-obviousness are those that are

‘different in kind and not merely in degree from the results of the prior art.’ Results

which differ by percentages are differences in degree rather than kind, where the

modification of the percentage is within the capabilities of [a POSITA].” (citations

omitted)). As explained below, the comparative examples in the challenged patent

do not represent relevant prior art, nor do they represent a meaningful advance

over prior art.

      Even if Samples 1-3 experienced a more “substantial” drop in viscosity

compared to Samples 4-6, as Allergan argued during prosecution (EX1023, 26),

that alone would not make the resulting compositions unsuitable as dermal fillers.

As explained by Dr. Devore, the reported viscosities of Samples 1-3 were all

within an acceptable range to a POSITA. EX1002 ¶ 251; EX1039, 267. Further, the

POSITA would have expected that the sterilized composition would not undergo

any further viscosity reduction or other degradation. EX1002 ¶ 252.


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         Sample 2 is described in the provisional applications as the commercial

product “Hylaform,” an FDA-approved, DVS-crosslinked HA filler. EX1002

¶ 253; EX1013, 26. The test results show that when pH control is employed with

the lidocaine addition (as a POSITA would have known to do), the viscosity after

autoclave remains within an acceptable range for use as a dermal filler. See

EX1002 ¶ 253. Thus, there is nothing in Example 4 suggesting that Hylaform

could not be combined with lidocaine.

         The test results and samples do not support patentability or the claimed

unexpected results for other reasons as well. For instance, Dr. DeVore explains that

the patent’s experiments on Sample 1 were irrelevant because he was not aware of

such a composition being used as a dermal filler, either in 2008 or now. EX1002

¶ 249.

         As for Sample 3,13 Allergan argued during prosecution that it lost viscosity

to autoclave sterilization. EX1023, 24-28. The data actually shows the opposite and

supports that Sample 3 is not indicative of unexpected results. Figure 3 shows that

when lidocaine is added to Sample 3 with pH control the resulting composition’s




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     The provisional applications describe this sample as “believed to be similar” to

Restylane. EX1013, 26.


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viscosity increases relative to the non-lidocaine sample after autoclave stabilization

by about 10%. See EX1002 ¶ 254; EX1001, Figure 3.




Allergan acknowledges this fact in the specification of the challenged patent:

Sample 3 (a non-cohesive BDDE-crosslinked HA composition) gave the same

results as Sample 4 (a cohesive BDDE-crosslinked HA composition). EX1001,

16:55-61. Moreover, it is irrelevant that Samples that were not pH-adjusted

exhibited lower viscosities. A POSITA would have understood that a filler should

be formulated at a physiologically acceptable pH (e.g., about 7). EX1002 ¶¶ 250,

254. Therefore, examples without pH adjustment would not have impacted a

POSITA’s expectation that lidocaine could be incorporated in a crosslinked HA

dermal filler.

      Finally, Allergan also argued that Sample 3 (without pH adjustment)

underwent a 35% reduction in viscosity, whereas Sample 4 exhibited a 30%



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reduction of viscosity. EX1023, 26-27. As explained by Dr. Devore, these data are

irrelevant because such a small difference is meaningless, and a single experiment

is not statistically significant. EX1002 ¶ 256.14

               3.    Cui is not relevant

         The last piece of “evidence” Allergan relied upon to show “unexpected

results” was the Cui reference (EX1025). Allergan argued that Cui “shows” that

BDDE-crosslinked HA fillers were “known to be especially sensitive to heat

sterilization relative to HA crosslinked with other, i.e. non-BDDE, crosslinkers,” so

that “the discovery” of Allergan’s sterile compositions was “surprising,” given the

supposedly unstable nature of HA-based gels crosslinked with BDDE even without

the addition of lidocaine. EX1023, 28.

         Cui compares the stability of BDDE-crosslinked HA with HA crosslinked

with three other crosslinking agents. EX1025, 1506. But Cui does not test or

compare BDDE to any of the three crosslinking agents that were known in the art

and approved by FDA or undergoing U.S. clinical trials in August 2008. Compare




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     Allergan has not provided any argument or evidence explaining why such a

small difference is meaningful to a POSITA. See Galderma, 737 F.3d at 739.



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id., with Section III.B; EX1002 ¶¶ 244-246.15 Moreover, none of the crosslinkers

appear to have even been used as dermal fillers as of the application’s filing date.

EX1002 ¶ 245.

         Moreover, Cui was published in 2012, well after the claimed priority date of

the patent. The reasonable expectation of success is evaluated at the time the

invention was made—a later published reference that might have taught away from

the claimed invention is irrelevant. Bristol-Myers Squibb Co. v. Teva Pharms. USA,

Inc. 752 F.3d 967, 976 (Fed. Cir. 2014). Cui could not have informed the POSITA’s

expectation of BDDE-crosslinked HA stability at the time the application was

filed.

         Thus, Cui is irrelevant to the question of whether Allergan’s BDDE-

crosslinked HA composition showed unexpected results compared to the other

crosslinkers known to POSITAs at the time. EX1002 ¶ 246. Cui is not prior art; but

even if it was, Cui is plainly not the “closest prior art” that would be relevant to the

obviousness and unexpected results analysis. Kao Corp. v. Unilever U.S., Inc., 441

F.3d 963, 970 (Fed. Cir. 2006).




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     Cui also does not evaluate the effect of lidocaine on any of the compositions it

tested. See generally EX1025.



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               4.    Other Secondary Considerations

         Prollenium is not aware of any other secondary considerations that are

sufficient to rebut the prima facie case of obviousness presented in the Grounds

above.16 To the extent Allergan should raise secondary indicia such as commercial

success, industry praise, or long-felt need, in its Preliminary Response, the Board

should institute trial so the parties may develop the evidence before the Board

considers the merits of any such argument. Celltrion, Inc. v. Genetech, Inc.,

IPR2017-01374, Paper 15, 17-18 (Dec. 1, 2017) (instituting trial to permit parties

to develop a record regarding secondary considerations first raised in Preliminary

Response).

               5.    Summary

         In sum, the evidence cited in this Petition, including both documents and

testimony by Dr. DeVore, refute the alleged unexpected results advanced by

Allergan during prosecution. In light of the many disclosures of sterilized, non-

BDDE-crosslinked HA fillers known to a POSITA at the time, Allergan’s

“unexpected results” evidence does not hold water; it certainly does not show the




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     There have been no final determinations regarding secondary indicia in any of

the litigations involving the Allergan patents.


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claims to be nonobvious. All the evidence cited by Allergan is either incorrect or

irrelevant.

      The Examiner relied on Allergan’s “unexpected results” arguments to allow

the claims—in this patent and across its entire family. See, e.g., EX1023, 8-9;

EX1033, 8; EX1040, 8; EX1088, 3 (notices of allowance). As shown here, the

claims are unpatentable in view of the evidence and the lack of support for

Allergan’s claim of unexpected results. Finally, these apparent contradictions

between the “evidence” that persuaded the Examiner to allow the claims and the

new evidence and argument in this Petition are also important to the Board’s

analysis under § 325(d), as described in the following section. This Petition asks

the Board to remedy the Examiner’s error, which has propagated throughout an

entire family—including applications still pending at the Office.

VII. DISCRETIONARY FACTORS FAVOR INSTITUTION

      The factors considered under 35 U.S.C. §§ 314(a) and 325(d) do not weigh

in favor of exercising discretion to deny institution. As an initial matter, this is the

first Petition challenging this patent. So the General Plastic factors and analysis do

not apply here. Cf. Prollenium v. Allergan, IPR2019-01519, Paper 17, 43-46 (Mar.

19, 2020) (instituting trial, agreeing General Plastic does not apply but still finding

factors favor Prollenium).




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      A.     Section 325(d) factors

      The Board considers several factors to evaluate whether to exercise its

discretion under § 325(d). Becton, Dickinson & Co. v. B. Braun Melsungen AG,

IPR2017-01586, Paper 8, 17-18 (Dec. 15, 2017) (precedential); Advanced Bionics,

LLC v. MED-EL Elektromedizinische Geräte GmbH, IPR2019-01469 Paper 6, 9-11

(Feb. 13, 2020) (precedential). The Board should not decline to institute trial

because even though one of the same prior art references was cited by the Office

during prosecution, the Grounds here present new evidence and arguments that

show how the Office materially erred by relying on the Lebreton Declaration to

overcome the rejection.

      All references cited in the Grounds except for Zhao appear on the face of the

‫ތ‬896 patent, but the grounds here provide a much more compelling argument for

obviousness that was ever assembled by the Office. The Office relied on Lebreton

as a primary reference in the ancestor ‫ތ‬884 application, citing Wang and Calias

(EX1047, EX1048, respectively) for a motivation to add lidocaine. Allergan

overcame Calias rejection by arguing a POSITA would have expected that the

addition of lidocaine would unacceptably reduce the composition’s viscosity.

EX1023, 23-25. However, Wang and Calias merely suggest that lidocaine could be

added to a HA composition, and do not refute Allergan’s position that lidocaine

was expected to degrade the filler upon sterilization. EX1002 ¶ 42.



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         Here, Kinney and Sadozai cited in the Grounds—as well as CTA Summary,

Reinmuller, Toth, and Hanke cited as supporting evidence of the knowledge and

skill of a POSITA—all disclose a working embodiment of lidocaine successfully

combined with a crosslinked HA composition. The Office plainly overlooked the

relevance of each of these references when crediting the inventor’s declaration as

evidence of obviousness. See Advanced Bionics, IPR2019-01469, Paper 6 at 10-

11. Allergan never rebutted the Office’s prima facie conclusions that the claims

were obvious over the prior art; it did not even challenge the Office’s assertion that

Lebreton taught most of the elements of the claims. Rather, the ancestor patents

and the challenged patent were allowed based on Allergan’s proffered unexpected

results and declaration concerning the supposed state of the art and knowledge of

the POSITA. The prior art (and DeVore testimony) cited here contradict the

unsupported inventor declaration relied on by the Office. Thus, the Office

materially erred in relying on the Lebreton Declaration to overcome the prior art.17



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     The Board reached the same conclusion in declining to exercise its discretion to

deny institution in seven proceedings challenging six related patents to this one,

relying on the same prior art as the current petition. E.g., IPR2019-01505, Paper

18, 35-42 (Mar. 19, 2020) (finding Becton Dickinson factors favored Petitioner and

instituting trial).


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      The asserted grounds here also provide a completely new § 103 analysis

based on Kinney and Zhao that was not considered by the Examiner. While the

Examiner contended that it would have been obvious to modify the Lebreton

reference by adding lidocaine, he apparently did not consider that it would have

been equally obvious to modify the crosslinker in the lidocaine-containing filler

taught by Kinney, or that Zhao would have enabled the POSITA to do so.

      The Board should not exercise its discretion because the substantial evidence

cited in this Petition shows the Examiner had an incomplete understanding of the

prior art and, consequently, he erred in accepting the applicant’s unsubstantiated

declaration attesting to “unexpected results.” Moreover, this Petition provides

evidence showing the inventor’s representations about the state of the art at the

priority date were incorrect, and the Examiner erred in relying on those

representations. Even if the inventor’s declaration had accurately characterized the

state of the art (it did not), this petition also provides new evidence, not considered

by the Office during prosecution, identifying flaws in both the design and

interpretation of the comparative experiments. See Section VI.F.2. And as

explained in Section VI.F and Dr. DeVore’s declaration, the Office erred to the

extent it relied on Cui as evidence of non-obviousness. Accordingly, the Board

should not exercise its discretion under § 325(d) to deny institution.




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VIII. CONCLUSION

      Challenged claims 1-30 are unpatentable, and Petitioner respectfully

requests that the Board institute trial.

IX.   MANDATORY NOTICES UNDER 37 C.F.R. § 42.8

      A.      Real Parties in Interest

      The real parties-in-interest are Prollenium US Inc. and Prollenium Medical

Technologies Inc.

      B.      Related Matters

      Allergan has asserted the challenged patent and U.S. 10,391,202 (the ’202

patent) against Petitioner Prollenium in Allergan USA, Inc. et al v. Prollenium US

Inc. et al., Case-No. 1:20-cv-00104-CFC (D. Del. filed Jan. 23, 2020) (“the 2020

litigation”). Allergan has also asserted six other patents related to the challenged

patent in Allergan USA, Inc. et al v. Prollenium US Inc., et al., Case No. 1:19-cv-

00126 (D. Del. filed Jan. 22, 2019) (“the 2019 litigation”).

      Prollenium has filed petitions challenging all patents asserted in the 2019

Litigation:

      x On August 23, 2019, Prollenium filed a petition in IPR2019-01508
           challenging related U.S. Patent No. 9,238,013. Trial was instituted on
           March 19, 2020.
      x On September 3, 2019, Prollenium filed petitions IPR2019-01505 and
           IPR2019-01509 challenging related U.S. Patent Nos. 8,450,475 and



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          9,358,322, respectively. Trial was instituted on both patents on March
          19, 2020.
      x On September 16, 2019, Prollenium filed a petition in IPR2019-01617
          challenging related U.S. Patent No. 8,822,676. Trial was instituted on
          March 20, 2020.
      x On September 20, 2019, Prollenium filed two petitions, IPR2019-01506
          and IPR2019-01632, challenging related U.S. Patent No. 8,357,795.
          Trial was instituted for both petitions on March 31, 2020.
      x On October 25, 2019, Prollenium filed a petition in IPR2020-00084
          challenging related U.S. Patent 9,089,519. Trial was instituted on April
          10, 2020.
      Allergan filed the follow-on, 2020 litigation about three months after the last

of Prollenium’s petitions challenging the patents from the 2019 litigation, after

most of Allergan’s Preliminary Responses were filed in the first set of IPRs, and

even after Prollenium filed its consolidated Reply to Allergan’s Preliminary

Responses.

      On May 20, 2020, the district court granted Prollenium’s motion to stay the

2019 litigation pending the outcome of the IPRs listed above. Prollenium is also

concurrently filing a petition challenging the ’202 patent in proceeding IPR2020-

00902. No Scheduling Order has been entered and no trial date has been set in the

2020 litigation as of the filing of this Petition. The parties have conferred with the

court about staying the 2020 litigation pending the resolution of this IPR and the




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IPR on the ’896 patent, and Prollenium will be filing a motion to stay the 2020

litigation.

       Prollenium believes that it would be most efficient to assign all these

petitions to the same panel reviewing the other members of Allergan’s patent

family. Allergan has multiple issued patents and pending continuations

applications claiming priority to one or more of these patents as well.

       C.     Lead and Back-Up Counsel and Service Information

       Petitioner identifies the following counsel for this proceeding:

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                          CERTIFICATE OF SERVICE

   Pursuant to 37 C.F.R. §§ 42.6(e) and 42.105, I certify that on June 2, 2020, a
copy of this Petition and all exhibits were served on the counsel of record for the
Patent Owner by shipping via FedEx Overnight shipping:

       Morgan, Lewis & Bockius LLP
       600 Anton Boulevard
       Suite 1800
       Costa Mesa, CA 92626-7653

       An electronic copy of the petition and accompanying exhibits has also been
served via email on the following counsel representing the Patent Owner in related
district court litigation pending IPR proceedings:
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                                       /Laura N. Heidt /
                                       Laura N. Heidt

                    CERTIFICATION OF WORD COUNT

   Pursuant to 37 C.F.R. § 42.24(d), Petitioner certifies that the foregoing Petition
for Inter Partes Review contains 13,838 words, excluding the portions as permitted
by § 42.24(a).
                                       /Christopher L. Curfman/
                                       Christopher L. Curfman (Reg. No. 52,787)




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                                                              Paper 1
                                                  Filed: June 2, 2020



       UNITED STATES PATENT AND TRADEMARK OFFICE

                      _________________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD

                      _________________

                    PROLLENIUM US INC.,
                         Petitioner,

                              v.

                 ALLERGAN INDUSTRIE, SAS,
                       Patent Owner.

                      _________________

                      Case IPR2020-00902
                       Patent 10,391,202
                      ________________



PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 10,391,202
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                       PETITIONER’S EXHIBIT LIST

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 1001    U.S. Patent No. 10,391,202 to Lebreton
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 1002    Declaration of Dale Devore, Ph.D.
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 1007      Rhoda S. Narins & Paul H. Bowman, Injectable Skin Fillers, Clinics
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 1014    Gary D. Monheit & Chad L. Prather, Juvéderm: A Hyaluronic Acid
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 1023    Excerpts from file history of U.S. Application 12/393,884 (filed
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 1024    Lebreton Declaration
 1025     Yu jia Cui, et al., The Comparison of Physicochemical Properties of
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 1027     Claim Construction Order, Allergan USA, Inc. v. Medicis Aethetics,
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 1029     U.S. Patent Publication No. 2006/0194758 to Lebreton (Lebreton),
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          published June 23, 2005
 1031     CTA Product Insert (“Label”)
 1032     Amy E. Newburger, Cosmetic Medical Devices and Their FDA
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 1049     RESERVED
 1050     CTA Summary of Safety and Effectiveness, December 20, 2006
 1051     December 20, 2007 FDA Letter to Anika Therapeutics, Inc.


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 Exhibit                            Description
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 1052    Prevelle Silk; PMA P030032, February 26, 2008
 1053     Mentor Corp. Announces FDA Approval of Prevelle Silk,
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 1082     U.S. Patent No. 8,357,795 to Lebreton. (issued Jan. 22, 2013)
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 1085    Allergan Industrie, SAS’s September 12, 2019 Response to European
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         Aqueous Solution, Biomacromolecules, Vol. 6, Issue 1 (Jan. 2005)
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I.    INTRODUCTION

      Petitioner Prollenium US Inc. (Prollenium) seeks inter partes review (IPR)

of claims 1-30 of U.S. Patent 10,391,202 (the ‫ތ‬202 patent, EX1001), owned by

Allergan Industrie, SAS (Allergan or the Patent Owner). This Petition establishes

a reasonable likelihood that the prior art renders the challenged claims

unpatentable.

      Allergan and Prollenium market dermal fillers, which are implantable

medical devices that can fill wrinkles or add volume to replace lost tissue. EX1002

¶ 75. The challenged patent is one of a family of patents directed to “injectable soft

tissue fillers and more specifically … hyaluronic acid-based dermal and subdermal

fillers including an anesthetic agent,” namely lidocaine. EX1001, 1:22-25.

      The Board has already instituted seven IPR trials on six patents in the same

family. See, e.g., IPR2019-01505, Paper 19 (institution on a “parent” of the

challenged patent). As shown in those related proceedings and below, the Office

allowed the claims based on an unsubstantiated inventor-declaration of unexpected

results that is contradicted by the prior art and testimony of Prollenium’s expert.

Petitioner therefore requests IPR on this patent and a finding that the claims are

unpatentable.




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II.       REQUIREMENTS FOR IPR UNDER 37 C.F.R. § 42.104

          A.    Grounds for Standing

          Prollenium certifies that the challenged patent is available for IPR and that it

is not barred or estopped from challenging the claims of the patent on the grounds

identified in this Petition.

          B.    Identification of Challenge and Prior Art

 Ground          Basis         Claims                        References
      1        § 103(a) 1-25, 27-30         Lebreton in view of Sadozai and Clark
      2        § 103(a) 26                  Lebreton in view of Sadozai and Smith
      3        § 103(a) 1-25, 27-30         Kinney in view of Zhao and Clark
      4        § 103(a) 26                  Kinney in view of Zhao and Smith



          U.S. Patent Application Pub. No. 2006/0194758 to Lebreton (“Lebreton,”

EX1029) published August 31, 2006. U.S. Patent Publication No. 2005/0136122 to

Sadozai et al. (“Sadozai,” EX1030) published June 23, 2005. U.S. Publication

2005/0250939 to Zhao (“Zhao;” EX1058) published on November 10, 2005.

These references are prior art under § 102(b).

          “Kinney” (EX1012) is an article published in the “November/December

2006” issue of the Aesthetic Surgery Journal. EX1012 includes the journal’s cover

stamped with date of receipt at the British Library (the U.K. national library) on 25




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January 2007, further showing it was publicly available and accessible to interested

persons around its publication date. Kinney is therefore prior art under § 102(b).

         “Clark” (EX1008) and “Smith” (EX1009) are articles published in the

November 2007 Supplement of the Journal Plastic and Reconstructive Surgery.

These references qualify as prior art under at least § 102(a)1 and are relied upon to

indicate the level of skill and motivations in the art, corroborate expert testimony

about the state of the art, and disclose characteristics of prior art products known

long before the earliest claimed priority date. Yeda Research v. Mylan Pharm. Inc.,

906 F.3d 1031, 1041 (Fed. Cir. 2018) (affirming Board’s use of “non-prior art”

document to show knowledge and motivations of a POSITA regarding prior art));

In re Koller, 613 F.2d 819, 824, n.5 (C.C.P.A. 1980).

III.     STATE OF THE ART BEFORE THE EARLIEST CLAIMED
         PRIORITY DATE

         A.    Background of HA dermal fillers

         Soft-tissue or dermal “fillers have been developed to fill in facial lines and

depressions and [restore] … tissue volume loss,” which are signs of aging, and




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    For purposes of identifying the prior art qualification, Petitioner assumes that the

priority date of the claims is August 4, 2008 (the earliest claimed priority date),

without conceding that any claim of the patent is entitled to that priority date.


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they “temporarily restore a smoother, more youthful appearance.” EX1001, 1:36-

40.

      A variety of materials have been used in facial dermal fillers, including

autologous human fat, animal and human-derived collagen, and synthetic

polymers. EX1004. By 2008, fillers derived from hyaluronic acid (HA), a polymer

composed of repeating ȕ-D-glucuronic acid and N-acetyl-ȕ-D-glucosamine

disaccharide units, were among the most popular in the United States and abroad.

See EX1004, 13S-14S; EX1005, 125; EX1002 ¶¶ 80.

      Despite HA’s excellent biocompatibility, it is rapidly degraded by enzymes

after injection, so it does not remain in the tissue long enough to function as a

filler. To delay the degradation, HA is chemically crosslinked into a water insoluble

gel network that prevents enzymes from accessing the polymer. EX1002 ¶ 82.

      No single HA filler is appropriate for every application. EX1002 ¶ 83

(explaining different applications require different fillers with different

characteristics). A variety of HA fillers have been developed with different

performance characteristics, based on various chemical and physical characteristics

of the gel. EX1045, 41; EX1002 ¶¶ 83-102.

      B.     Four primary crosslinkers used for dermal fillers

      One of the chemical characteristics of a gel is the choice of crosslinker. By

2008, nearly all clinically used crosslinked HA fillers used one of four crosslinkers:



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             x 1,4- divinylsulfone (“DVS”);

             x p-phenylene-bis(ethylcarbodiimide) (“PBCDI”);

             x diepoxyoctane (“DEO”); and

             x butanediol diglycidyl ether (“BDDE”)
                     O                 N C N
                     S
                     O                                       N C N
                         DVS
                                                PBCDI

            O                             O
                                                 O
                                                                O
                               O                                         O
                   DEO                               BDDE


EX1002 ¶ 85; EX1035, 630-631 (describing three of the crosslinkers and indirectly

referencing Anika’s PBCDI product). Each of these crosslinkers includes two

electrophilic functional groups that can react with the primary alcohol and/or

carboxylic acid groups in HA. EX1002 ¶ 85.

      By August 2008, several crosslinked HA dermal fillers had been approved

for sale in the U.S. and abroad, including Hylaform, Captique (HA crosslinked

with DVS), Puragen (HA crosslinked with DEO), Restylane and Perlane (HA

crosslinked with BDDE), and Juvéderm (another BDDE-crosslinked HA,

commercially available from Allergan). EX1002 ¶¶ 103-108. All of these fillers

were based on HA crosslinked with one of the four crosslinkers described above.




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      C.    Lidocaine used in crosslinked HA fillers to mitigate pain

      Because dermal fillers are administered via injection, injection pain was a

common side effect. To reduce pain, many dermal fillers were co-formulated with

an anesthetic like lidocaine. E.g., EX1017, 188; EX1002 ¶ 117. Some crosslinked

HA fillers did not contain lidocaine, but physicians sometimes concurrently

injected lidocaine to minimize pain. EX1017, 190-191; EX1002 ¶ 118.

      Unsurprisingly, similar efforts were made to incorporate lidocaine into

crosslinked HA fillers. As early as 1993, lidocaine was incorporated into a product

called Hylagel (HA crosslinked with DVS). EX1059, 7:1-17 (“Reinmuller”);

EX1002 ¶¶ 125-127. This composition was heat sterilized and stored before being

injected to treat keloids and scars. EX1059, 5:30-33, 7:1-33. Lidocaine was later

incorporated into other DVS-crosslinked HA dermal fillers. For example, in spring

2008, FDA approved Prevelle Silk, a DVS-crosslinked HA dermal filler containing

0.3% lidocaine. EX1002 ¶ 122; EX1020, 8 (periodical announcing FDA approval).

      Lidocaine had also been incorporated in a PBCDI-crosslinked HA dermal

filler. Anika Therapeutics developed a product called Cosmetic Tissue

Augmentation Product (CTA), later renamed Elevess, which contained 28 mg/mL

PBCDI-crosslinked HA suspended in a buffer solution with 0.3% lidocaine.

EX1050, 1; EX1002 ¶¶ 119-120; see also EX1054, 15,886 (publishing approval of

CTA). CTA was approved for sale by FDA at the end of 2006, but its composition



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was generally disclosed earlier in a 2005 publication. See EX1031, 8 (CTA product

label identifying the application number of EX1030); EX1002 ¶ 120.

        Lidocaine was also included in a DEO-crosslinked HA dermal filler. A 2006

journal article described the clinical trials and characteristics of “Puragen Plus,”

which included DEO-crosslinked HA and 0.3% lidocaine. EX1012 (“Kinney”),

742; EX1002 ¶¶ 121, 134-135.

        In sum, by early 2007—more than a year before the earliest claimed priority

date of the Allergan patents—0.3% lidocaine had successfully been incorporated

into compositions containing HA crosslinked with three of the four conventional

crosslinking agents: DVS, PBCDI, and DEO. 2




2
    Other parties were developing BDDE-crosslinked HA fillers including lidocaine

around the same time as Allergan. EX1002 ¶ 123.


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IV.   THE CHALLENGED PATENT

      Against this backdrop, Allergan began filing applications generally directed

towards crosslinked HA (including BDDE-crosslinked) fillers containing lidocaine,

including the one leading to the challenged patent. In August and September 2008,

Allergan filed a trio of provisional applications to which the challenged patent

claims priority. Despite the prior art and commercially available products described

above, the patent contends that it had merely “been proposed to incorporate …

lidocaine[] into injectable HA-based compositions,” EX1001, 2:27-29, without

acknowledging this “proposal” had been successfully implemented into several

crosslinked HA fillers.

      Either disregarding or unaware of the prior art discussed above, the patent

alleges “HA-based injectable compositions which incorporate lidocaine during the

manufacturing process are prone to partial or almost complete degradation prior to

injection, particularly during high temperature sterilization steps and/or when

placed in storage for any significant length of time.” EX1001, 2:29-34. However,

the patent cites no document supporting this assertion.

      A.     The Challenged Claims

      The ‫ތ‬202 patent issued with 30 claims; all of which are challenged in this

Petition. Each independent claim is a product-by-process claim to a composition

comprising BDDE-crosslinked HA, uncrosslinked (or soluble) HA, and lidocaine,



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wherein the compositions are made by “providing” the HA components,

“adjusting” the pH of the composition, adding the lidocaine, and sterilizing. The

independent and dependent claims slightly vary or add known or obvious

variations, e.g., the amount lidocaine or uncrosslinked HA.

      B.     The patent was granted based on proffered “unexpected results”

      On February 26, 2009, Allergan filed two similar applications claiming

priority to the same three provisional applications. Those application eventually

issued as the ancestor ’795 and ’475 patents. The ’202 patent is UHODWHGWRWKH‫ތ‬

patent via several continuation applications. Because Allergan’s actions during the

prosecution of the ’795 patents (i.e., the ‫ތ‬DSSOLFDWLRQ) led to the granting of the

‫ތ‬DQG ‫ތ‬SDWHQWs, we summarize that prosecution here.

      ,QWKH‫ތ‬DSSOLFDWLRQWhe Examiner rejected the claims as obvious over

prior art that taught BDDE-crosslinked HA dermal fillers in view of other

references disclosing the addition of lidocaine to other dermal fillers. Allergan

argued a POSITA would not have expected a lidocaine-containing HA composition

could be sterilized by autoclave, EX1023, 25-28, that “it was a surprising and

unexpected discovery … that certain [HA] gels … when mixed with lidocaine,

could be made to be heat stable and thus useful as dermal fillers.” EX1023, 23. At

the time of this response, some pending claims were directed to BDDE-crosslinked

HA, while others were directed to HA crosslinked with any crosslinker. EX1023,



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18-20 (claims 51-67). Allergan also argued that a POSITA would have expected

that autoclave sterilization would unacceptably reduce the composition’s viscosity,

thereby making it unsuitable for use as a filler. EX1023, 25. In support of its

arguments, Allergan submitted an Inventor’s Declaration under 37 C.F.R. § 1.132

stating, among other things, that:

      x    “It was believed that that adding lidocaine to [HA] gel compositions
           during manufacturing caused degradation of the [HA] prior to
           injection;”
      x    “It was not known whether HA compositions comprising lidocaine were
           stable or not after high temperature sterilization when placed in storage
           for any significant length of time;” and
      x    “It was also believed that the instability of HA described above would
           have caused a viscosity reduction of the HA that would make it
           unsuitable for soft-tissue filling applications.”

EX1024 ¶¶ 5, 7-8. The inventor did not identify any references or evidence

supporting his characterization of what POSITAs supposedly believed “shortly

prior to August 4, 2008.” EX1024, ¶ 4.

      Allergan also submitted a 2012 article (Cui) purportedly teaching that

BDDE-crosslinked HA was less heat stable than HA crosslinked with other

crosslinkers. EX1025. According to Allergan, Cui further showed that the

autoclave stability of the claimed compositions was unexpected. EX1023, 28. But




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as explained below (Section VI.D.3, infra), none of the crosslinkers described in

Cui were actually in use at the time of the patent’s filing.

        Allergan also cited Example 4 in the specification, arguing that Samples 1,

2, 3, which were described as “non-cohesive HA gels,” “showed a substantial

reduction in viscosity” after lidocaine was added and the samples were autoclaved.

Allergan claimed this viscosity reduction would have been expected by POSITAs.

Allergan contrasted those samples with Samples 4, 5, and 6, described as “cohesive

gels,” alleging they “exhibited a much lower, or even insignificant change in

viscosity” after adding lidocaine and autoclaving. EX1023, 26-27.3

        Relying on Allergan’s arguments, the Examiner allowed the’884 application,

accepting Allergan’s characterization of the state of the art alleged unexpected

results:

        Applicant argues that one of ordinary skill in the art would have
        expected degradation of the [HA] gel with addition of lidocaine
        during sterilization, as this was what was known in the prior art.
        Applicant unexpectedly found that a [HA] gel cross-linked, but not




3
    This entire Example was present in each provisional application but was deleted

IURPWKHVSHFLILFDWLRQRIWKH‫ތ‬768 application; it is not present in the ‫ތ‬SDWHQW

Compare EX1013 (first provisional), 26-27, with EX1001, 14:1-36.


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      with a non-[HA] biopolymer, mixed with lidocaine and sterilized does
      not degrade.

EX1023, 9 (emphasis added).

      In the ‫ތ‬68 application, claims specifying that the compositions included

greater than about 10% uncrosslinked HA were rejected as obvious over U.S.

7,902,171 to Reinmuller, which taught that uncrosslinked HA could suppress

injection-related side effects. Allergan argued that the cited references did not

disclose the specifically claimed amounts of uncrosslinked HA, and that the skilled

person would not have been motivated to use amounts in excess of 10% by

volume. EX1033, 59-61. The Examiner issued rejections similar to those made

GXULQJWKHSURVHFXWLRQRIWKH‫ތ‬DSSOLFDWLRQ

      Allergan did not submit the declaration evidence in WKH‫ތ‬DSSOLFDWLRQ, but

argued in an Examiner interview that it had “unexpectedly found that the addition

of lidocaine [to] the filler composition did not cause the composition to become

unstable as was expected based on the teachings of the prior art.” EX1033, 12.

Even though the declaration and argument were not formally of record in ‫ތ‬

application, the Examiner’s “Reasons for Allowance” pointed to those unexpected

results arguments. EX1033, 8. Even though the declaration and argument were not

formally of record in ‫ތ‬DSSOLFDWLRQ, the Examiner plainly relied on the evidence

and argument from the’884 application as recounted in the interview.



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      Allergan filed VHYHUDOFRQWLQXDWLRQDSSOLFDWLRQVFODLPLQJSULRULW\WRWKH‫ތ‬

application, including what issued DVWKH‫ތ‬SDWHQW. The Examiner again cited

the “unexpected results arguments in copending application” in the Reason’s for

Allowance. EX1089, 4; cf. EX1064, 8 (same in “grandparent” application).

      C.     Person of Ordinary Skill in the Art

      The POSITA at and before the priority date is a scientist involved in the

development of dermal fillers, who would have an advanced degree, such as a

Ph.D., M.S., or M.D., and several years of experience developing dermal fillers for

cosmetic use, including HA-based dermal fillers. The POSITA would be aware of

commercially sold dermal fillers, in the United States and abroad, as well as those

products for which approvals were being publicly sought. EX1002 ¶ 71-74.

V.    CLAIM CONSTRUCTION

      Claim terms are construed according to their ordinary and customary

meaning as understood by a POSITA and the patent’s prosecution history. 37

C.F.R. § 42.100(b). Terms not specifically construed below have their ordinary and

customary meaning. Petitioner makes the claim construction order from a civil

action involving the grandparent ’475 patent of record here. See EX1027.

Petitioner also provides a Joint Claim Construction Chart reflecting Petitioner and

Allergan’s agreed constructions in a civil action involving six patents in the same




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family. See EX1084, 7-14. Petitioner’s proposed constructions are consistent with

those adopted by the district court and agreed-upon by Allergan.

      A.     sterile

      In both court proceedings, Allergan agreed sterile means a composition that

is “substantially free of detectable, viable microorganisms.” EX1027, 7; EX1084,

6. 7KLVLVFRQVLVWHQWZLWKWKHVSHFLILFDWLRQRIWKH‫ތ‬SDWHQW. EX1001, 11:33-36.

      B.     stable

      The Medicis court construed stable as “maintains at least one of the

following aspects: transparent appearance, pH, extrusion force and/or rheological

characteristics, [HA] concentration, sterility, osmolarity, and lidocaine

concentration.” EX1027, 11. Allergan agreed to the same construction in the

litigation against Petitioner Prollenium. EX1084, 5. The ‫ ތ‬patent defines the

terms autoclave stable and stable to autoclaving in the same way. EX1001, 4:51-

58. The Board should adopt the parties’ agreed construction. Petitioner also

contends trial should be instituted under the Board’s “more detailed definition”

adopted in prior institution decisions. See, e.g., IPR2019-01508, Paper 19, 13

(citing IPR2017-01906, Paper 15, 9-10 (Mar. 9, 2018)). Allergan’s assent to this

proposed construction here was not part of the record in any prior proceeding.




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      C.     uncrosslinked HA or soluble form HA

      The Medicis court construed uncrosslinked HA to mean “water soluble HA

(i.e., uncrosslinked HA and/or lightly crosslinked HA),” in accordance with the

specification’s definition of the term free HA. EX1027, 21; EX1001, 5:15-23. The

parties here agreed to the same construction for all the soluble HA terms in the

underlying litigation. EX1084, 4; see also EX1001 5:19-20 (“Free HA generally

remains water soluble.”). This construction should be used here as well.

      D.     made by a process comprising

      Every claim is in the form of a product-by-process claim, i.e., a product

prepared by a certain process. When considering patentability of a product-by-

process claim, the focus is on the product—not the process of making it. Amgen,

Inc. v. Hoffman-La Roche Ltd., 580 F.3d 1340, 1369 (Fed. Cir. 2009). “If the

product in a product-by-process claim is the same as or obvious from a product of

the prior art, the claim is unpatentable even though the prior product was made by

a different process.” In re Thorpe, 777 F.2d 695, 697 (Fed. Cir. 1985). A process

limitation only imparts patentable weight to the claim if the resulting (i.e. claimed)

product has “structural and functional differences” that distinguish the claimed

product from the prior art. Greenliant Sys., Inc. v. Xicor LLC, 692 F.3d 1261, 1268

(Fed. Cir. 2012).




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        All the claims cover processes in which pH of the BDDE-crosslinked filler

is adjusted above about 7.5, and in the sole example describing the addition of

lidocaine to an HA composition (Example 2), the pH is adjusted to between about

7.5 to about 8. EX1001, 13:21-22. The addition of 0.3% lidocaine HCl then lowers

the pH of the gel 4 to “about 7.” EX1001, 13:22-26. The pH 7 mixture is loaded

into a syringe and sterilized using an autoclave, resulting in a stable product having

acceptable “viscosity, cohesivity, and extrusion force.” EX1001, 13:36-45.

$OWKRXJKWKH‫ތ‬SDWHQWGRHVQRWGLVFORVHDQ\DOWHUQDWLYHSURFHVVHVIRUFRPELQLQJ

lidocaine and a BDDE-crosslinked filler, there is no data or statement supporting a

proposition that the claimed sequence of pH adjustment and lidocaine addition

imparts any meaningful structural or functional characteristics to the resulting

fillers. EX1002 ¶ 149.




4
    Example 2 in the patent indicates that “free HA gel may be added to the

HA/lidocaine gel mixture”—i.e., after adding lidocaine. EX1001, 13:30-31. There

is no description of adding free HA in the before pH adjustment or lidocaine

addition. On the other hand, every claim requires “adjusting the pH” of an HA

component or mixture comprising crosslinked and uncrosslinked/“soluble form”

HA. It appears the specification does not exemplify the claimed process.



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        Allergan has conceded through its arguments and disclosures that the pH-

adjustment step is not necessary to obtain sterile, stable fillers. For example, during

prosecution of WKH‫ތ‬DSSOLFDWLRQ$OOHUJDQargued that one sample was “stable

and had similar viscous and elastic properties … when prepared with lidocaine,

both with and without pH control”—i.e., without adjusting the pH. EX1023, 27

(emphasis added).5 In the same response, Allergan amended the specification of the

application to state that a different sample’s “viscous and elastic properties …

changed an insubstantial amount” when prepared with “no pH adjustment.”

EX1023, 12 (emphasis added). Thus, according to Allergan, fillers with “similar

viscous and elastic properties” can be obtained regardless of whether the pH is

adjusted. Thus, the differences between products prepared according to the

claimed process (with pH adjustment) and products prepared according to other,

non-claimed processes (without pH adjustment) are insubstantial.6 As such,



5
    The provisional application contains similar disclosure. See EX1013, 26-27

(“Sample 6 is … stable to autoclaving” when prepared with and without pH

adjustment).
6
    The Office’s “Reasons for Allowance” only referenced the composition and

proffered “unexpected results,” with no mention of the recited process steps.

EX1089, 4.


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Allergan cannot now argue that the claimed process steps produce unique fillers

having meaningful structural or functional difference compared to obvious fillers

made by other processes.

      E.     adjusting the pH of the HA component to an adjusted pH above
             about 7.2

      The plain meaning of “adjusting” is to “modify” or “alter.” There is no

“starting” pH required by any claim, so there is no limitation in which direction the

pH is adjusted (up or down). The patent includes an Example where the pH of the

HA component is increased from a “substantially neutral pH” (about 7.2) to

between about 7.5 and about 8. EX1001, 13:14-22. But a preference in an example

is not a clear and unmistakable disclaimer of processes in which the pH is

decreased. Cont’l Circuits LLC v. Intel Corp., 915 F.3d 788, 797-799 (Fed. Cir.

2019). So, according to the plain meaning of adjusting, the claims embrace

processes where the HA component has a starting pH above 7.2 and the pH is

adjusted downwards to some value (still) above about 7.2 (claim 1) or 7.5 (claim

5). See also EX1002 ¶¶ 137-138, 140.

VI.   CLAIMS 1-30 ARE UNPATENTABLE

      TKH‫ތ‬SDWHQW claims sterile, stable dermal fillers containing BDDE-

crosslinked HA, uncrosslinked (or soluble form) HA, and lidocaine. Before the

relevant filing date, POSITAs had already combined lidocaine with each of the

other clinically used crosslinked HA fillers (i.e., DVS, DEO, and PBCDI-


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crosslinked HA compositions). Adding lidocaine to a BDDE-crosslinked HA filler

represented the most natural and obvious next step. Moreover, while the claimed

pH adjustment steps are not relevant to the patentability, those steps, as well as the

RWKHUSURFHVVOLPLWDWLRQVLQWKH‫ތ‬SDWHQWDUHREYLRXVRver the prior art as well.

      The only other feature present in the claims—the particular amount of

uncrosslinked HA—was a well-known design choice. POSITAs often varied the

amount of uncrosslinked HA in a filler to achieve desired flow properties. The

specific amounts of uncrosslinked HA recited in the challenged claims reflect

conventional amounts already used in known fillers. However, to further

demonstrate the claims’ unpatentability, ancillary references Clark and Smith are

included in the Grounds to underscore that the specifically claimed amounts of free

HA were known and clinically used before the priority date.

      A.     References Relied Upon

             1.     Lebreton
      Lebreton shares the same inventor as the challenged patent and discloses

BDDE-crosslinked HA dermal filler compositions. The challenged patent cites

Lebreton when explaining how selection of various HA components in dermal

fillers was known to affect characteristics such as extrusion force, elastic modulus,

and viscous modulus, among others. EX1001, 8:54-64.




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        Lebreton discloses dermal fillers obtained by crosslinking a mixture of low

and high molecular weight HA starting materials, and claims they have improved

properties relative to fillers using a single type of HA. EX1029 ¶¶ [0021-0024].

Lebreton teaches that the fillers can be formulated at pH preferably between 7 and

7.4 (more preferably between 7.1 and 7.3), and that the pH can be controlled using

the appropriate buffer solution. EX1029 ¶ [0049].

        Lebreton discloses two examples in which a mixture of high molecular

weight and low molecular weight HA is crosslinked with BDDE in the presence of

0.25 N sodium hydroxide, i.e., at a pH greater than about 10. 7 The resulting

mixture is neutralized to pH 7.2 using a phosphate buffer and dialyzed. The

product is mechanically homogenized, loaded into a syringe, and sterilized in an

autoclave. EX1029 ¶¶ [0080-0092].

              2.    Sadozai

        Sadozai discloses PBCDI-crosslinked HA dermal fillers that include

lidocaine. EX1030 ¶¶ [0007, 0084-0085]; EX1002 ¶ 132. Sadozai teaches that the

dermal fillers may include an anesthetic that can increase the stability of the dermal

filler relative to an equivalent filler without the anesthetic:



7
    The pH of 0.25 N NaOH is approximately 13.4 [14 – log(0.25)]. Adding sodium

hyaluronate would not decrease the pH by over 3 pH units. EX1002 ¶ 170.


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      [T]he storage modulus G’ is increased, e.g., the composition is
      stabilized, by the inclusion of a local anesthetic, e.g., lidocaine,
      compared to a non-stabilized composition, e.g., an identical
      composition except that the local anesthetic is not included.

EX1030 ¶ [0068].

      Sadozai discloses several examples in which one of the PBCDI-crosslinked

HA samples (Example 5) is reconstituted in a phosphate buffer containing 0.3%

lidocaine hydrochloride (Example 12, 17, and 18 employ Buffer 4). EX1030

¶¶ [0084, 0090, 0099-104]. Each of the resulting gels are loaded into a syringe and

autoclaved. Sadozai teaches that the storage modulus (which relates to viscosity)

of the lidocaine-containing crosslinked HA after autoclaving was higher than the

same crosslinked HA without lidocaine. EX1030 ¶¶ [0090, 0107]; see EX1002

¶ 133 (relating storage modulus to viscosity).

             3.    Kinney

      Kinney describes a clinical study comparing two dermal fillers: Restylane,

which had been on the market for several years, and Puragen Plus, which was

undergoing FDA clinical trials. EX1012, 741-742. Kinney teaches Restylane is an

injectable dermal filler containing 20 mg/mL of BDDE-crosslinked HA particles

with a high concentration of “minimally modified HA molecules.” EX1012, 741-

742. Kinney notes that a “major disadvantage” of existing HA based fillers was

the pain that accompanied injection. EX1012, 741.


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      Kinney also teaches Puragen Plus, a dermal filler containing 20 mg/mL of

DEO-double crosslinked HA particles, lidocaine hydrochloride (0.3%), and what a

POSITA would recognize as a pH buffer component, which was undergoing

clinical trials. EX1012, 742; EX1002 ¶ 135. Kinney teaches that injection with

Puragen Plus caused minimal or no pain for patients. EX1012, 747.

             4.     Zhao

      Zhao describes double-crosslinked HA dermal fillers with improved

biostability relative to single-crosslinked HA. See EX1058 ¶¶ [0014], [0058].

Zhao describes an example in which double-crosslinked HA was prepared by first

crosslinking HA with DEO under alkaline conditions, followed by crosslinking the

resultant product with DEO under acidic conditions. EX1058 ¶ [0032]. Zhao

teaches that a number of crosslinking agents—including both BDDE and DEO—

can be used to prepare double-crosslinked HA using the described methods.

EX1058 ¶ [0019-0021].

             5.     Narins
      Narins is a 2005 journal article describing characteristics of several FDA-

approved dermal fillers. EX1007, 151, 153. Narins includes a description of the

same Restylane product disclosed by Kinney and teaches that Restylane is heat

sterilized in its final container and has a shelf life of 1.5 years from date of

manufacture. EX1007, 156.



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             6.    Smith

      Smith is a 2007 journal article describing the products Juvéderm Ultra and

Juvéderm Ultra Plus. Smith teaches Juvéderm has been clinically used in Europe

since at least 2003 and was introduced in the U.S. in 2007. EX1009, 67S. Smith

teaches Juvéderm is crosslinked with BDDE and is formulated with “about 10% of

non-crosslinked [HA] … to optimize the flow properties of the material” and that

other available dermal fillers had “a considerably larger amount of free [HA]” than

Juvéderm, “typically around 20 percent.” EX1009, 72S.

             7.    Clark

      Clark is a 2007 journal article comparing several physical characteristics of

HA dermal fillers that “can be used to make clinical decisions with regard to

product choice.” EX1008, 28S. Clark teaches the dermal filler market requires a

variety of products with varying characteristics because “no single filler product is

suitable for all patients and all anatomic applications.” EX1008, 31S. Regarding

soluble (or “free”) HA, Clark discloses that crosslinked HA fillers Hylaform and

Restylane included about 4% and 25% soluble HA, respectively. EX1008, 29S.

      B.     Grounds 1–2: Claims 1-30 are obvious over the combination of
             Lebreton and Sadozai in view of Clark or Smith

      Lebreton describes a BDDE-crosslinked HA filler. By August 2008,

lidocaine (at 0.3 wt.%) had been incorporated in a range of dermal fillers to

mitigate injection pain. EX1002 ¶¶ 119-122, 128-135. Uncrosslinked (or soluble


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form) HA, including amounts of 10%, and 25%, had been included in HA fillers to

optimize injection characteristics. EX1002 ¶¶ 93-96; EX1008, 29S; EX1009, 67S.

Merely adding lidocaine and free HA in conventional amounts to a prior art filler—

which the provisional applications demonstrate is all that Allergan did—is not

inventive. Cf. EX1013, 26-27 (describing mixing Juvéderm Ultra Plus with

lidocaine, adjusting pH to 7.2, and observing the mixture can be autoclave

sterilized).

        In Grounds 1-2, the combination of Lebreton and Sadozai produces a soft

tissue filler meeting all the limitations of the challenged claims except for the

specifically claimed amounts of uncrosslinked (or soluble form) HA. As explained

above, Clark and Smith disclose clinically approved fillers containing specific

amounts of uncrosslinked HA falling within the challenged claims. 8 The POSITA

would have been aware of these other fillers, and would have reasonably expected

that similar amounts of uncrosslinked HA could be used in the modified filler

described below.



8
    Allergan has argued that Clark and Smith were merely cumulative of references

considered by the Examiner. EX1088, 20. They are not. While Allergan argued

that the then-cited art did not teach at least 10% uncrosslinked HA, Clark and

Smith both explicitly disclose these amounts. EX1033, 59-61.


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             1.    Motivation to Combine

      Lebreton discloses BDDE-crosslinked dermal fillers said to have improved

properties over earlier BDDE-crosslinked fillers. The POSITA would have been

aware that injection pain was a drawback for these products (EX1002 ¶ 117) and

would have been motivated to apply the same solution that had been successfully

employed with other injectable fillers—the incorporation of lidocaine. Sadozai

exemplifies such a solution.

      As shown in Section III.C above, lidocaine had been successfully

incorporated into compositions containing HA crosslinked with the three other

conventional crosslinking agents: DVS, PBCDI, and DEO. Two products had

already received FDA approval by the challenged patent’s earliest filing date.

EX1020, 8 and EX1052 (Prevelle Silk); EX1019, 4 (Anika’s Elevess, an

implementation of Sadozai; EX1002 ¶ 120). A third (Puragen Plus) was approved

in Europe and undergoing clinical trials in the U.S. See EX1012, 742; EX1002

¶¶ 121, 134-135. A composition containing BDDE-crosslinked HA and lidocaine

was a derivative and predictable next step in view of the success of the other three

clinically used crosslinkers. At minimum, adding lidocaine to Lebreton would

have been obvious to try.

      Moreover, the prior art suggests a reasonable expectation of success that

adding lidocaine to Lebreton would produce a lidocaine-containing dermal filler.



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The repeated successful use of lidocaine across the remaining spectrum of

crosslinked HA dermal fillers would have prompted a POSITA to—at minimum—

attempt the combination. DVS, PBCDI, and DEO crosslinked HA gels share many

more similarities with BDDE-crosslinked gel than differences. EX1002 ¶ 209.

Once crosslinked, all four crosslinkers are devoid of reactive or unstable functional

groups which a POSITA might suspect would unfavorably react in the presence of

lidocaine. EX1002 ¶ 209.

      Further, lidocaine had been successfully incorporated into dermal fillers

containing more significant chemical differences than the crosslinked-HA fillers

discussed above. In the cosmetic field alone, lidocaine had been successfully

incorporated into fillers based on synthetic polymers, bovine collagen, and human

collagen. EX1002 ¶ 117. There is no credible reason why the POSITA would have

not expected success in incorporating lidocaine into BDDE-crosslinked HA as

well. Even if there had been some uncertainty whether lidocaine could be added to

BDDE-crosslinked HA (and there was not), absolute certainty is not necessary for

a proposed modification to be obvious. EX1002 ¶¶ 208-214. BTG Int’l Ltd. v.

Amneal Pharm. LLC, 923 F.3d 1063, 1075 (Fed. Cir. 2019) (affirming PTAB’s

finding of reasonable expectation of success even though the “effect in

combination may have been uncertain at the time”); Pfizer, Inc. v. Apotex, Inc., 480

F.3d 1348, 1364 (Fed. Cir. 2007) (“[T]he expectation of success need only be


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reasonable, not absolute”). Nothing in the prior art suggested any difficulty

combining lidocaine with a BDDE-crosslinked HA, such as taught by Lebreton. 9

         The POSITA also would have been well-aware that uncrosslinked HA had

been included in crosslinked HA fillers to optimize the injectability of a gel, among

other reasons. EX1002 ¶¶ 93-96; EX1022, 79; EX1008, 29S; EX1009, 67S. The

POSITA would have understood that increasing concentrations of uncrosslinked

HA decreased the required extrusion force (EX1002 ¶¶ 93-94). Accordingly, the

uncrosslinked HA concentration is a result-effective variable. In re Applied

Materials, Inc., 692 F.3d 1289, 1297 (Fed. Cir. 2012) (“A recognition in the prior

art that a property is affected by the variable is sufficient to find the variable result-

effective.”). It is routine, and obvious, to optimize a result-effective variable. In re

Boesch, 617 F.2d 272, 276 (CCPA 1980) (“[D]iscovery of an optimum value of a

result effective variable … is ordinarily within the skill of the art.”). Clark and

Smith discuss available products that teach such known, useful concentrations of

uncrosslinked HA and provide further direction for the POSITA designing a dermal

filler. EX1002 ¶ 143.



9
    As noted in Section VI.D.1, below, Allergan’s declaration in the prosecution of a

related application proffering “unexpected results” cited no prior art to substantiate

the claim.


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      The POSITA could have easily adapted the procedure disclosed in Lebreton

to incorporate lidocaine into the BDDE-crosslinked gels. In particular, Lebreton

teaches that after the crosslinking reaction, the resulting gel is dialyzed with a pH

7.2 phosphate buffer. EX1029 ¶ [0070]. The POSITA could have easily

incorporated lidocaine into the buffer solution at a concentration of 0.3% (such as

taught by Sadozai), thereby obtaining a pH 7.2 BDDE-crosslinked gel containing

lidocaine. EX1002 ¶¶ 147-148.

      The POSITA would have then mechanically homogenized the gel into

particles (EX1002 ¶ 150), and, to the extent the desired amount of free HA was not

already present in the composition, added free HA. The POSITA would have

loaded the composition into a syringe, and sterilized it using an autoclave to obtain

at the claimed composition. See EX1029 ¶ [0070]; EX1002 ¶¶ 150, 174, 191, 199.

             2.     Detailed claim analysis
      Independent claim 1 includes most of the common features of the other

independent claims, and dependent claims 2-8 include features that are included in

other challenged claims. Prollenium presents these claims first to illustrate how the

prior art teaches those limitations. Other claims are shown obvious by reference to

the corresponding limitations in claims 1-8 and are obvious for the same reasons.




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                a.          Claims 1 and 5

                     (i)      [1.pre] A stable, sterile soft tissue filler comprising:
      Lebreton and Sadozai both teach dermal fillers. EX1029 ¶ [0005]; EX1030

¶¶ [0007, 0012] (HA “effective for tissue augmentation”). “Stable” compositions

include those that maintain sterility over a length of time (See V.B). Lebreton

teaches the BDDE-crosslinked gel is sterilized in its final container (EX1007, 156);

the POSITA would understand that the product would remain sterile indefinitely so

long as the final container was not opened. EX1002 ¶¶ 150, 172-174.

                     (ii)     [1.1.1] a hyaluronic acid (HA) component comprising HA
                              crosslinked with [BDDE]
      Lebreton discloses BDDE-crosslinked HA. EX1029 ¶¶ [0068-0076].

                     (iii)    [1.1.2] and uncrosslinked HA, wherein the HA component
                              comprises greater than about 10% uncrosslinked HA by
                              volume
      Crosslinked-HA fillers were known to incorporate uncrosslinked or “free”

HA in varying amounts. Smith (Ground 1) discloses that existing, known

crosslinked-HA fillers (including Allergan’s non-lidocaine Juvéderm product)

incorporated free HA in varying amounts. EX1009, 67S, 72S. For example,

Allergan’s non-lidocaine Juvéderm contained about 10% uncrosslinked HA, while

other products had around 20% uncrosslinked HA. EX1009, 67S, 72S. Clark

(Ground 2) discloses BDDE-crosslinked Restylane included 25% uncrosslinked

HA. EX1008, 29S (Table 1).



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      The POSITA knew that the amount of uncrosslinked HA could be varied to

“optimize the flow properties” of a crosslinked gel. EX1009, 67S; see also

EX1022, 78 (teaching free HA is a “lubricant for flow characteristics”). The

POSITA would have been motivated to include uncrosslinked HA and could have

easily optimized the amount to obtain a desired extrusion force, including amounts

greater than about 10% by volume. EX1002 ¶¶ 143-145.

                   (iv)   [1.2] lidocaine at a concentration of about 0.3% by
                          weight of the soft tissue filler combined with the HA
                          component;

      Sadozai teaches crosslinked HA fillers with a buffer solution including 0.3%

lidocaine. EX1030 ¶ [0084, 0090, 0107]; see also EX1002 ¶ 142 (explaining this

was a common concentration and effective to mitigate pain). The POSITA could

have added this solution to the BDDE-crosslinked fillers taught by Lebreton.

EX1002 ¶ 147.

                   (v)    [1.3] Process steps of claim 1
      As discussed in Section V.D, the claimed process steps are not entitled to

patentable weight. Nevertheless, the combination of Lebreton and Sadozai

expressly disclose most of the recited process steps, as generally shown

immediately above:




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                                Process Steps of claim 1
 [1.3.1] providing the HA component;                         See [1.1.1]10
 [1.3.2] adjusting the pH …                                  See discussion below.
 [1.3.3] adding a solution containing lidocaine to the       See [1.2]
 HA component having the adjusted pH to obtain a
 soft tissue filler; and
 [1.3.4] heat sterilizing the soft tissue filler to obtain a See [1.pre]
 stable, sterile soft tissue filler.


         The only recited step not expressly disclosed is that of “adjusting the pH”

before adding the lidocaine-solution. The process steps are not entitled to

patentable weight because they do not add any meaningful structural or functional

difference over the proposed combination as described above, but even if they did

the recited steps are nevertheless obvious.

                          (a) The adjusting step is not entitled to patentable weight
         Process limitations are generally not given any patentable weight in an

obviousness analysis. See Section V.D. While an exception is applied when the

claimed process steps imparts meaningful structural and functional differences in

the product, such is not the case here. In particular, there are no meaningful




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     Each bracketed limitation or claim reference (such as in this table) is a clickable-

hyperlink to the cited discussion in the PDF version of this paper.


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differences between fillers produced by the claimed process and fillers produced

according to the combination of Lebreton and Sadozai.

      In each of Lebreton’s examples, after neutralization and purification at pH

7.2, the BDDE-crosslinked fillers are packed in syringes and autoclave sterilized.

E.g., EX1029 ¶¶ [0070], [0076]. The POSITA would have been motivated to use

the same pH for the modified filler, and as explained above would have added

lidocaine in a pH 7.2 buffered solution, as taught by Sadozai. EX1002 ¶ 147

(citing EX1030 ¶¶ [0084]). In other words, the POSITA would have prepared the

pre-sterilization, lidocaine-containing fillers at the same pH taught by Lebreton,

7.2. The POSITA would have then packed the composition in a syringe and

autoclaved it as in Lebreton. EX1002 ¶ 150. In this hypothetical

composition/process, the pH of the filler remains substantially the same before and

after the addition of the lidocaine. EX1002 ¶ 151.

      In the claimed process on the other hand, the pH is adjusted (for instance

above about 7.5) and then lidocaine is added, lowering the pH to (for instance)

about 7.2. EX1001, 13:18-26. While HA can be degraded at high or low pH, or at

elevated temperature, HA is stable at room temperature or less in solutions at pH

between 5 and 9, and certainly between 6.5 and 8. EX1086, Abstract; EX1087, 67;

EX1002 ¶ 159. So there would not be any meaningful degree of crosslinked-HA

degradation during the claimed pH adjustment. EX1002 ¶¶ 159-160. In other


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words, the physical structure of the HA would not be meaningfully changed in the

claimed process compared to a process where lidocaine was added in a buffered

solution (and the pH does not change at all). EX1002 ¶ 160.

      Because the HA would not meaningfully change during lidocaine addition,

either by the claimed process or by the process suggested by Lebreton and Sadozai,

the pre-sterilization compositions produced by either method would not be

meaningfully different. EX1002 ¶ 161. Consequently, the post-sterilization

products would also not have any meaningful differences. EX1002 ¶ 162. There

would not be any structural or functional features differentiating the claimed fillers

from those produced according to the compositions taught by Lebreton and

Sadozai.

                       (b) Allergan has admitted different processes do not
                           produce meaningfully different fillers
      Additionally, as explained in Section V.D above, Allergan’s arguments and

disclosures (in related patents) concede that multiple supposedly inventive

embodiments of the invention either do not require or are only “insubstantial[ly]”

affected by the recited pH adjustment step. There are no limitations in any of the

claims of the patent excluding these embodiments from the scope of the claims or

otherwise distinguishing the claimed fillers from fillers claimed in related patents.

Since it is clear from Allergan’s own statements that the pH adjustment step is not




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necessary to obtain sterile, stable fillers, the claims should be evaluated without

regard to the claimed pH adjustment step.

                         (c) Even if entitled to any weight, the pH adjustment is
                             obvious
         Leaving aside that the claimed steps do not impart unique features onto the

product, the claimed pH adjustment step (including in the upwards direction

exemplified in the specification) is still obvious. The POSITA would have been

motivated to prepare a composition having the same pre-sterilization pH as the

compositions described by Lebreton, e.g., 7.2. E.g., EX1029 ¶¶ [0048, 0070,

0076]; EX1002 ¶ 146. When incorporating lidocaine, the POSITA would have

used a solution containing lidocaine HCl,11 as the hydrochloride salt was

commonly used when preparing lidocaine-containing dermal fillers. EX1002 ¶

147; EX1030 ¶ [0084]; see also, e.g., EX1012, 742; EX1059 7:5-10. The POSITA

would have known that lidocaine HCl was weakly acidic and that adding it directly

to Lebreton’s gel would lower the pH below the desired 7.2. EX1002 ¶¶ 151, 163.

         With a target pH of 7.2 in mind, the POSITA would have known to account

for the reduction in pH caused by introducing acidic lidocaine HCl in the

composition. EX1002 ¶ 163. A POSITA would have known that a limited number


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     A “solution containing lidocaine” includes solutions containing lidocaine HCl.

EX1001, 6:40-41.


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of simple strategies could be used to account for the effect of lidocaine HCl on the

pH of the composition so as to arrive at a composition having a target pH of 7.2:

               (a) adding lidocaine HCl (thereby lowering the pH below the target

         pH of 7.2) then adding a base to increase the pH back to the target pH of 7.2;

               (b) raising the pH above the target pH of 7.2 and then adding

         lidocaine HCl to lower the pH to the target pH of 7.2; or

               (c) buffering the lidocaine HCl at the target pH of 7.2 and then adding

         the buffered lidocaine composition to the crosslinked HA composition (such

         that the pH remains at the target pH of 7.2 throughout the course of the

         lidocaine addition).

         Sadozai expressly teaches the third option (EX1030 ¶ [0090]), and POSITAs

could have easily explored the other two. EX1002 ¶ 164. As there are only a finite

number of possibilities for combining lidocaine HCl with the BDDE-crosslinked

composition taught by Lebreton, the POSITA would have been motivated to

explore them all. 12 EX1002 ¶ 165.




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     While there are numerous specific processes that could be used, the claims are

extremely broad, only requiring a pH adjustment.


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                     (vi)   [claim 5]

      Claim 5’s additional (purported) limitation that the pH is adjusted “above

about 7.5” is likewise obvious. The difference in pH between above about 7.2 (in

claim 1) and above about 7.5 in claim 5 is minor—as explained above there is no

meaningful chemical difference between HA at a pH above about 7.2 and HA

above about 7.5, it is simply a difference in degree that does not impart any

patentable distinction. EX1002 ¶ 166. The ‫ތ‬SDWHQWLQGLFDWHVWKDWDGGLQJ

lidocaine HCl to a BDDE composition at pH 7.5 to 8 results in a final pH of about

7. Allergan has also produced a document (in an opposition proceeding for a

related EPO patent) indicating that the pH of a filler formulated at pH = 7.2 is

reduced to 6.8 when combined with 0.3% lidocaine hydrochloride. EX1085, 3. If

the POSITA was targeting a final pH of about 7.2, routine optimization would

necessarily lead to a pH adjustment to above about 7.5. EX1002 ¶ 167.

      Having obtained the lidocaine-containing filler at physiological pH, the

skilled person would have then sterilized the product in a sealed syringe. EX1002 ¶

150. The filler would remain sterile (i.e., stable) so long as the packaging was not

opened. EX1002 ¶ 150.

                b.      Independent claims 9, 17, and 25
      Independent claims 9, 17, and 25 are generally similar in scope to claim 1,

with minor variations in recited features. Every element of these claims is



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presented in the table below, combined in rows to show identical (or nearly so)

limitations across these claims, with reference to the corresponding limitation and

prior art disclosure in claim 1.

                                    Claims 9, 17, 25
[9.pre] A stable, sterile soft tissue filler        See [1.pre]
comprising:
                                                    To the extent “injectable” in claims
[17.pre] and [25.pre] (identical) A sterile,        17 and 25 is a limitation, Lebreton
stable injectable soft tissue filler                and Sadozai’s gels are injectable.
composition comprising:                             EX1029 ¶ [0007]; EX1030 ¶ [0012].
[9.1.1] a hyaluronic acid (HA) component See [1.1.1]
comprising HA crosslinked with [BDDE]

[17.1.2] and [25.1.2] (identical) [a
mixture of] crosslinked HA … being
crosslinked with [BDDE]
[9.1.2] and uncrosslinked HA; and           See [1.1.2] and Section V.C (arguing
                                            same meaning for “uncrosslinked”
[17.1.1] and [25.1.1] (identical) a mixture and “soluble form” HA)
of soluble form hyaluronic acid (HA),
[9.2] lidocaine at a concentration of about See [1.2]
0.3% by weight of the soft tissue filler
combined with the crosslinked HA
component;

[17.1.3] and [25.1.3] (identical) lidocaine
in an amount effective to mitigate pain
upon injection of the composition …

[25.2] the lidocaine of the mixture being
present in a concentration of about 0.3%
by weight of the composition;




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                                    Claims 9, 17, 25
[9.3] wherein the soft tissue filler is stable Discussed below
after heat sterilization at between about
120° C. and about 130° C.;
[9.4] wherein the soft tissue filler has a        Lebreton teaches its gel is “buffered
pH of about 7; and                                to a pH compatible with the human,”
                                                  which it teaches is “between 6.5 and
                                                  7.5, advantageously between 7 and
                                                  7.4 and very advantageously
                                                  between 7.1 and 7.3.” EX1029 ¶
                                                  [0048]. The POSITA could have
                                                  selected any pH within this range,
                                                  including pH 7, instead of the
                                                  exemplified pH 7.2. EX1002 ¶ 171-
                                                  173. Allergan has not alleged or
                                                  demonstrated any criticality or
                                                  unexpected results associated with
                                                  the claimed pH over any other
                                                  physiologically appropriate pH.
[17.2] the composition having a HA      Lebreton discloses a mixture of HA
concentration of between about 20 mg/ml “at a concentration …
and about 30 mg/ml;                     advantageously between 20 and 30
                                        mg/g,” which is the same
                                        concentration claimed. EX1029
                                        ¶ [0049]; EX1002 ¶ 176-78.
[9.5] wherein the stable, sterile soft tissue See [1.3]
filler is made by a process comprising:

[17.3] and [25.3] (identical) wherein the
sterile, stable injectable soft tissue filler
composition is made by a process
comprising:
[9.5.1] providing the HA component                See [1.3.1]
crosslinked with BDDE

[17.3.1] and [25.3.1] (identical) providing
the soluble form HA and crosslinked HA;


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                                     Claims 9, 17, 25
 [17.3.2] adjusting the pH of the soluble         See [1.3.2]13
 form HA and crosslinked HA;

 [25.3.2] adjusting the pH of the soluble
 form HA and crosslinked HA to an
 adjusted pH above about 7.2;
 [9.5.2] adding a solution containing             See [1.3.3]
 lidocaine to the HA component
 crosslinked with BDDE to obtain a soft
 tissue filler; and

 [17.3.3] and [25.3.3] (identical) adding a
 solution containing lidocaine to the
 soluble form HA and crosslinked HA
 having the adjusted pH to obtain a HA-
 based injectable soft tissue filler
 composition; and
 [9.5.3] heat sterilizing the soft tissue filler See [1.3.4]
 to obtain a stable, sterile soft tissue filler.

 [17.3.4] and [25.3.4] (identical) heat
 sterilizing the HA-based injectable soft
 tissue filler composition to obtain the
 sterile, stable injectable soft tissue filler
 composition.


                      (i)    element [9.3] (sterilization)
         Lebreton’s gel is “packed into syringes and sterilized in an autoclave by

means of moist heat.” EX1029 ¶ [0070]; see also EX1030 ¶ [0054]. The POSITA

would have been motivated to heat-sterilize the lidocaine-containing gel under

13
     The “adjusting” pH step is not included in independent claim 9.


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conventional sterilization conditions. See EX1002 ¶¶ 173-174; EX1038 ¶¶ [0070],

[0085], [0088] (disclosing sterilization of DVS-crosslinked HA by autoclaving at

121°, 126°, or 131° C); EX1041, 111 (disclosing sterilization of HA gel by

autoclaving at 121° C); EX1042 ¶ [0091]; EX1030 ¶ [0054] (disclosing

sterilization of PBCDI-crosslinked HA by autoclaving at 120-140° C). Merely

reciting a range of conditions known to be effective to sterilize an otherwise

obvious composition, and observing the inherent effect of such sterilization, cannot

confer patentability. In re Kao, 639 F.3d 1057, 1069 (Fed. Cir. 2011) (holding the

discovery of an inherent feature will not confer patentability on an otherwise

obvious composition).

                  c.       Dependent claims 13, 21 and 27
         Claims 13, 21 and 27 depend from independent claims 9, 17 and 25,

respectively. Each of claims 21 and 27 further recite that the “adjusting the pH”

process step adjusts the pH to “above about 7.5.” 14 This purported limitation is not

patentable for the same reason as discussed above for claim 5 (and element

[1.3.2]).




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     Independent claim 9 lacks the “adjusting the pH” step; claim 13 adds the

“adjusting” step itself.


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                d.          Dependent claims 2-4, 10-12, 18-20, 26

      Dependent claims 2-4, 10-12, 18-20 are identical, apart from the specific

claim from which each depends and which of the equivalent terms for

uncrosslinked HA is used (i.e., uncrosslinked HA or soluble form HA).

                     (i)      amount of uncrosslinked HA claims
      Claims 2, 10, and 18 recite that the composition comprises “at least about

15% [uncrosslinked/soluble form] HA by volume,” and claims 3, 11, and 19

increase the amount to “at least 20%” uncrosslinked HA by volume. Clark teaches

Restylane has 25% uncrosslinked HA, within the range of each of those claims.

EX1008, 29S (Table 1).

      Claim 26 recites that soluble form HA is “about 10% to about 20% by

volume.” Ground 2 renders claim 26 unpatentable over Smith because the a

POSITA could have selected (at least) any amount between 10-20% while

optimizing the flow characteristics of the filler. EX1009, 67S, 72S; see also

EX1002 ¶ 180.

                     (ii)     “particles … in a relatively fluidic medium” claims

      Claims 4, 12, and 20 each recite that the mixture of crosslinked and

uncrosslinked HA comprises “particles of crosslinked HA in a relatively fluidic

medium of [uncrosslinked/soluble form] HA.” Allergan’s provisional application

admits that the prior art Restylane composition “compris[es] particles of

crosslinked HA material dispersed in a carrier of uncrosslinked HA material.”

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EX1013, 19. Allergan’s description of Restylane is consistent with Dr. DeVore’s

experience and his opinion of the literature. EX1002 ¶¶ 106, 169. 15 Thus, Allergan

admits that the limitation of claim 9 exists in the prior art Restylane product. As

explained by Dr. DeVore, a product otherwise like Restylane (BDDE-crosslinked

HA and ~25% uncrosslinked HA) but including 0.3% lidocaine would be expected

to have the same gross structural features—particles of crosslinked HA in a fluidic

medium of uncrosslinked HA. EX1002 ¶ 169.

                 e.    Dependent claims 6-8, 14-16, 22-24, 28-30
        Dependent claims 6-8, 14-16, 22-24, 28-30 are identical, apart from the

specific claim from which each depends. Each of them recites a step of “providing

dry uncrosslinked NaHA material and hydrating the dry uncrosslinked NaHA

material in an alkaline solution to obtain an alkaline [uncrosslinked] NaHA gel.”

Although the process steps should not be taken into account in an obviousness

analysis (see Section V.D above), the claimed process steps are nonetheless

obvious.




15
     See also EX1012, 741-742 (describing Restylane as containing BDDE-

crosslinked “HA particles with a high concentration of minimally modified HA

molecules”).


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      Lebreton teaches the same process of hydrating dry NaHA fibers in an

alkaline (0.25 N NaOH) solution to obtain an NaHA gel, prior to adding BDDE

and crosslinking. EX1029 ¶¶ [0068, 0074]. Dr. DeVore calculated the pH of the

NaOH solution to be greater than about 10. EX1002 ¶ 170. The POSITA would

have been motivated to use this same process. EX1002 ¶ 170. Thus, each of the

above claims are obvious.

      C.     Grounds 3-4: Claims 1-30 are obvious over the combination of
             Kinney, Narins, and Zhao in view of Clark or Smith

      Kinney teaches a double-DEO crosslinked HA filler that includes 0.3 wt.%

lidocaine to afford “relatively pain-free injection.” EX1012, 742. Kinney states that

the double-crosslinking provides advantages including improved stability during

sterilization and enhanced stability and slower degradation in vivo. EX1012, 742.

Zhao teaches double-DEO crosslinked HA, and that BDDE crosslinks are

interchangeable with DEO. EX1058 ¶ [0019]. Given the market preference for

BDDE-crosslinked HA fillers, it would have been obvious to simply substitute the

DEO crosslinker in Kinney with BDDE (as taught by Zhao) and sterilize the

resulting composition using the conventional conditions taught by Narins.

             1.    Motivation to Combine

      Kinney and Narins teach that Restylane, which contained both particles of

single-BDDE-crosslinked HA and free HA, was an established dermal filler, but its

injections were painful due to lack of lidocaine. EX1012, 741; EX1007, 156.


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Kinney also discloses Puragen Plus, which included particles of double-DEO

crosslinked HA filler, and that patients preferred it over Restylane because it

contained lidocaine. EX1012, 746. The POSITA would have been motivated to

exchange the DEO crosslinker in Puragen Plus with a BDDE-crosslinker, as

BDDE-crosslinked fillers were already established in the marketplace and

approved by FDA. EX1002 ¶ 183.

      As explained in Section VI.B.1, the POSITA would also have been aware

that free HA had been included in crosslinked HA fillers to optimize the

injectability of a gel, and that the concentration of free HA is a result-effective

variable that was routinely optimized based on known, useful concentrations such

as taught in Smith and Clark.

      A POSITA could have easily made particles of double BDDE-crosslinked

HA based on the teachings of Zhao. Zhao discloses processes to prepare double

crosslinked HA (EX1058 ¶¶ [0083-0093]), including double BDDE-crosslinked

HA. EX1058 ¶ [0019]. Because BDDE and DEO are each bis-epoxide

crosslinkers, the POSITA would have reasonably expected that Zhao’s process

could be adapted to use BDDE instead of DEO. EX1002 ¶ 183-184. Moreover,

given that BDDE and DEO are chemically similar, a POSITA would reasonably

expect that lidocaine would function analogously in both of the crosslinked gels.

EX1002 ¶ 185; Hoffmann La Roche, Inc. v. Apotex Inc., 748 F.3d 1326, 1331 (Fed.


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Cir. 2014) (“Conclusive proof of efficacy is not necessary to show obviousness. All

that is required is a reasonable expectation of success.”).

             2.        Detailed claim analysis

                  a.          Claims 1 and 5

                       (i)      [1.pre] A stable, sterile soft tissue filler comprising:
      Kinney teaches sterile, soft tissue fillers. EX 1012, 741-742 (“The ester

bonds confer increased stability…during sterilization”). Narins teaches that

Restylane is heat-sterilized in its final container (EX1007, 156) and the POSITA

would have used the same technique for the sterilization of the as-modified

composition. EX1002 ¶ 191. As explained in Section VI.B.2.a(i), the POSITA

would have necessarily obtained a stable filler in so sterilizing.

                       (ii)     [1.1.1] a hyaluronic acid (HA) component comprising HA
                                crosslinked with [BDDE]
      Kinney discloses a BDDE-crosslinked HA filler (Restylane) and a DEO-

crosslinked HA filler (Puragen Plus). EX1012, 741-742. As discussed above, a

POSITA would have been motivated to exchange the DEO crosslinker in Puragen

Plus with a BDDE crosslinker. See EX1002 ¶¶ 182-185.

                       (iii)    [1.1.2] and uncrosslinked HA, wherein the HA component
                                comprises greater than about 10% uncrosslinked HA by
                                volume
      As explained in Grounds 1 and 2 (Section VI.B.2.a(iii)), crosslinked-HA

fillers were known to incorporate uncrosslinked or “free” HA in varying amounts.



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The POSITA would have been motivated to include uncrosslinked HA in the

BDDE-double crosslinked filler and could have easily optimized the amount to

obtain a desired extrusion force, including amounts greater than about 10% by

volume. EX1002 ¶ 188.

                   (iv)   [1.2] lidocaine at a concentration of about 0.3% by
                          weight

      “Puragen Plus contains … lidocaine HCl 0.3% ….” EX1012, 742; see also

EX1002 ¶ 182-183 (explaining this was a common concentration and effective to

mitigate pain).

                   (v)    [1.3] Process steps of claim 1 and claim 5

      As discussed in Sections V.D and VI.B.2.a(v) (Ground 1 element [1.3]), the

process steps of the claims are not entitled to patentable weight. Nevertheless, the

claimed steps are also obvious in Ground 3.

      Zhao teaches a process in which 0.1 gram of HA is dissolved in 1N NaOH

and reacted with DEO to form ether crosslinks, followed by pH adjustment using

1N HCl with addition of additional DEO to form ester crosslinks. The crosslinked

product was precipitated with anti-solvent, extracted several times with water,

acetone, and isopropanol, and then dried at 37° C. to give the crosslinked product

as a film. EX1058 ¶ [0090]. Zhao teaches the dried products may be swollen in a




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PBS 16 formulation buffer to give a gel containing double crosslinked HA, NaCl,

and phosphate buffer. EX1058 ¶ [0075]. See also EX1002 ¶ 186.

         The POSITA could have easily adapted the above process using BDDE

instead of DEO as the crosslinker to obtain a BDDE-double crosslinked gel.

EX1002 ¶¶ 184-187. The POSITA, understanding that uncrosslinked HA could be

used to optimize the injection characteristics of the gel, could have easily added a

suitable amount of uncrosslinked HA to the gel. EX1002 ¶ 188.

         As explained in Ground 1, Section VI.B.2.a(v)(c), there are a limited number

of methods for combining lidocaine hydrochloride with a crosslinked gel. The

POSITA would have been motivated to explore them all, including methods in

which the pH of the double-BDDE-crosslinked gel was adjusted to a pH above

about 7.5 prior to addition of lidocaine hydrochloride. 7KH‫ތ‬SDWHQWLQGLFDWHV

that adding lidocaine HCl to a BDDE composition at pH 7.5 to 8 results in a final

pH of about 7. Restylane is formulated at pH 7 (EX1006, 362); the skilled person

would have been motivated to formulate the pre-sterilization double-BDDE-

crosslinked filler at the same pH. EX1002 ¶ 189. If the POSITA was targeting a

final pH of about 7 (such as was found in Restylane), routine optimization would




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     PBS is a conventional abbreviation for Phosphate Buffer Saline. EX1002 ¶ 186.


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necessarily lead to a pH adjustment to above about 7.5, as required by claim 5.

EX1002 ¶ 190.

                 b.     Independent claims 9, 17, and 25

      As in Ground 1, the chart below indicates the parallel elements of claim 1

for independent claims 9, 17, and 25, and these claims are obvious in Ground 3 for

the same reasons as claim 1.

                                    Claims 9, 17, 25
[9.pre] A stable, sterile soft tissue filler        See [1.pre]
comprising:
                                                    To the extent “injectable” in
[17.pre] and [25.pre] (identical) A sterile,        claims 17 and 25 is a limitation,
stable injectable soft tissue filler composition    Kinney discloses injectable
comprising:                                         fillers (EX1012, 741-742), and
                                                    the POSITA would have used
                                                    the modified filler in the same
                                                    way. EX1002 ¶ 199.
[9.1.1] a hyaluronic acid (HA) component            See [1.1.1]
comprising HA crosslinked with [BDDE]

[17.1.2] and [25.1.2] (identical) [a mixture of]
crosslinked HA … being crosslinked with
[BDDE]
[9.1.2] and uncrosslinked HA; and                   See [1.1.2]

[17.1.1] and [25.1.1] (identical) a mixture of
soluble form hyaluronic acid (HA),




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                                  Claims 9, 17, 25
[9.2] lidocaine at a concentration of about See [1.2]
0.3% by weight of the soft tissue filler
combined with the crosslinked HA component;

[17.1.3] and [25.1.3] (identical) lidocaine in
an amount effective to mitigate pain upon
injection of the composition …

[25.2] the lidocaine of the mixture being
present in a concentration of about 0.3% by
weight of the composition;
[9.3] wherein the soft tissue filler is stable     As discussed in Ground 1
after heat sterilization at between about 120°     above, a POSITA would have
C. and about 130° C.;                              appreciated that the recited
                                                   sterilization conditions were
                                                   known to be effective to
                                                   sterilize dermal fillers. Section
                                                   VI.B.2.b(i).

                                                   Further, Narins teaches heat-
                                                   sterilization of Restylane in its
                                                   final container. EX1007, 156. A
                                                   POSITA would have been
                                                   motivated to use this same
                                                   technique for the double-
                                                   BDDE-crosslinked composition.
                                                   EX1002 ¶ 198. In doing so, the
                                                   POSITA would have necessarily
                                                   obtained a product that
                                                   maintained its sterility (i.e.,
                                                   stability) until opened. EX1002
                                                   ¶ 199.
[9.4] wherein the soft tissue filler has a pH of   Restylane is formulated at pH 7.
about 7; and                                       EX1006, 362. A POSITA could
                                                   have selected this pH for the
                                                   double-crosslinked filler.
                                                   EX1002 ¶ 195-196. Allergan


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                                  Claims 9, 17, 25
                                                    has not alleged or demonstrated
                                                    any criticality or unexpected
                                                    results associated with the
                                                    claimed pH relative to any other
                                                    physiologically appropriate pH.
[17.2] the composition having a HA                  Kinney discloses that multiple
concentration of between about 20 mg/ml and         Restylane formulations “contain
about 30 mg/ml;                                     a concentration of 20 mg/mL”
                                                    of HA and that “[e]ach milliliter
                                                    of Puragen Plus contains 20
                                                    mg” of HA. EX1012, 741-742.
                                                    The POSITA could have
                                                    selected this concentration for
                                                    the as-modified composition.
                                                    EX1002 ¶ 203.
[9.5] wherein the stable, sterile soft tissue filler See [1.3]
is made by a process comprising:

[17.3] and [25.3] (identical) wherein the
sterile, stable injectable soft tissue filler
composition is made by a process comprising:
[9.5.1] providing the HA component                  See [1.1.1]
crosslinked with BDDE

[17.3.1] and [25.3.1] (identical) providing the
soluble form HA and crosslinked HA;
[17.3.2] adjusting the pH of the soluble form       See [1.3]
HA and crosslinked HA;

[25.3.2] adjusting the pH of the soluble form
HA and crosslinked HA to an adjusted pH
above about 7.2;
[9.5.2] adding a solution containing lidocaine      See [1.2], [1.3]
to the HA component crosslinked with BDDE
to obtain a soft tissue filler; and



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                                    Claims 9, 17, 25
[17.3.3] and [25.3.3] (identical) adding a
solution containing lidocaine to the soluble
form HA and crosslinked HA having the
adjusted pH to obtain a HA-based injectable
soft tissue filler composition; and
[9.5.3] heat sterilizing the soft tissue filler to   See [9.3]
obtain a stable, sterile soft tissue filler.

[17.3.4] and [25.3.4] (identical) heat
sterilizing the HA-based injectable soft tissue
filler composition to obtain the sterile, stable
injectable soft tissue filler composition.


                c.      Dependent claims 13, 21 and 27
      As explained in Ground 1, claims 13, 21 and 27 recite the “adjusting” step

adjusts the pH to “above about 7.5.” This purported limitation is not patentable in

Ground 3 for the same reason as discussed above for claim 5 (and element [1.3.2]).

                d.      Dependent claims 2-4, 10-12, 18-20, 26
      Claims 2-3, 10-11, and 18-19 are obvious in Ground 3 for the same reason as

shown in element [1.1.2] (and explained in Ground 1), namely that the recited

ranges of uncrosslinked HA are obvious in view of Clark’s teaching that Restylane

has 25% soluble HA.

      Claim 26 is obvious in Ground 4 for the same reasons described in Ground

2, namely that Smith suggests a POSITA could have selected any amount of

uncrosslinked HA in the range of 10-20%.



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      Claims 4, 12, and 20 are obvious in Ground 3 for the same reason as shown

in Ground 1, Section VI.B.2.d(ii): including 25% soluble HA (as in Restylane) in

the hypothetical composition according to Kinney and Zhao would result in gel

including particles of HA in a relatively fluidic medium of soluble HA. See

EX1002 ¶ 193, 200, 204.

                e.     Dependent claims 6-8, 14-16, 22-24, 28-30

      Ground 1 explained the features of these claims. While the recited process

step (and its further limitations) is not entitled to patentable weight, Zhao

nevertheless teaches the same process.

      Zhao teaches the crosslinking reaction can occur at a pH greater than about

10, for instance at pH 10 to pH 12. EX1058 ¶ [0032]. Zhao exemplifies a process

in which 0.1g HA is dissolved in 0.25N NaOH. EX1058 ¶ [0086]. While Zhao

does not specify the physical form of the HA, nor whether it is protonated or in a

salt form (e.g., NaHA), it does not matter because the resulting solution is the same

in each case, an aqueous composition of NaHA at pH greater than about 10.

EX1002 ¶ 194. Furthermore, Zhao teaches that HA is usually present as the

sodium salt (EX1059 ¶ [0002]), and dry powders of the sodium salt were

commercially available in 2008. EX1002 ¶ 194. The POSITA could have easily

selected dry NaHA to use when preparing BDDE-double crosslinked HA.




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      D.     Allergan cannot rebut the prima facie case of obviousness
             established above

      As explained in Section IV.B, the Examiner allowed the claims of the

challenged patent (and its related applications) based on Allergan’s arguments and

proffered evidence pointing to supposed “unexpected results” of the invention. But

the inventor’s three-page, unsubstantiated declaration is contradicted by the prior

art cited above. Moreover, the 2012 Cui reference does not support Allergan’s

argument, which the Examiner apparently accepted, that Allergan’s BDDE-

crosslinked composition was “especially sensitive” to heat sterilization “relative to

… non-BDDE crosslinkers.” EX1023, 28. Finally, even if evidence of unexpected

results was present (it is not), such evidence (or other secondary considerations)

must be balanced against the other evidence of obviousness. E.g., Allergan, Inc. v.

Sandoz Inc., 726 F.3d 1286, 1293 (Fed. Cir. 2013) (holding claims obvious despite

agreeing that results were unexpected). Allergan cannot rebut the prima facie case

of obviousness presented in the Grounds here based on the arguments and evidence

presented in prosecution.

             1.    The uncorroborated Inventor’s Declaration does not
                   accurately characterize the state of the art

      As explained above, although Allergan did not formally submit the Lebreton

declaration or Cui reference during the prosecution of the ‫ތ‬202 patent, the

Examiner clearly relied upon them when concluding that the claimed fillers were



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unexpectedly stable. Allergan made several assertions, based on a § 1.132

Declaration from the inventor, regarding the POSITA’s knowledge of the art and

the expectations that would be drawn therefrom. Lebreton proffered several

assessments of the state of the art, purportedly from the perspective of a POSITA

“shortly prior to August 4, 2008”:

             It was believed that adding lidocaine to [HA] gel compositions
      during manufacturing caused degradation of the [HA] prior to
      injection of the HA as a dermal filler.

             It was believed that lidocaine caused degradation of HA gel
      compositions during high temperature sterilization.

             It was not known whether HA compositions comprising
      lidocaine were stable or not after high temperature sterilization when
      placed in storage for any significant length of time.

             It was also believed that the instability of HA described above
      would have caused a viscosity reduction of the HA that would make it
      unsuitable for soft-tissue filling applications.

EX1024 ¶¶ 4-8. Lebreton’s statements were not limited to BDDE-crosslinked HA,

and Allergan’s accompanying Response at the time included pending claims

covering use of any crosslinker, not just BDDE. EX1023, 18-20 (claims 51-67).

Allergan and the inventor cited no prior art to support the inventor’s opinions.

EX1024 ¶¶ 4-8 (repeatedly stating what “was believed”); see also EX1023, 24-28.




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         As shown here, contrary to Lebreton’s statements, the totality of the prior art

instead gave the POSITA the expectation lidocaine could be successfully combined

with various crosslinked HA dermal fillers, including a BDDE-crosslinked HA

dermal filler. See Sections III.C and Grounds, supra. The POSITA would have

been aware of commercial lidocaine-containing crosslinked HA dermal fillers

Elevess, Prevelle Silk and Puragen Plus, as well as the disclosures of the prior art

documents cited here, including Sadozai, Kinney, and Reinmuller.17 Each of these

products and references explicitly state, or at minimum suggest, that crosslinked

HA lidocaine-containing fillers were sterilized, and were sufficiently stable to be

approved by FDA as a dermal filler. EX1002 ¶ 212.18

         There is simply no evidence suggesting that a POSITA would have expected

the addition of lidocaine would degrade crosslinked-HA compositions. See

EX1002 ¶ 215 (Dr. DeVore unaware of any prior art suggesting issues with

addition of lidocaine). In fact, a POSITA would have had the exact opposite

expectation. Although Puragen Plus and Prevelle Silk are not explicitly described



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     EX1059, 7:1-28.
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     Abstracts of posters published in the February 2007 issue of the Journal of the

American Academy of Dermatology also describe Anika’s Elevess/CTA product

(an embodiment of Sadozai) as “stable.” EX1021, AB94 (P1039-P1040).


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as sterile and stable, the POSITA would have known that these characteristics were

necessary for FDA approval. EX1002 ¶ 217. And Sadozai and Kinney disclose that

the lidocaine-containing crosslinked HA fillers had viscosities similar to, or even

greater than, other crosslinked HA fillers that did not include lidocaine. EX1030

¶ [0107]; EX1012, 746; Reinmuller discloses the heat sterilization of a lidocaine

containing crosslinked HA filler, and that it was sufficiently stable to be stored and

injected into a patient four times at intervals of 4 to 8 weeks. EX1059, 7:1-28. See

also EX1021, AB94 (P1039 poster abstract teaching same). Each of these

references supports the conclusion that the POSITA would have reasonably

expected that lidocaine could be incorporated into a BDDE-crosslinked HA filler

and heat sterilized without compromising the viscosity of the final product. See

EX1002 ¶¶ 217-218. And rather than expecting lidocaine to degrade HA during

autoclave sterilization, the prior art suggested that it could increase the stability.

See EX1002 ¶ 218 (explaining teaching that lidocaine slowed the viscosity

reduction process).

      There is no evidence to support the inventor’s characterization of the prior

art. To the contrary, the evidence described herein clearly demonstrates that a

POSITA would have reasonably expected that adding lidocaine to a crosslinked

HA dermal filler—including the fillers disclosed by Lebreton—would result in a

stable dermal filler. The Board should give the Lebreton declaration no weight. See


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Velander v. Garner, 348 F.3d 1359, 1371 (Fed. Cir. 2003) (affirming Board’s

reliance on prior publications rather than “broad conclusory statements” …

unsupported by corroborating references”).

             2.    Example 4 does not provide evidence of non-obviousness

      Lebreton also erroneously asserted the comparative data in the specification

supported his conclusions. Although this Example does not appear in the ’202

patent, it was included in each of the provisional applications, and the ‫ތ‬202 patent

incorporates them by reference. Lebreton declared that his experiments showed

that the Samples 1-3 showed more of a decrease in viscosity after autoclave

sterilization than Samples 4-5 (the allegedly inventive compositions). EX1024

¶¶ 13-14. Lebreton declared that it was a “surprising and unexpected discovery”

that the HA gels of his application “could be made to be heat and shelf stable.”

EX1024 ¶ 15. However, the cited evidence does not establish or suggest any

meaningful differences between the claimed and the compared compositions.

      For unexpected results to be probative of non-obviousness, the claimed

subject matter must be compared with the closest prior art, and the difference must

not have been expected by the POSITA at the time of the invention. Kao Corp. v.

Unilever U.S., Inc. 441 F.3d 963, 970 (Fed. Cir. 2006). Moreover, the differences

between the claimed invention and prior art must be significant and practical. Cf.

Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d 731, 739 (Fed. Cir. 2013)



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(“Unexpected results that are probative of non-obviousness are those that are

‘different in kind and not merely in degree from the results of the prior art.’ Results

which differ by percentages are differences in degree rather than kind, where the

modification of the percentage is within the capabilities of [a POSITA].” (citations

omitted). As explained below, the comparative examples in the provisional

applications do not represent relevant prior art, nor do they represent a meaningful

advance over prior art.

      Even if Samples 1-3 experienced a more “substantial” drop in viscosity

compared to Samples 4-6, as Allergan argued during prosecution, EX1023, 26, that

alone would not make the resulting compositions unsuitable as dermal fillers. As

explained by Dr. Devore, the reported viscosities of Samples 1-3 were all within an

acceptable range to a POSITA. EX1002 ¶¶ 226-227; EX1039, 267. Further, the

POSITA would have expected that the sterilized composition would not undergo

any further viscosity reduction or other degradation. EX1002 ¶ 228.

      Sample 2 is described in the provisional applications as the commercial

product “Hylaform,” an FDA-approved, DVS-crosslinked HA filler. EX1002

¶ 229; EX1013, 26. The test results show that when pH of the pre-sterilization filler

is 7.2, i.e., between about 7 and 7.4, the viscosity after autoclave remains within an

acceptable range for use as a dermal filler. See EX1002 ¶ 229. As explained

elsewhere in this petition, the POSITA would have known that prior to sterilization,


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the pH of the filler should be brought to this range. See Sections VI.B.2.a(v)(c);

VI.C.2.a(v), EX1002 ¶¶ 98, 172), Thus, there is nothing in Example 4 suggesting

that Hylaform could not be combined with lidocaine.

         The test results and samples do not support patentability or the claimed

unexpected results for other reasons as well. For instance, Dr. DeVore explains that

the patent’s experiments on Sample 1 were irrelevant because he was not aware of

such a composition being used as a dermal filler, either in 2008 or now. EX1002

¶ 225.

         As for Sample 3,19 Allergan argued during prosecution that it lost viscosity

to autoclave sterilization. EX1023, 24-28. The data actually shows the opposite and

supports that Sample 3 is not indicative of unexpected results. Figure 3 shows that

when the pre-sterilization Sample 3 is between 7 and 7.4, the resulting

composition’s viscosity increases relative to the non-lidocaine sample after

autoclave stabilization by about 10%. See EX1002 ¶ 230; U.S. Patent 8,357,795,

Figure 3; EX1013, 39 (Figure 4).




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     The provisional applications describe this sample as “believed to be similar” to

Restylane. EX1013, 26.


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Allergan acknowledges this fact in the specification of the provisional application:

Sample 3 (a non-cohesive BDDE-crosslinked HA composition) gave the same

results as Samples 4 and 5 (cohesive BDDE-crosslinked HA compositions).

EX1002 ¶ 35; EX1013, 27. Moreover, it is irrelevant that the pre-sterilization

Samples that had lower pH values exhibited lower viscosities. A POSITA would

have understood that a filler should be formulated at a physiologically acceptable

pH (for instance 7 or 7.2 in the Grounds here, or 7.0 to 7.4 more generally).

EX1002 ¶¶ 98, 230. Therefore, examples where compositions were sterilized at

lower pH values would not have affected a POSITA’s expectation that lidocaine

could be incorporated in a crosslinked HA dermal filler.

      Finally, Allergan also argued that Sample 3 (when sterilized at a pH lower

than 7.2) underwent a 35% reduction in viscosity, whereas Sample 4 (when

sterilized at a pH lower than 7.2) exhibited a 30% reduction of viscosity. EX1023,



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26-27. As explained by Dr. Devore, these data are irrelevant because such a small

difference is meaningless, and a single experiment is not statistically significant.

EX1002 ¶¶ 231-232.20

               3.    Cui is not relevant

         The last piece of “evidence” Allergan relied upon to show “unexpected

results” was the Cui reference (EX1025). Allergan argued that Cui “shows” that

BDDE-crosslinked HA fillers were “known to be especially sensitive to heat

sterilization relative to HA crosslinked with other, i.e. non-BDDE, crosslinkers,” so

that “the discovery” of Allergan’s sterile compositions was “surprising,” given the

supposedly unstable nature of HA-based gels crosslinked with BDDE even without

the addition of lidocaine. EX1023, 28.

         Cui compares the stability of BDDE-crosslinked HA with HA crosslinked

with three other crosslinking agents. EX1025, 1506. But Cui does not test or

compare BDDE to any of the three crosslinking agents that were known in the art

and approved by FDA or undergoing U.S. clinical trials in August 2008. Compare




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     Allergan has not provided any argument or evidence explaining why such a

small difference is meaningful to a POSITA. See Galderma, 737 F.3d at 739.



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id., with Section III.B; EX1002 ¶ 221.21 Moreover, none of the crosslinkers appear

to have even been used as dermal fillers as of the application’s filing date. EX1002

¶ 221.

         Moreover, Cui was published in 2012, well after the claimed priority date of

the patent. The reasonable expectation of success is evaluated at the time the

invention was made—a later published reference that might have taught away from

the claimed invention is irrelevant. Bristol-Myers Squibb Co. v. Teva Pharms. USA,

Inc. 752 F.3d 967, 976 (Fed. Cir. 2014) (“Obviousness, and expectation of success,

are evaluated from the perspective of a person having ordinary skill in the art at the

time of invention.” (quoting Velander v. Garner, 348 F.3d 1359, 1377 (Fed. Cir.

2003)); id. at 977 (“[E]vidence of unexpected results must establish that there is a

difference between the results obtained and those of the closest prior art, and that

the difference would not have been expected by one of ordinary skill in the art at

the time of the invention.”). Cui could not have informed the POSITA’s expectation

of BDDE-crosslinked HA stability at the time the application was filed, because

Cui did not publish until years later.




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     Cui also does not evaluate the effect of lidocaine on any of the compositions it

tested. See generally EX1025.


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         Thus, Cui is irrelevant to the question of whether Allergan’s BDDE-

crosslinked HA composition showed unexpected results compared to the other

crosslinkers known to POSITAs at the time. EX1002 ¶ 222. Cui is not prior art; but

even if it was, Cui is plainly not the “closest prior art” that would be relevant to the

obviousness and unexpected results analysis. Kao Corp., 441 F.3d at 970.

               4.    Other Secondary Considerations

         Prollenium is not aware of any other secondary considerations that are

sufficient to rebut the prima facie case of obviousness presented in the Grounds

above.22 To the extent Allergan should raise secondary indicia such as commercial

success, industry praise, or long-felt need, in its Preliminary Response, the Board

should institute trial so the parties may develop the evidence before the Board

considers the merits of any such argument. See, Celltrion, Inc. v. Genetech, Inc.,

IPR2017-01374, Paper 15, 17-18 (Dec. 1, 2017) (instituting trial to permit parties

to develop a record regarding secondary considerations first raised in Preliminary

Response).




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     There have been no final determinations regarding secondary indicia in any of

the litigations involving the Allergan patents.


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              5.   Summary

      In sum, the evidence cited in this Petition, including both documents and

testimony by Dr. DeVore, refute the alleged unexpected results advanced by

Allergan during prosecution. In light of the many disclosures of sterilized, non-

BDDE-crosslinked HA fillers known to a POSITA at the time, Allergan’s

“unexpected results” evidence does not hold water; it certainly does not show the

claims to be nonobvious. All the evidence cited by Allergan is either incorrect or

irrelevant.

      The Examiner relied on Allergan’s “unexpected results” arguments to allow

the claims—in this patent and across its entire family. See, e.g., EX1023, 8-9;

EX1033, 8; EX1040, 8; EX1089, 4 (notices of allowance). As shown here, the

claims are unpatentable in view of the evidence and the lack of support for

Allergan’s claim of unexpected results. Finally, these apparent contradictions

between the “evidence” that persuaded the Examiner to allow the claims and the

new evidence and argument in this Petition are also important to the Board’s

analysis under § 325(d), as described in the following section. This Petition asks

the Board to remedy the Examiner’s error, which has propagated throughout an

entire family—including applications still pending at the Office.




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VII. DISCRETIONARY FACTORS FAVOR INSTITUTION

      The factors considered under 35 U.S.C. §§ 314(a) and 325(d) do not weigh

in favor of exercising discretion to deny institution. As an initial matter, this is the

first Petition challenging this patent. So the General Plastic factors and analysis do

not apply here. Cf. Prollenium v. Allergan, IPR2019-01519, Paper 17, 43-46 (Mar.

19, 2020) (instituting trial, agreeing General Plastic does not apply but still finding

factors favor Prollenium).

      A.     Section 325(d) factors

      The Board considers several factors to evaluate whether to exercise its

discretion under § 325(d). Becton, Dickinson & Co. v. B. Braun Melsungen AG,

IPR2017-01586, Paper 8, 17-18 (Dec. 15, 2017) (precedential); Advanced Bionics,

LLC v. MED-EL Elektromedizinische Geräte GmbH, IPR2019-01469 Paper 6, 9-11

(Feb. 13, 2020) (precedential). The Board should not decline to institute trial

because even though one of the same prior art references was cited by the Office

during prosecution, the Grounds here present new evidence and arguments that

show how the Office materially erred by relying on the Lebreton Declaration to

overcome the rejection.

      All references cited in the Grounds except for Zhao appear on the face of the

‫ތ‬SDWHQWEXWthe grounds here provide a much more compelling argument for

obviousness that was ever assembled by the Office. The Office relied on Lebreton



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as a primary reference in the ancestor ‫ތ‬768 application DQGUHODWHG‫ތ‬

application), citing Wang and Calias (EX1047, EX1048, respectively) for a

motivation to add lidocaine. Allergan overcame Calias rejection by arguing a

POSITA would have expected that the addition of lidocaine would unacceptably

reduce the composition’s viscosity. EX1023, 23. However, Wang and Calias

merely suggest that lidocaine could be added to a HA composition, and do not

refute Allergan’s position that lidocaine was expected to degrade the filler upon

sterilization.

       Here, Kinney and Sadozai cited in the Grounds—as well as CTA Summary,

Reinmuller, Toth, and Hanke cited as supporting evidence of the knowledge and

skill of a POSITA—all disclose a working embodiment of lidocaine successfully

combined with a crosslinked HA composition. The Office plainly overlooked the

relevance of each of these references when crediting the inventor’s declaration as

evidence of obviousness. See Advanced Bionics, IPR2019-01469, Paper 6 at 10-

11. Allergan never rebutted the Office’s prima facie conclusions that the claims

were obvious over the prior art; it did not even challenge the Office’s assertion that

Lebreton taught most of the elements of the claims. Rather, the ancestor patents

and the challenged patent were allowed based on Allergan’s proffered unexpected

results and declaration concerning the supposed state of the art and knowledge of

the POSITA. The prior art (and DeVore testimony) cited here contradict the


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unsupported inventor declaration relied on by the Office. Thus, the Office

materially erred in relying on the Lebreton Declaration to overcome the prior art.23

         The asserted grounds here also provide a completely new § 103 analysis

based on Kinney and Zhao that was not considered by the Examiner. While the

Examiner contended that it would have been obvious to modify the Lebreton

reference by adding lidocaine, he apparently did not consider that it would have

been equally obvious to modify the crosslinker in the lidocaine-containing filler

taught by Kinney, or that Zhao would have enabled the POSITA to do so.

         The Board should not exercise its discretion because the substantial evidence

cited in this Petition shows the Examiner had an incomplete understanding of the

prior art and, consequently, he erred in accepting the applicant’s unsubstantiated

declaration attesting to “unexpected results.” Moreover, this Petition provides

evidence showing the inventor’s representations about the state of the art at the

priority date were incorrect, and the Examiner erred in relying on those



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     The Board reached the same conclusion in declining to exercise its discretion to

deny institution in seven proceedings challenging six related patents to this one,

relying on the same prior art as the current petition. E.g., IPR2019-01505, Paper

18, 35-42 (Mar. 19, 2020) (finding Becton Dickinson factors favored Petitioner and

instituting trial).


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representations. Even if the inventor’s declaration had accurately characterized the

state of the art (it did not), this petition also provides new evidence, not considered

by the Office during prosecution, identifying flaws in both the design and

interpretation of the comparative experiments. See Section VI.D.2. And as

explained in Section VI.D and Dr. DeVore’s declaration, the Office erred to the

extent it relied on Cui as evidence of non-obviousness. Accordingly, the Board

should not exercise its discretion under § 325(d) to deny institution.

VIII. CONCLUSION

      Challenged claims 1-30 are unpatentable, and Petitioner respectfully

requests that the Board institute trial.

IX.   MANDATORY NOTICES UNDER 37 C.F.R. § 42.8

      A.     Real Parties in Interest

      The real parties-in-interest are Prollenium US Inc. and Prollenium Medical

Technologies Inc.

      B.     Related Matters

      Allergan has asserted the challenged patent and U.S. 10,485,896 (the ’896

patent) against Petitioner Prollenium in Allergan USA, Inc. et al v. Prollenium US

Inc. et al., Case-No. 1:20-cv-00104-CFC (D. Del. filed Jan. 23, 2020) (“the 2020

litigation”). Allergan has also asserted six other patents related to the challenged




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patent in Allergan USA, Inc. et al v. Prollenium US Inc., et al., Case No. 1:19-cv-

00126 (D. Del. filed Jan. 22, 2019) (“the 2019 litigation”).

       Prollenium has filed petitions challenging all patents asserted in the 2019

litigation:

       x On August 23, 2019, Prollenium filed a petition in IPR2019-01508
          challenging related U.S. Patent No. 9,238,013. Trial was instituted on
          March 19, 2020.
       x On September 3, 2019, Prollenium filed petitions IPR2019-01505 and
          IPR2019-01509 challenging related U.S. Patent Nos. 8,450,475 and
          9,358,322, respectively. Trial was instituted on both patents on March
          19, 2020.
       x On September 16, 2019, Prollenium filed a petition in IPR2019-01617
          challenging related U.S. Patent No. 8,822,676. Trial was instituted on
          March 20, 2020.
       x On September 20, 2019, Prollenium filed two petitions, IPR2019-01506
          and IPR2019-01632, challenging related U.S. Patent No. 8,357,795.
          Trial was instituted for both petitions on March 31, 2020.
       x On October 25, 2019, Prollenium filed a petition in IPR2020-00084
          challenging related U.S. Patent 9,089,519. Trial was instituted on April
          10, 2020.
       Allergan filed the follow-on, 2020 litigation about three months after the last

of Prollenium’s petitions challenging the patents from the 2019 litigation, after

most of Allergan’s Preliminary Responses were filed in the first set of IPRs, and




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even after Prollenium filed its consolidated Reply to Allergan’s Preliminary

Responses.

       On May 20, 2020, the district court granted Prollenium’s motion to stay the

2019 litigation pending the outcome of the IPRs listed above. Prollenium is also

concurrently filing a petition challenging the ’896 patent in proceeding IPR2020-

00901. No Scheduling Order has been entered and no trial date has been set in the

2020 litigation as of the filing of this Petition. The parties have conferred with the

court about staying the 2020 litigation pending the resolution of this IPR and the

IPR on the ’896 patent and Prollenium will be filing a motion to stay the 2020

litigation.

       Prollenium believes that it would be most efficient to assign all these

petitions to the same panel reviewing the other members of Allergan’s patent

family. Allergan has multiple issued patents and pending continuations

applications claiming priority to one or more of these patents as well.

       C.     Lead and Back-Up Counsel and Service Information

       Petitioner identifies the following counsel for this proceeding:

             Lead Counsel                             Back-up Counsel
 Christopher L. Curfman                     William W. Cutchins
 (Reg. No. 52,787)                          (Reg. No. 63,451)
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           Back-Up Counsel                             Back-Up Counsel
 Warren J. Thomas                           John W. Harbin
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Petitioner consents to electronic service by email to:

mcc.prollenium.ipr@mcciplaw.com.

                                       Respectfully submitted,

                                       /Christopher L. Curfman/
                                       Christopher L. Curfman (Reg. No. 52,787)




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                          CERTIFICATE OF SERVICE

   Pursuant to 37 C.F.R. §§ 42.6(e) and 42.105, I certify that on June 2, 2020, a
copy of this Petition and all exhibits were served on the counsel of record for the
Patent Owner by shipping via FedEx Overnight shipping:

      Morgan, Lewis & Bockius LLP
      600 Anton Boulevard
      Suite 1800
      Costa Mesa, CA 92626-7653



       An electronic copy of the petition and accompanying exhibits has also been
served via email on the following counsel representing the Patent Owner in related
district court litigation pending IPR proceedings:
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                    CERTIFICATION OF WORD COUNT

   Pursuant to 37 C.F.R. § 42.24(d), Petitioner certifies that the foregoing Petition
for Inter Partes Review contains 13,771 words, excluding the portions as permitted
by § 42.24(a).
                                       /Christopher L. Curfman/
                                       Christopher L. Curfman (Reg. No. 52,787)




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